                              Case 21-636, Document 7, 04/05/2021, 3070804, Page1 of 96

                       UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                           CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

     1. SEE NOTICE ON REVERSE                          2. PLEASE TYPE OR PRINT                     3. STAPLE ALL ADDITIONAL PAGES

 Case Caption:                                                      District Court or Agency:                  Judge:

 National Rifle Association of America                             Northern District of New York Hon. Thomas J. McAvoy
 v.
 Cuomo et al.                                                       Date the Order or Judgment Appealed        District Court Docket No.:
                                                                    from was Entered on the Docket:
                                                                                                              No. 1:18-cv-566
                                                                   March 15, 2021
                                                                    Date the Notice of Appeal was Filed:       Is this a Cross Appeal?

                                                                   March 22, 2021                             □
                                                                                                              9 Yes
                                                                                                                             □
                                                                                                                             ✔9 No


 Attorney(s) for     Counsel’s Name:              Address:                 Telephone No.:                   Fax No.:                  E-mail:
 Appellant(s):
                     Andrew G. Celli, Jr.

□9 Plaintiff         Emery Celli Brinckerhoff Abady Ward & Maazel LLP
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9 Defendant          New York, New York 10020
                     Tel: 212-763-5000 Fax: 212-763-5001 Email: acelli@ecbawm.com

 Attorney(s) for     Counsel’s Name:              Address:                 Telephone No.:                   Fax No.:                  E-mail:
 Appellee(s):
                     William A. Brewer III
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✔
9 Plaintiff          Brewer, Attorneys & Counselors
                     750 Lexington Avenue, 14th Floor
□
 9 Defendant         New York, New York 10022
                     Tel: 212-489-1400 Fax: 212-751-2849               Email: wab@brewerattorneys.com

 Has Transcript
 Been Prepared?
                     Approx. Number of
                     Transcript
                                              Number of
                                              Exhibits
                                                                  Has this matter been before this Circuit previously?
                                                                                                                         □9 Yes          □
                                                                                                                                         ✔
                                                                                                                                         9 No

                     Pages:                   Appended to         If Yes, provide the following:
 N/A                                          Transcript:
                     N/A                                          Case Name:
                                              N/A
                                                                  2d Cir. Docket No.:                Reporter Citation: (i.e., F.3d or Fed. App.)


  ADDENDUM “A”: COUNSEL MUST ATTACH TO THIS FORM: (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
   NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
  THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
          THIS APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

  ADDENDUM “B”: COUNSEL MUST ATTACH TO THIS FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
          AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                            PART A: JURISDICTION

                   1 . Federal Jurisdiction                                             2 . Appellate Jurisdiction


  □
  9 U.S. a party
                                  □
                                  9 Diversity
                                                                □
                                                                9 Final Decision
                                                                                                     □
                                                                                                     9 Order Certified by District Judge (i.e.,
                                                                                                       Fed . R. Civ. P. 54(b))

  □
  9 Federal question              9 Other (specify):
                                                                □
  ✔                                                             9 Interlocutory Decision
                                                                ✔
                                  □
    (U.S. not a party)                                            Appealable As of Right
                                                                                                     □
                                                                                                     9 Other (specify):



                         IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.

FORM C (Rev. October 2016)
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                                       PART B: DISTRICT COURT DISPOSITION (Check as many as apply)


 1. Stage of Proceedings                           2. Type of Judgment/Order Appealed                                                   3. -Relief
                                                                     -
                                □99 Default
§✔
 9
 9
     Pre-trial
     During trial
                                             judgment
                                                                    - 99 Dismissal/merit
                                                                         Dismissal/other jurisdiction
                                □ lack of subject matter juris. -9 Judgment / Decision of the Court
                                    Dismissal/FRCP 12(b)(1)                                                       □9 Damages:                          □9 Injunctions:
 9   After trial
                                □✔9 Dismissal/FRCP 12(b)(6)
                                    failure to state a claim
                                                                     ~




                                                                        -
                                                                      9 Summary judgment
                                                                      9 Declaratory judgment
                                                                        '--
                                                                                                                  §     Sought: $ -
                                                                                                                        Granted: $ -
                                                                                                                        Denied: $ -
                                                                                                                                                       §  9 Preliminary
                                                                                                                                                          9 Permanent
                                                                                                                                                          9 Denied
                                □9 Dismissal/28 U.S.C. § 1915(e)(2) 9 Jury verdict
                                    frivolous complaint
                                                                        '--
                                                                      9 Judgment NOV
                                                                        '--

                                □ other dismissal                       --
                                  9 Dismissal/28 U.S.C. § 1915(e)(2) 9 Directed verdict
                                                                     9 Other (specify):
                                                                        '--




                                                       PART C: NATURE OF SUIT (Check as many as apply)

 1. Federal Statutes                                                                    2. Torts                   3. Contracts               4. Prisoner Petitions
                                                                                           -

                         ---
                         -9 Communications


                                                   ~
 B                                                                                                                □9 Admiralty/


                                                                                                                                             ~
   9 Antitrust
   9 Bankruptcy            9 Consumer Protection
                                                   9 Freedom of Information Act
                                                   9 Immigration                       □
                                                                                       9 Admiralty/
                                                                                         Maritime                    Maritime
                                                                                                                                              9
                                                                                                                                              9
                                                                                                                                                     Civil Rights
                                                                                                                                                     Habeas Corpus




 ~
   9 Banks/Banking
  ✔9 Civil Rights
                           9 Copyright 9 Patent
                           9 Trademark
                                                   9 Labor
                                                   9 OSHA                              □ Defamation
                                                                                       9 Assault /
                                                                                                                  E39 Arbitration
                                                                                                                    9 Commercial
                                                                                                                                              9
                                                                                                                                              9
                                                                                                                                                     Mandamus

   9 Commerce              -
                          9 Election               9 Securities                        □
                                                                                       9 FELA
                                                                                                                                                     Parole

   9 Energy
   9 Commodities
   9 Other (specify):
                         ----
                           9 Soc. Security
                         '--
                           9 Environmental
                         '--
                                                   9 Tax
                                                                                       □
                                                                                       9 Products Liability
                                                                                       9 Other (Specify):
                                                                                       □
                                                                                                                  § 9 Employment
                                                                                                                    9 Insurance
                                                                                                                    9 Negotiable
                                                                                                                    Instruments
                                                                                                                                              9
                                                                                                                                              9
                                                                                                                                                     Vacate Sentence
                                                                                                                                                     Other



                                                                                                                  □ 9 Other Specify

 5. Other                                                    6. General                                            7. Will appeal raise constitutional issue(s)?
    9 Hague Int’l Child Custody Conv.                           9 Arbitration
                                                                                                                    □ 9 Yes
                                                                                                                      ✔
                                                                                                                                         □
                                                                                                                                         9 No




  r 9 Forfeiture/Penalty
    9 Real Property
    9 Treaty (specify):
    9 Other (specify):
                                                             r
                                                                9 Attorney Disqualification
                                                                9 Class Action
                                                                9 Counsel Fees
                                                                9 Shareholder Derivative
                                                                9 Transfer
                                                                                                                     □
                                                                                                                       Will appeal raise a matter of first
                                                                                                                       impression?

                                                                                                                     9 Yes
                                                                                                                                         □
                                                                                                                                         ✔ No
                                                                                                                                         9



 1. Is any matter relative to this appeal still pending below?
                                                                        □
                                                                        9 Yes, specify:
                                                                                                                                              □
                                                                                                                                              ✔9 No


 2. To your knowledge, is there any case presently pending or about to be brought before this Court or another court or administrative agency
    which:
                                                                                                        9 Yes                 9 No
        (A) Arises from substantially the same case or controversy as this appeal?
                                                                                                                    □        ✔
                                                                                                                                                □
          (B)       Involves an issue that is substantially similar or related to an issue in this appeal?
                                                                                                                    □
                                                                                                                    9 Yes                       9 No
                                                                                                                                                □
                                                                                                                                                ✔


 If yes, state whether 9 “A,” or 9 “B,” or 9 both are applicable, and provide in the spaces below the following information on the other action(s):

 Case Name:                                                Docket No.                  Citation:                                  Court or Agency:
                                                       I                           I                                          I
 Name of Appellant:


 Date: 4/5/21                                               Signature of Counsel of Record:
                                                                                               ~~C_//         I


                                                                   NOTICE TO COUNSEL
                                                                              OUNSEL
                                                                                                                             I
Once you have filed your Notice of Appeal with the District Court or the Tax Court, you have only 14 days in which to complete the following
important steps:
 1. Complete this Civil Appeal Pre-Argument Statement (Form C); serve it upon all parties, and file it with the Clerk of the Second Circuit in accordance
 with LR 25.1.
 2. File the Court of Appeals Transcript Information/Civil Appeal Form (Form D) with the Clerk of the Second Circuit in accordance with LR 25.1.
 3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court unless you are authorized to
 prosecute the appeal without payment.

          PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITHIN 14 DAYS, YOUR APPEAL WILL BE
          DISMISSED. SEE LOCAL RULE 12.1.

FORM C (Rev. December 2016)
          Case 21-636, Document 7, 04/05/2021, 3070804, Page3 of 96




     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
         CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

                                    ADDENDUM “A”

        National Rifle Association of America v. Cuomo et al., No. 1:18-cv-566

The Nature of the Action

               Plaintiff National Rifle Association of America originally brought this

action against New York Governor Andrew Cuomo, individually and in his official

capacity, former Superintendent of New York State Department of Financial Services

(“DFS”) Maria T. Vullo, individually and in her official capacity, and DFS

(“Defendants”) for declaratory, injunctive, and monetary relief and damages for alleged

violations of Plaintiff’s constitutional rights under the First and Fourteenth Amendment

stemming from Defendants’ government speech and enforcement actions. Over the

course of multiple District Court decisions, much of these claims were dismissed.

Remaining after the District Court’s latest decision are Plaintiff’s First Amendment

claims for damages against Governor Cuomo and against Ms. Vullo, each in their

individual capacity. The NRA’s Second Amended Complaint (Dkt. No. 203) alleges that

its constitutional rights were violated by a press release and two official guidance letters

issued by Gov. Cuomo and DFS, respectively and by so-called “backroom exhortations”

the NRA conclusorily alleges Ms. Vullo made. Plaintiff’s barebones allegations are

insufficient to allege that Ms. Vullo violated the NRA’s clearly established constitutional

rights under the First Amendment; Ms. Vullo therefore is entitled to qualified immunity

from Plaintiff’s remaining claims against her.
          Case 21-636, Document 7, 04/05/2021, 3070804, Page4 of 96




Result Below

               In a Decision and Order filed and entered on March 15, 2021 (Dkt. No.

322), the District Court denied Ms. Vullo’s motion to dismiss, pursuant to Rule 12(b)(6)

of the Federal Rules of Civil Procedure, Plaintiff’s First Amendment claims against her

on the grounds that she is entitled to qualified immunity.

Notice of Appeal and Docket Sheet

               Attached to this Addendum “A” are: (a) a copy of Defendant Vullo’s

Notice of Appeal, and (b) the District Court Docket sheet.

Relevant Order

               Attached to this Addendum “A” is the District Court’s Decision and

Order, entered on March 15, 2021, denying Defendant Vullo’s motion to dismiss

Plaintiff’s First Amendment claims against her on qualified immunity grounds, which

forms the basis for this appeal.
      Case 1:18-cv-00566-TJM-CFH  Document
            Case 21-636, Document 7,         325 3070804,
                                     04/05/2021,  Filed 03/22/21
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
NATIONAL RIFLE ASSOCIATION OF
AMERICA,
                                                            18-cv-00566 (TJM/CFH)
                               Plaintiff,

              -against-
                                                             NOTICE OF APPEAL
ANDREW CUOMO, both individually and in his
official capacity; MARIA T. VULLO, both
individually and in her official capacity; and THE
NEW YORK STATE DEPARTMENT OF
FINANCIAL SERVICES,

                               Defendants.




               PLEASE TAKE NOTICE that Defendant Maria T. Vullo appeals to the United

States Court of Appeals for the Second Circuit from that portion of the Opinion and Order of the

District Court for the Northern District of New York, decided and entered on March 15, 2021

(Dkt. No. 322), that denied Ms. Vullo’s motion to dismiss the claims against her on qualified

immunity grounds.

Dated: March 22, 2021
       New York, New York
                                             EMERY CELLI BRINCKERHOFF ABADY
                                             WARD & MAAZEL LLP


                                             By:      /s/
                                                   Andrew G. Celli, Jr.
                                                   Debra Greenberger
                                                   Marissa R. Benavides
                                                   600 Fifth Ave., 10th Floor
                                                   New York, NY 10020
                                                   (212) 763-5000

TO:    William A. Brewer III
       Sarah B. Rogers
Case 1:18-cv-00566-TJM-CFH  Document
      Case 21-636, Document 7,         325 3070804,
                               04/05/2021,  Filed 03/22/21
                                                    Page6 ofPage
                                                             96 2 of 2




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 William A. Scott
 Assistant Attorney General
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4/5/2021                      Case 21-636, Document 7, 04/05/2021,
                                                 CM/ECF                   3070804,
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                                                                                                         APPEAL,MOTREF,SM

                                     U.S. District Court
    Northern District of New York - Main Office (Syracuse) [NextGen CM/ECF Release 1.5
                                 (Revision 1.5.3)] (Albany)
                 CIVIL DOCKET FOR CASE #: 1:18-cv-00566-TJM-CFH


 National Rifle Association of America v. Cuomo et al                               Date Filed: 05/11/2018
 Assigned to: Senior Judge Thomas J. McAvoy                                         Jury Demand: Plaintiff
 Referred to: Magistrate Judge Christian F. Hummel                                  Nature of Suit: 440 Civil Rights: Other
 Cause: 42:1983 Civil Rights Act                                                    Jurisdiction: Federal Question
 Special Master
 ----------
 Benjamin W. Hill
 Capezza Hill, LLP
 50 State Street
 Ste. Second Floor
 Albany, NY 12207

 Plaintiff
 National Rifle Association of America                                represented by Sarah Rogers
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                                                                             Court - NYND

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                                                                             Court - NYND

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                                                                                  Ryan L. Abel

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                                                                              (See above for address)
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 Texas Public Policy Foundation                                       represented by Chance Weldon
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                                                                                    ATTORNEY TO BE NOTICED


  Date Filed             #     Docket Text
  05/11/2018              1 COMPLAINT WITH JURY DEMAND against Andrew Cuomo, The New York State
                            Department of Financial Services and Maria T. Vullo (Filing fee $400 receipt number
                            ANYNDC-4383332) filed by National Rifle Association of America. (Attachments: # 1
                            Civil Cover Sheet, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit
                            E, # 7 Exhibit F)(jlb) (Entered: 05/11/2018)
  05/11/2018              2 Summons Issued as to Andrew Cuomo. (Attachments: # 1 Summons Issued as to New
                            York State Department of Financial Services, # 2 Summons Issued as to Maria T. Vullo)
                            (jlb) (Entered: 05/11/2018)
  05/11/2018              3 G.O. 25 FILING ORDER ISSUED: Initial Conference set for 8/9/2018 09:00 AM in
                            Albany before Magistrate Judge Christian F. Hummel. Civil Case Management Plan must
                            be filed and Mandatory Disclosures are to be exchanged by the parties on or before
                            8/2/2018. (Pursuant to Local Rule 26.2, mandatory disclosures are to be exchanged
                            among the parties but are NOT to be filed with the Court.) (jlb) (Entered: 05/11/2018)
  05/11/2018              4 NOTICE of Admission Requirement as to Party National Rifle Association of America;
                            Attorney Charles J. Cooper (ccooper@cooperkirk.com), Michael W. Kirk
                            (mkirk@cooperkirk.com), and J. Joel Alicea. Phone number is 202-220-9660.

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                              Admissions due by 5/25/2018. Notice sent via regular mail 5/11/2018.(jlb) (Entered:
                              05/11/2018)
  05/11/2018              5 FRCP 7.1 CORPORATE DISCLOSURE STATEMENT by National Rifle Association of
                            America. (Brewer, William) (Entered: 05/11/2018)
  05/18/2018              6 MOTION for Limited Admission Pro Hac Vice of MICHAEL W. KIRK Filing fee $100,
                            receipt number ANYNDC-4391357. filed by National Rifle Association of America.
                            Motions referred to Christian F. Hummel. (Brewer, William) (Entered: 05/18/2018)
  05/18/2018              7 MOTION for Limited Admission Pro Hac Vice of CHARLES J. COOPER Filing fee
                            $100, receipt number ANYNDC-4391379. filed by National Rifle Association of
                            America. Motions referred to Christian F. Hummel. (Brewer, William) (Entered:
                            05/18/2018)
  05/18/2018              8 MOTION for Limited Admission Pro Hac Vice of JOSE J. ALICEA Filing fee $100,
                            receipt number ANYNDC-4391396. filed by National Rifle Association of America.
                            Motions referred to Christian F. Hummel. (Rogers, Sarah) (Entered: 05/18/2018)
  05/18/2018              9 MOTION for Limited Admission Pro Hac Vice of HAROLD S. REEVES Filing fee
                            $100, receipt number ANYNDC-4391400. filed by National Rifle Association of
                            America. Motions referred to Christian F. Hummel. (Rogers, Sarah) (Entered:
                            05/18/2018)
  05/21/2018             10 ORDER granting 6 Motion for Limited Admission Pro Hac Vice of Michael W. Kirk,
                            Esq. Counsel is hereby advised that as of January 16, 2018, the NYND has converted to
                            NextGen. Due to this conversion, you must now register for Pro Hac Vice access through
                            your PACER account. This is the only notice you will receive concerning this
                            requirement. You will not have access to electronically file in this case until your Pro
                            Hac Vice request has been processed through the PACER system. Step-by-step
                            instructions on how to complete this process are available at
                            http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                            Judge Christian F. Hummel on 5/21/2018. (tab) (Entered: 05/21/2018)
  05/21/2018             11 ORDER granting 7 Motion for Limited Admission Pro Hac Vice of Charles J. Cooper,
                            Esq. Counsel is hereby advised that as of January 16, 2018, the NYND has converted to
                            NextGen. Due to this conversion, you must now register for Pro Hac Vice access through
                            your PACER account. This is the only notice you will receive concerning this
                            requirement. You will not have access to electronically file in this case until your Pro
                            Hac Vice request has been processed through the PACER system. Step-by-step
                            instructions on how to complete this process are available at
                            http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                            Judge Christian F. Hummel on 5/21/2018. (tab) (Entered: 05/21/2018)
  05/21/2018             12 ORDER granting 8 Motion for Limited Admission Pro Hac Vice of Jose J. Alicea, Esq.
                            Counsel is hereby advised that as of January 16, 2018, the NYND has converted to
                            NextGen. Due to this conversion, you must now register for Pro Hac Vice access through
                            your PACER account. This is the only notice you will receive concerning this
                            requirement. You will not have access to electronically file in this case until your Pro
                            Hac Vice request has been processed through the PACER system. Step-by-step
                            instructions on how to complete this process are available at
                            http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                            Judge Christian F. Hummel on 5/21/2018. (tab) (Entered: 05/21/2018)
  05/21/2018             13 ORDER granting 9 Motion for Limited Admission Pro Hac Vice of Harold S. Reeves,
                            Esq. Counsel is hereby advised that as of January 16, 2018, the NYND has converted to
                            NextGen. Due to this conversion, you must now register for Pro Hac Vice access through

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                              your PACER account. This is the only notice you will receive concerning this
                              requirement. You will not have access to electronically file in this case until your Pro
                              Hac Vice request has been processed through the PACER system. Step-by-step
                              instructions on how to complete this process are available at
                              http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                              Judge Christian F. Hummel on 5/21/2018. (tab) (Entered: 05/21/2018)
  05/22/2018             14 NOTICE of Appearance by Charles J. Cooper on behalf of National Rifle Association of
                            America (Cooper, Charles) (Entered: 05/22/2018)
  05/22/2018             15 NOTICE of Appearance by Michael W. Kirk on behalf of National Rifle Association of
                            America (Kirk, Michael) (Entered: 05/22/2018)
  05/22/2018             16 NOTICE of Appearance by Harold S. Reeves on behalf of National Rifle Association of
                            America (Reeves, Harold) (Entered: 05/22/2018)
  05/22/2018             17 NOTICE of Appearance by Jose Joel Alicea on behalf of National Rifle Association of
                            America (Alicea, Jose) (Entered: 05/22/2018)
  05/22/2018             18 NOTICE by National Rifle Association of America re 4 Notice of Admission
                            Requirement, (Cooper, Charles) (Entered: 05/22/2018)
  05/25/2018             19 Notice of Appearance and Letter Motion from Adrienne J. Kerwin for Andrew Cuomo,
                            The New York State Department of Financial Services, Maria T. Vullo requesting
                            extension of time to respond to the complaint submitted to Judge Hummel . (Kerwin,
                            Adrienne) (Entered: 05/25/2018)
  05/25/2018             20 TEXT ORDER granting in part and denying in part 19 Letter Request to extend answer
                            deadline. Answer deadline is extended to 7/2/2018. Andrew Cuomo answer due
                            7/2/2018; The New York State Department of Financial Services answer due 7/2/2018;
                            Maria T. Vullo answer due 7/2/2018. Authorized by Magistrate Judge Christian F.
                            Hummel on 5/25/2018. (tab) (Entered: 05/25/2018)
  06/14/2018             21 MOTION for ORDER TO SHOW CAUSE FOR EXPEDITED DISCOVERY by
                            National Rifle Association of America. (Attachments: # 1 Memorandum of Law in
                            Support of Order to Show Cause for Expedited Discovery, # 2 Affidavit of John C. Frazer
                            In Support of Order to Show Cause, # 3 Declaration of Sarah B. Rogers in Support of
                            Order to Show Cause)(Brewer, William) Modified text to reflect motion was an order to
                            show cause on 6/15/2018 (jlb). (Entered: 06/14/2018)
  06/18/2018             22 ORDER Setting Hearing on Show Cause Motion 21 For Expedited Discovery :
                            Defendant's Response to Motion due by 7/2/2018; any Reply to Response to Motion due
                            by 7/9/2018 and is limited to five pages. An IN-PERSON Show Cause Motion Hearing
                            has been set for Wednesday, 7/11/2018 @ 11:00 AM in Albany before Magistrate Judge
                            Christian F. Hummel. Signed by Magistrate Judge Christian F. Hummel on 6/18/2018.
                            (tab) (Entered: 06/18/2018)
  06/28/2018             23 Letter Motion from Adrienne J. Kerwin for Andrew Cuomo, The New York State
                            Department of Financial Services, Maria T. Vullo requesting permission to file
                            memoranda in excess of 25 pages submitted to Judge Hummel . (Kerwin, Adrienne)
                            (Entered: 06/28/2018)
  06/29/2018             24 TEXT ORDER GRANTING 23 Letter Request for (1) permission to file a memorandum
                            up to forty (40) pages in length in support of defendants motion to dismiss the complaint;
                            and (2) permission to file a memorandum up to (35) pages in length in opposition to
                            plaintiffs application for expedited discovery. Authorized by Magistrate Judge Christian
                            F. Hummel on 6/29/2018. (tab) (Entered: 06/29/2018)
  06/29/2018             25 NOTICE of Appearance by Michael G. McCartin on behalf of Andrew Cuomo, The New
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                              York State Department of Financial Services, Maria T. Vullo (McCartin, Michael)
                              (Entered: 06/29/2018)
  07/02/2018             26 NOTICE of Appearance by Helena O. Pederson on behalf of Andrew Cuomo, The New
                            York State Department of Financial Services, Maria T. Vullo (Pederson, Helena)
                            (Entered: 07/02/2018)
  07/02/2018             27 MOTION to Dismiss for Failure to State a Claim Motion Hearing set for 8/3/2018 09:30
                            AM in Albany before Senior Judge Lawrence E. Kahn Response to Motion due by
                            7/17/2018 Reply to Response to Motion due by 7/23/2018. filed by Andrew Cuomo, The
                            New York State Department of Financial Services, Maria T. Vullo. (Attachments: # 1
                            Memorandum of Law, # 2 Appendix A, # 3 Appendix B, # 4 Appendix C) (Kerwin,
                            Adrienne) (Entered: 07/02/2018)
  07/02/2018             28 RESPONSE in Opposition re 21 MOTION for Preliminary Injunction For Expedited
                            Discovery (NOT Preliminary Injunction) filed by Andrew Cuomo, The New York State
                            Department of Financial Services, Maria T. Vullo. (Attachments: # 1 Declaration)
                            (Kerwin, Adrienne) (Entered: 07/02/2018)
  07/03/2018             29 Letter Motion from Stephanie L. Gase for National Rifle Association of America
                            requesting permission to file memoranda in excess of page limits submitted to Judge
                            Hummel . (Gase, Stephanie) (Entered: 07/03/2018)
  07/03/2018             30 ORDER FOR TRANSFER. Case reassigned to Senior Judge Thomas J. McAvoy for all
                            further proceedings. Senior Judge Lawrence E. Kahn no longer assigned to case. Signed
                            by Senior Judge Lawrence E. Kahn on 7/3/2018. (jlb) (Entered: 07/03/2018)
  07/05/2018             31 TEXT ORDER granting in part and deferring decision in part 29 Letter Request: The
                            Court GRANTS Plaintiff's request for permission to file a memorandum of up to thirty-
                            five (35) pages in opposition to Defendants motion to Dismiss and is DEFERRING
                            decision on Plaintiff's request for permission to file a reply memorandum up to fifteen
                            (15) pages in length in support of their motion for expedited discovery. Plaintiff's Motion
                            for Expedited Discovery is hereby STAYED pending a Decision by Senior Judge Thomas
                            J. McAvoy on Defendant's Motion to Dismiss. SO ORDERED by Magistrate Judge
                            Christian F. Hummel on 7/5/2018. (tab) (Entered: 07/05/2018)
  07/05/2018             32 TEXT ORDER: The Motion for Expedited Discovery is STAYED, and the Motion
                            hearing scheduled for 7/11/2018 @ 11:00 AM is ADJOURNED, pending a decision on
                            the pending Motion to Dismiss. The Rule 16 Initial Conference scheduled for 8/6/2018 at
                            9:00 am before Magistrate Judge Christian F. Hummel and the deadline to submit a
                            proposed Civil Case Management Plan and exchange Mandatory Disclosures are
                            ADJOURNED without date pending a decision on the dispositive motion. SO
                            ORDERED by Magistrate Judge Christian F. Hummel on 7/5/2018. (tab) (Entered:
                            07/05/2018)
  07/05/2018             33 TEXT ORDER: Given the allegations of irreparable harm, the Court will address
                            Defendants' 27 MOTION to Dismiss on an expedited basis. Plaintiff is ordered to file its
                            opposition to the 27 motion by 12:00 noon on 7/11/2018; Defendants are ordered to file
                            their reply, if any, by 4:00 PM on 7/16/2018. The motion is scheduled for oral argument
                            at 2:00 PM on 7/24/2018 at the U.S. Courthouse in Binghamton, NY. Authorized by
                            Senior Judge Thomas J. McAvoy on 7/5/2018. (amt) (Entered: 07/05/2018)
  07/09/2018                   COURT TEXT NOTICE scheduling a Telephone Pretrial Conference for 7/12/2018 at
                               03:00 PM before Senior Judge Thomas J. McAvoy. Plaintiff's counsel is directed to place
                               the conference call.(amt) (Entered: 07/09/2018)
  07/10/2018             34 Letter Motion from Stephanie Gase for National Rifle Association of America requesting
                            Guidance regarding briefing schedule in light of forthcoming amended complaint
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                              submitted to Judge Thomas J. McAvoy . (Gase, Stephanie) (Entered: 07/10/2018)
  07/11/2018             35 Letter Motion from Sarah B. Rogers for National Rifle Association of America
                            requesting Opposition-briefing deadline modification submitted to Judge Thomas J.
                            McAvoy . (Rogers, Sarah) (Entered: 07/11/2018)
  07/11/2018             36 TEXT ORDER: In light of Plaintiff's 34 Letter indicating it intends to file an amended
                            complaint, briefing on Defendants' 27 Motion is suspended. If an amended complaint is
                            filed, the Court will address a briefing schedule for any motion to dismiss the amended
                            complaint. Authorized by Senior Judge Thomas J. McAvoy on 7/11/2018. (amt) (Entered:
                            07/11/2018)
  07/12/2018                   Minute Entry for proceedings held before Senior Judge Thomas J. McAvoy; Pretrial
                               Telephone Conference held on 7/12/2018; App: S. Rogers, S. Gase, and M. Kirk, Esqs.,
                               for Pltf; A. Kerwin and J. Dvorin, AAGs, for Defts; Court Reporter: J. Stroffolino; Court
                               advised counsel re: past representation of Chubb insurers and his ownership of guns;
                               Counsel advised to make recusal motion if they deem appropriate. (amt) (Entered:
                               07/12/2018)
  07/20/2018             37 AMENDED COMPLAINT with Jury Demand against All Defendants filed by National
                            Rifle Association of America. (Attachments: # 1 Exhibit(s) Exhibit A, # 2 Exhibit(s)
                            Exhibit B, # 3 Exhibit(s) Exhibit C, # 4 Exhibit(s) Exhibit D, # 5 Exhibit(s) Exhibit E, # 6
                            Exhibit(s) Exhibit F)(Rogers, Sarah) (Entered: 07/20/2018)
  07/23/2018                   ***Answer to the Amended Complaint due date updated for Andrew Cuomo answer due
                               8/3/2018; The New York State Department of Financial Services answer due 8/3/2018;
                               Maria T. Vullo answer due 8/3/2018. (see) (Entered: 07/23/2018)
  07/27/2018             38 Letter Motion from Adrienne J. Kerwin for Andrew Cuomo, The New York State
                            Department of Financial Services, Maria T. Vullo requesting permission to file a
                            memorandum of law up to 50 pages submitted to Judge Hummel . (Kerwin, Adrienne)
                            (Entered: 07/27/2018)
  07/31/2018             39 TEXT ORDER GRANTING the 38 Letter Request for leave to file a 50 page
                            Memorandum of law and DENYING AS MOOT the 27 Motion to Dismiss for Failure to
                            State a Claim. Authorized by Senior Judge Thomas J. McAvoy on 7/31/2018. (amt)
                            (Entered: 07/31/2018)
  08/03/2018             40 MOTION to Dismiss for Failure to State a Claim Motion Hearing set for 9/10/2018 10:00
                            AM in Albany before Senior Judge Thomas J. McAvoy Response to Motion due by
                            8/24/2018 Reply to Response to Motion due by 8/30/2018. filed by Andrew Cuomo, The
                            New York State Department of Financial Services, Maria T. Vullo. (Attachments: # 1
                            Memorandum of Law, # 2 Appendix A, # 3 Appendix B, # 4 Appendix C) (Kerwin,
                            Adrienne) (Entered: 08/03/2018)
  08/06/2018             41 Letter Motion from Stephanie L. Gase for National Rifle Association of America
                            requesting permission to file a memorandum in excess of page limits submitted to Judge
                            Hummel . (Gase, Stephanie) (Entered: 08/06/2018)
  08/07/2018             42 TEXT ORDER granting 41 Letter Request to file a 50 page response memorandum re: 40
                            Motion. Authorized by Senior Judge Thomas J. McAvoy on 8/7/18. (sfp, ) (Entered:
                            08/07/2018)
  08/23/2018             43 MOTION for Limited Admission Pro Hac Vice of Brian Hauss Filing fee $100, receipt
                            number ANYNDC-4488216. filed by National Rifle Association of America.
                            (Attachments: # 1 Declaration of sponsor, Christopher Dunn, # 2 Exhibit(s) Brian Hauss
                            Attorney Registration Form, # 3 Exhibit(s) Brian Hauss Petition for Admission to


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                              Practice, # 4 Exhibit(s) Brian Hauss Certificate of Good Standing) Motions referred to
                              Christian F. Hummel. (Dunn, Christopher) (Entered: 08/23/2018)
  08/24/2018             44 LETTER BRIEF by American Civil Liberties Union Foundation. (Dunn, Christopher)
                            (Entered: 08/24/2018)
  08/24/2018             45 ORDER granting 43 Motion for Limited Admission Pro Hac Vice for Brian Hauss, Esq.
                            Counsel is hereby advised that as of January 16, 2018, the NYND has converted to
                            NextGen. Due to this conversion, you must now register for Pro Hac Vice access through
                            your PACER account. This is the only notice you will receive concerning this
                            requirement. You will not have access to electronically file in this case until your Pro
                            Hac Vice request has been processed through the PACER system. Step-by-step
                            instructions on how to complete this process are available at
                            http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                            Judge Christian F. Hummel on 8/24/2018. (tab) (Entered: 08/24/2018)
  08/24/2018             46 Letter Motion from Texas Public Policy Foundation for Texas Public Policy Foundation
                            requesting Leave to Participate as Amicus Curiae . (Attachments: # 1 Exhibit(s) Exhibit
                            A, # 2 Exhibit(s) Exhibit B)(Russell, Keisha) (Entered: 08/24/2018)
  08/24/2018             47 NOTICE of Appearance by Brian Matthew Hauss on behalf of American Civil Liberties
                            Union Foundation (Hauss, Brian) (Entered: 08/24/2018)
  08/24/2018             48 RESPONSE in Opposition re 40 MOTION to Dismiss for Failure to State a Claim filed
                            by National Rifle Association of America. (Attachments: # 1 Declaration of Stephanie
                            Gase in Support of Memorandum of Law In Opposition to Motion to Dismiss)(Brewer,
                            William) (Entered: 08/24/2018)
  08/24/2018             49 First MOTION for Leave to File Amicus Curiae Brief filed by American Civil Liberties
                            Union Foundation. (Attachments: # 1 Exhibit(s) Proposed Amicus Brief, # 2 Exhibit(s)
                            Proposed Order) Motions referred to Christian F. Hummel. (Hauss, Brian) (Entered:
                            08/24/2018)
  08/27/2018             50 TEXT ORDER granting the 46 and 49 Requests for leave to file amicus briefs.
                            Authorized by Senior Judge Thomas J. McAvoy on 8/27/2018. (amt) (Entered:
                            08/27/2018)
  08/30/2018                   TEXT NOTICE advising parties that the Court will entertain oral argument on 9/10/18, at
                               10 AM in Albany, from the parties' attorney's as related to those parts of the pending 40
                               motion seeking to dismiss the First, Second, Third, and Sixth Counts. Each side will be
                               limited to 30 minutes to present their arguments. (sfp, ) (Entered: 08/30/2018)
  08/30/2018             51 REPLY to Response to Motion re 40 MOTION to Dismiss for Failure to State a Claim
                            filed by Andrew Cuomo, The New York State Department of Financial Services, Maria T.
                            Vullo. (Kerwin, Adrienne) (Entered: 08/30/2018)
  09/10/2018                   Minute Entry for 9/10/2018 Motion Calendar held before Senior Judge Thomas J.
                               McAvoy; App: S. Rogers, S. Gase, W. Brewer, C. Cooper, J. Reeves, J. Alicea, and M.
                               Kirk, Esqs., for Plaintiff; A. Kerwin, J. Pederson and D. Dorfman, AAGs, for
                               Defendants; Court Reporter: J. Stroffolino; Parties are heard re: Defendants' 40 MOTION
                               to Dismiss; Court reserves decision; Written decision will be issued. (amt) (Entered:
                               09/10/2018)
  09/17/2018             52 TRANSCRIPT of Proceedings: Oral Argument held on 9/10/2018 before Judge Thomas
                            J. McAvoy, Court Reporter: Jacqueline Stroffolino, Telephone number: (518) 257-1894.
                            IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to remove
                            personal identifier data from the transcript, a party must electronically file a Notice of
                            Intent to Request Redaction with the Clerk's Office within 5 business days of this date.
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                              The policy governing the redaction of personal information is located on the court
                              website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent to
                              Redact is filed within 5 business days of this date, the court will assume redaction of
                              personal identifiers is not necessary and the transcript will be made available on the web
                              90 days from today's date. Transcript may be viewed at the court public terminal or
                              purchased through the Court Reporter before the deadline for Release of Transcript
                              Restriction. After that date it may be obtained through PACER. Redaction Request due
                              10/9/2018. Redacted Transcript Deadline set for 10/18/2018. Release of Transcript
                              Restriction set for 12/17/2018. Notice of Intent to Redact due by 9/24/2018 (jxs, )
                              (Entered: 09/17/2018)
  09/18/2018             53 MOTION for Limited Admission Pro Hac Vice of Chance Dean Weldon Filing fee $100,
                            receipt number ANYNDC-4511351. filed by Texas Public Policy Foundation.
                            (Attachments: # 1 Declaration of sponsor, Keisha Russell, # 2 Exhibit(s) Chance Weldon
                            Attorney Registration Form, # 3 Exhibit(s) Chance Weldon Petition for Admission to
                            Practice, # 4 Exhibit(s) Chance Weldon Certificate of Good Standing) Motions referred to
                            Christian F. Hummel. (Russell, Keisha) (Entered: 09/18/2018)
  09/19/2018             54 ORDER granting 53 Motion for Limited Admission Pro Hac Vice of Chance Dean
                            Weldon, Esq. Counsel is hereby advised that as of January 16, 2018, the NYND has
                            converted to NextGen. Due to this conversion, you must now register for Pro Hac Vice
                            access through your PACER account. This is the only notice you will receive
                            concerning this requirement. You will not have access to electronically file in this
                            case until your Pro Hac Vice request has been processed through the PACER
                            system. Step-by-step instructions on how to complete this process are available at
                            http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                            Judge Christian F. Hummel on 9/19/2018. (tab) (Entered: 09/19/2018)
  09/25/2018             55 NOTICE of Appearance by Chance Weldon on behalf of Texas Public Policy Foundation
                            (Weldon, Chance) (Entered: 09/25/2018)
  11/06/2018             56 DECISION & ORDER: Granting in part and denying in part Defendant's 40 Motion to
                            Dismiss for Failure to State a Claim. Signed by Senior Judge Thomas J. McAvoy on
                            11/6/2018. (jdp, ) (Entered: 11/06/2018)
  11/07/2018             57 Letter Motion from Stephanie Gase for National Rifle Association of America requesting
                            a hearing date and permission to file memorandum in excess of page limit submitted to
                            Judge Christian F. Hummel . (Gase, Stephanie) (Entered: 11/07/2018)
  11/13/2018             58 TEXT ORDER granting 57 Letter Request for a Rule 16 conference to be set and for
                            permission to file a reply to Dkt. No. 21, Motion for Expedited Discovery. Plaintiff is
                            permitted to file a reply of no more than ten (10) pages on or before 11/26/2018. The
                            hearing date for oral argument on the Motion for Expedited Discovery will be addressed
                            at the Rule 16 conference. The IN-PERSON Initial Conference has been set for
                            Thursday, 12/13/2018 @ 10:30 AM in Albany before Magistrate Judge Christian F.
                            Hummel. The Civil Case Management Plan must be filed and Mandatory Disclosures are
                            to be exchanged by the parties on or before 12/6/2018. (Pursuant to Local Rule 26.2,
                            mandatory disclosures are to be exchanged among the parties but are NOT to be filed
                            with the Court.) [Andrew Cuomo answer due 11/20/2018; The New York State
                            Department of Financial Services answer due 11/20/2018; Maria T. Vullo answer due
                            11/20/2018]. SO ORDERED by Magistrate Judge Christian F. Hummel on 11/13/2018.
                            (tab) (Entered: 11/13/2018)
  11/20/2018             59 ANSWER to 37 Amended Complaint, by Andrew Cuomo, The New York State
                            Department of Financial Services, Maria T. Vullo. (Attachments: # 1 Certificate of
                            Service)(Pederson, Helena) (Entered: 11/20/2018)

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  11/26/2018             60 REPLY to Response to Motion re 21 MOTION for Preliminary Injunction For Expedited
                            Discovery (NOT Preliminary Injunction) filed by National Rifle Association of America.
                            (Gase, Stephanie) (Entered: 11/26/2018)
  12/06/2018             61 CIVIL CASE MANAGEMENT PLAN by National Rifle Association of America. (Gase,
                            Stephanie) (Entered: 12/06/2018)
  12/13/2018             62 NOTICE of Appearance by William A. Scott on behalf of Andrew Cuomo, The New
                            York State Department of Financial Services, Maria T. Vullo (Scott, William) (Entered:
                            12/13/2018)
  12/13/2018                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Initial Pretrial Conference held on 12/13/2018. Pretrial deadlines are established. A
                               Scheduling Order to be issued. This case is opted out of Mandatory ADR. A briefing
                               schedule for a preliminary injunction motion is set. A Text Order setting the briefing
                               schedule to be issued. (tab) (Entered: 12/27/2018)
  12/19/2018             63 MOTION to Dismiss for Failure to State a Claim pursuant to FRCP 12(c) Motion
                            Hearing set for 1/25/2019 10:00 AM in Binghamton before Senior Judge Thomas J.
                            McAvoy Response to Motion due by 1/8/2019 Reply to Response to Motion due by
                            1/14/2019. filed by Andrew Cuomo, The New York State Department of Financial
                            Services, Maria T. Vullo. (Attachments: # 1 Memorandum of Law) (Kerwin, Adrienne)
                            (Entered: 12/19/2018)
  12/27/2018             64 TEXT ORDER: The Court held a Rule 16 Initial Conference with the parties on
                            12/13/2018. The Court, sua sponte, exempts this matter from the Mandatory Mediation
                            Program. SO ORDERED. Authorized by Magistrate Judge Christian F. Hummel on
                            12/27/2018. (tab) (Entered: 12/27/2018)
  12/27/2018             65 TEXT ORDER setting briefing schedule for Preliminary Injunction Motion as set forth
                            during the Initial Conference held on 12/13/2018. The Preliminary Injunction Motion to
                            be filed by 1/31/2019. Response to the motion due by 2/21/2019. A Reply, limited to no
                            more than 10 pages, is due by 2/28/2019. Authorized by Magistrate Judge Christian F.
                            Hummel on 12/27/2018. (tab) (Entered: 12/27/2018)
  12/27/2018             66 UNIFORM PRETRIAL SCHEDULING ORDER: Anticipated length of trial: 5 days
                            (Jury Trial). Preferred Trial Location: Albany, NY. Joinder of Parties due by 1/31/2019.
                            Amended Pleadings due by 1/31/2019. Discovery due by 6/17/2019. Motions to be filed
                            by 7/22/2019. Status Report due by 3/25/2019. Signed by Magistrate Judge Christian F.
                            Hummel on 12/27/2018. (tab) (Entered: 12/27/2018)
  01/07/2019             67 Letter Motion from Stephanie L. Gase for National Rifle Association of America
                            requesting Court Conference Regarding Proposed Discovery Motion submitted to Judge
                            Hummel . (Gase, Stephanie) (Entered: 01/07/2019)
  01/08/2019             68 TEXT ORDER granting 67 Letter Request for a Court Conference Regarding Proposed
                            Discovery Motion. Defendants are directed to file a written response to Plaintiff's Dkt.
                            No. 67 Letter Request by Friday, 1/11/2019. A Discovery Hearing has been set for
                            Thursday, 1/17/2019 @ 11:00 AM in Albany before Magistrate Judge Christian F.
                            Hummel. Counsel are permitted to appear by telephone or in person for this conference.
                            For counsel opting to appear by telephone, dial in instructions will be issued under
                            separate notice. Authorized by Magistrate Judge Christian F. Hummel on 1/8/2019. (tab)
                            (Entered: 01/08/2019)
  01/08/2019                   NOTICE of Dial-In Instructions for Teleconference: The parties, opting to participate in
                               the 1/17/2019 @ 11:00 am discovery conference by telephone are directed to dial in at 1-
                               888-684-8852, enter Access code 9772719 #, and then Security code 1234 # to join. (tab)
                               (Entered: 01/08/2019)
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                 13/46
4/5/2021                     Case 21-636, DocumentCM/ECF
                                                    7, 04/05/2021,       3070804,
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  01/08/2019             69 RESPONSE in Opposition re 63 MOTION to Dismiss for Failure to State a Claim
                            pursuant to FRCP 12(c) filed by National Rifle Association of America. (Gase,
                            Stephanie) (Entered: 01/08/2019)
  01/11/2019             70 RESPONSE in Opposition re 67 Letter Motion from Stephanie L. Gase for National Rifle
                            Association of America requesting Court Conference Regarding Proposed Discovery
                            Motion submitted to Judge Hummel filed by Andrew Cuomo, The New York State
                            Department of Financial Services, Maria T. Vullo. (Attachments: # 1 Exhibit(s) A, B &
                            C)(Scott, William) (Entered: 01/11/2019)
  01/14/2019             71 RESPONSE in Support re 63 MOTION to Dismiss for Failure to State a Claim pursuant
                            to FRCP 12(c) filed by Andrew Cuomo, The New York State Department of Financial
                            Services, Maria T. Vullo. (Scott, William) (Entered: 01/14/2019)
  01/17/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Discovery Hearing held on 1/17/2019. Appearances (by telephone) by Sarah Rogers,
                               Esq., Stephanie L. Gase, Esq., and Harold S. Reeves, Esq. on behalf of Plaintiff; AAG
                               William Scott (in person), on behalf of Defendants. Discovery issues are briefly
                               discussed and the Court sets a briefing schedule for both parties to file discovery motions.
                               Plaintiff is not prepared to withdraw the Motion for expedited Discovery, Dkt. 21, at this
                               time. Plaintiff intends to file a Motion to Compel and Defendants will respond and file
                               Motion for Protective Order. Text Orders setting those Motion briefing schedules will be
                               issued. (Court Reporter FTR Recorded) (tab) (Entered: 01/17/2019)
  01/17/2019             72 TEXT ORDER SETTING BRIEFING SCHEDULES FOR INTENDED MOTIONS. As
                            set forth, on the record, during the 1/17/2019 Discovery Conference, the following
                            briefing schedule has been set for Plaintiff's Motion to Compel and for Defendant's
                            Motion for Protective Order: Plaintiff's Motion to Compel to be filed by 1/22/2019.
                            Defendant's Response is to be filed by 2/4/2019, any reply by Plaintiff is to be limited to
                            10 pages and is to be filed by 2/8/2019. Defendant's Motion for Protective Order is to be
                            filed by 2/4/2019. Plaintiff is to file a response to Defendant's Motion by 2/15/2019. Any
                            reply to response by Defendant is limited to 10 pages and is to be filed by 2/20/2019. At
                            this time, both Plaintiff's Motion to Compel and Defendant's Motion for Protective Order
                            will be taken on submit. Counsel will be notified and a hearing will be scheduled if the
                            Court decides to hear oral argument on either motion. So Ordered by Magistrate Judge
                            Christian F. Hummel on 1/17/2019. (tab) (Entered: 01/17/2019)
  01/17/2019                   TEXT NOTICE to parties advising that Defts' 63 MOTION to Dismiss for Failure to
                               State a Claim that is on Judge McAvoy's 1/25/19 Motion Calendar is on submit basis.
                               Appearances are not required. (sfp, ) (Entered: 01/17/2019)
  01/22/2019             73 MOTION to Compel the Production of Documents filed by National Rifle Association of
                            America. (Attachments: # 1 Memorandum of Law in Support of Plaintiff's Motion to
                            Compel the Production of Documents, # 2 Declaration of Stephanie L. Gase in Support of
                            Plaintiff's Motion to Compel the Production of Documents) Motions referred to Christian
                            F. Hummel. (Gase, Stephanie) (Entered: 01/22/2019)
  01/24/2019             74 Letter Motion from Stephanie Gase for National Rifle Association of America requesting
                            Confirmation of Deadline Extension submitted to Judge Hummel . (Gase, Stephanie)
                            (Entered: 01/24/2019)
  01/25/2019                   Minute Entry for proceedings held before Senior Judge Thomas J. McAvoy; Motion
                               Hearing held on 1/25/2019; App: NONE; Court Reporter: V. Theleman; Defendants' 63
                               MOTION to Dismiss for Failure to State a Claim - TAKEN ON SUBMIT. (amt)
                               (Entered: 01/25/2019)
  01/29/2019             75 Unopposed Letter Motion from Stephanie Gase for National Rifle Association of
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                 14/46
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                              America requesting extension of the deadline for filing a motion for a preliminary
                              injunction submitted to Judge Hummel . (Gase, Stephanie) (Entered: 01/29/2019)
  01/30/2019             76 TEXT ORDER granting in part and denying in part 74 Letter Motion from Stephanie
                            Gase, Esq. for National Rifle Association of America requesting Confirmation of
                            Deadline Extension. At this time, the deadline for filing a Motion to Amend Pleadings or
                            for Joinder of Parties is extended to March 1, 2019. [Amended Pleadings due by
                            3/1/2019; Joinder of Parties due by 3/1/2019]. Authorized by Magistrate Judge Christian
                            F. Hummel on 1/30/2019. (tab) (Entered: 01/30/2019)
  01/30/2019             77 TEXT ORDER granting 75 Unopposed Letter Motion from Stephanie Gase, Esq. for
                            National Rifle Association of America requesting extension of the deadline for filing a
                            motion for a preliminary injunction. The briefing schedule set forth in Text Order, Dkt.
                            No. 65, are stayed and the Court will reset the briefing schedule on any Motion for a
                            Preliminary Injunction, after a decision on the Motion to Dismiss, Dkt. No. 63, and the
                            Motion to Compel, Dkt. No. 73 are rendered. Authorized by Magistrate Judge Christian
                            F. Hummel on 1/30/2019. (tab) (Entered: 01/30/2019)
  02/04/2019             78 MOTION for Protective Order Motion Hearing set for 2/21/2019 09:30 AM in Albany
                            before Magistrate Judge Christian F. Hummel Response to Motion due by 2/4/2019 filed
                            by Andrew Cuomo, The New York State Department of Financial Services, Maria T.
                            Vullo. (Attachments: # 1 Memorandum of Law, # 2 Affirmation of William A. Scott, # 3
                            Declaration of Matthew Levine, # 4 Exhibit(s) A: to Declaration of Matthew Levine, # 5
                            Exhibit(s) B: to Declaration of Matthew Levine, # 6 Exhibit(s) C: to Declaration of
                            Matthew Levine, # 7 Exhibit(s) D: to Declaration of Matthew Levine, # 8 Declaration of
                            Nathaniel Dorfman, # 9 Declaration of Tanisha Edwards) Motions referred to Christian F.
                            Hummel. (Scott, William) (Entered: 02/04/2019)
  02/04/2019             79 RESPONSE in Opposition re 73 MOTION to Compel the Production of Documents filed
                            by Andrew Cuomo, The New York State Department of Financial Services, Maria T.
                            Vullo. (Attachments: # 1 Affirmation of William A. Scott, # 2 Declaration of Matthew
                            Levine, # 3 Exhibit(s) A: to Declaration of Matthew Levine, # 4 Exhibit(s) B: to
                            Declaration of Matthew Levine, # 5 Exhibit(s) C: to Declaration of Matthew Levine, # 6
                            Exhibit(s) D: to Declaration of Matthew Levine, # 7 Declaration of Nathaniel Dorfman, #
                            8 Declaration of Tanisha Edwards)(Scott, William) (Entered: 02/04/2019)
  02/08/2019             80 MOTION for Limited Admission Pro Hac Vice of Nicole Frazer Reaves Filing fee $100,
                            receipt number ANYNDC-4645891. filed by National Rifle Association of America.
                            Motions referred to Christian F. Hummel. (Rogers, Sarah) (Entered: 02/08/2019)
  02/08/2019             81 REPLY to Response to Motion re 73 MOTION to Compel the Production of Documents
                            filed by National Rifle Association of America. (Gase, Stephanie) (Entered: 02/08/2019)
  02/12/2019             82 TEXT ORDER granting 80 Motion for Limited Admission Pro Hac Vice for Nicole
                            Frazer Reaves, Esq. Counsel is hereby advised that as of January 16, 2018, the NYND
                            has converted to NextGen. Due to this conversion, you must now register for Pro Hac
                            Vice access through your PACER account. This is the only notice you will receive
                            concerning this requirement. You will not have access to electronically file in this
                            case until your Pro Hac Vice request has been processed through the PACER
                            system. Step-by-step instructions on how to complete this process are available at
                            http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                            Judge Christian F. Hummel on 2/12/2019. (tab) (Entered: 02/12/2019)
  02/15/2019             83 RESPONSE in Opposition re 78 MOTION for Protective Order filed by National Rifle
                            Association of America. (Attachments: # 1 Declaration of Stephanie L. Gase in Support
                            of Plaintiff's Memorandum of Law in Opposition to Defendants' Motion for a Protective
                            Order)(Gase, Stephanie) (Entered: 02/15/2019)
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                            15/46
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  02/20/2019             84 REPLY to Response to Motion re 78 MOTION for Protective Order filed by Andrew
                            Cuomo, The New York State Department of Financial Services, Maria T. Vullo. (Scott,
                            William) (Entered: 02/20/2019)
  03/06/2019             85 COURT NOTICE of Telephonic Hearing: A telephonic Discovery Hearing has been set
                            for Friday, 3/8/2019 @ 3:00 PM in Albany before Magistrate Judge Christian F. Hummel.
                            Parties are directed to dial in at 1-888-684-8852, enter access code 9772719 # and
                            security code 1234 # to join the call. (tab) (Entered: 03/06/2019)
  03/08/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Discovery Hearing held on 3/8/2019. Appearances by telephone by Stephanie L. Gase,
                               Esq. and Jose Joel Alicea, Esq. for plaintiff; AAG William Scott, for Defendants. The
                               Court inquires about the Motion regarding expedited discovery and what issues remain
                               pending in that motion. Plaintiff advises the Court that generally one issue remains, and
                               defendant indicates that they take the same position and oppose the relief sought.
                               (regarding Vullo deposition) The Court schedules in-person oral argument on the issue on
                               3/13/2019 @ 11:00 am in Albany. Court concludes. (Court Reporter Jacqueline
                               Stroffolino) (tab) (Entered: 03/08/2019)
  03/08/2019             86 NOTICE of Hearing on Motion 21 MOTION for Preliminary Injunction For Expedited
                            Discovery (NOT Preliminary Injunction) : Oral Argument/Motion Hearing is set for
                            Wednesday, 3/13/2019 @ 11:00 AM in Albany before Magistrate Judge Christian F.
                            Hummel. (tab) (Entered: 03/08/2019)
  03/13/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Motion Hearing held on 3/13/2019 re 21 MOTION For Expedited Discovery filed by
                               National Rifle Association of America. Appearances by Stephanie Gase, Esq. and Jose
                               Joel Alicea, Esq. for Plaintiff; AAG William Scott for Defendants. Oral argument is
                               heard. The Court takes a 10 minute recess; Court resumes and additional inquiries by the
                               Court are made. The Court reserves decision and will issue a written Order by the end of
                               the month. (Court Reporter: Theresa Casal) (tab) (Entered: 03/14/2019)
  03/14/2019             87 STIPULATION ESI Order by National Rifle Association of America submitted to Judge
                            McAvoy. (Gase, Stephanie) (Entered: 03/14/2019)
  03/14/2019             88 ORDER APPROVING 87 Stipulation filed by National Rifle Association of America
                            (Stipulated ESI Order). Signed by Magistrate Judge Christian F. Hummel on 3/14/2019.
                            (tab) (Entered: 03/14/2019)
  03/20/2019             89 MEMORANDUM-DECISION & ORDER: Ordered that plaintiff's 21 Order to Show
                            Cause is granted in part as plaintiff will be permitted to depose defendant Maria T. Vullo
                            otherwise plaintiff's Order to Show Cause is denied. Signed by Magistrate Judge
                            Christian F. Hummel on 3/20/2019. (jdp, ) (Entered: 03/20/2019)
  03/20/2019             90 TRANSCRIPT of Proceedings: Oral Argument held on March 13, 2019 before Judge
                            Christian F. Hummel, Court Reporter: Theresa J. Casal, Telephone number: 518-257-
                            1897. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                            remove personal identifier data from the transcript, a party must electronically file a
                            Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                            this date. The policy governing the redaction of personal information is located on the
                            court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                            to Redact is filed within 5 business days of this date, the court will assume redaction of
                            personal identifiers is not necessary and the transcript will be made available on the web
                            90 days from today's date. Transcript may be viewed at the court public terminal or
                            purchased through the Court Reporter/Transcriber before the deadline for Release of
                            Transcript Restriction. After that date it may be obtained through PACER. Redaction
                            Request due 4/10/2019. Redacted Transcript Deadline set for 4/22/2019. Release of
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                              16/46
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                              Transcript Restriction set for 6/18/2019. Notice of Intent to Redact due by 3/25/2019 (tjc,
                              ) (Entered: 03/20/2019)
  03/22/2019             91 TRANSCRIPT REQUEST by Andrew Cuomo, The New York State Department of
                            Financial Services, Maria T. Vullo for proceedings held on 03/13/2019 before Judge
                            Hummel.. (Scott, William) (Entered: 03/22/2019)
  03/25/2019             92 STATUS REPORT to Judge Hummel by National Rifle Association of America. (Gase,
                            Stephanie) (Entered: 03/25/2019)
  04/01/2019             93 Letter Motion from Sarah Rogers for National Rifle Association of America requesting
                            Court Conference Regarding Proposed Motion for a Confidentiality and Protective Order
                            submitted to Judge Hummel . (Gase, Stephanie) (Entered: 04/01/2019)
  04/03/2019             94 TEXT ORDER granting 93 Letter Request from Sarah Rogers for National Rifle
                            Association of America requesting Court Conference Regarding Proposed Motion for a
                            Confidentiality and Protective Order; Defendants are directed to file a response to Dkt.
                            No. 93 by 4/10/2019; An IN-PERSON Discovery Hearing has been set for Friday,
                            4/12/2019 @ 2:00 PM in Albany before Magistrate Judge Christian F. Hummel. So
                            Ordered by Magistrate Judge Christian F. Hummel on 4/3/2019. (tab) (Entered:
                            04/03/2019)
  04/03/2019             95 MOTION for Reconsideration re 89 Order on Motion for Preliminary Injunction, Motion
                            Hearing set for 5/16/2019 09:30 AM in Albany before Magistrate Judge Christian F.
                            Hummel Response to Motion due by 4/29/2019 filed by Andrew Cuomo, The New York
                            State Department of Financial Services, Maria T. Vullo. (Attachments: # 1 Memorandum
                            of Law, # 2 Exhibit(s) A: Transcript of Argument) (Scott, William) (Entered: 04/03/2019)
  04/05/2019             96 Letter Motion from Sarah Rogers for National Rifle Association of America requesting
                            Court Conference Regarding Request for Briefing Schedule on Motion for Contempt
                            submitted to Judge Hummel . (Gase, Stephanie) (Entered: 04/05/2019)
  04/08/2019             97 MOTION to Withdraw as Attorney filed by National Rifle Association of America.
                            (Attachments: # 1 Proposed Order/Judgment) Motions referred to Christian F. Hummel.
                            (Gase, Stephanie) (Entered: 04/08/2019)
  04/10/2019             98 LETTER BRIEF by Andrew Cuomo, The New York State Department of Financial
                            Services. (McCartin, Michael) (Entered: 04/10/2019)
  04/12/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Discovery Hearing held on 4/12/2019. Appearances by Sarah Rogers, Esq. for Plaintiff;
                               AAG William Scott for the Defendants, Nathan Dorfman, Esq. for DFS appearing.
                               Arguments are heard on issues as set forth by plaintiff in Dkt. No. 93, Dkt. No. 97, Dkt.
                               No. 98 and Dkt. No. 96. The Court advises counsel that Attorney Gase's letter motion to
                               withdraw from the case will be granted. The Court sets the following briefing schedule
                               for Plaintiff's Motions: Plaintiff's Motion for the Court to approve the proposed
                               confidentiality/protective Order to be filed by 4/17/2019. Defendants' Response due
                               5/1/2019, and any reply, if needed, to be filed by 5/6/2019 and the reply is limited to 5
                               pages. Plaintiff's Motion to Compel Lloyds of London to respond to subpoenas or in the
                               Alternative for DFS to accept service is to be filed by 4/19/2019, Defendants' response
                               due by 5/3/2019 and any reply due by 5/9/2019. (Court Reporter Theresa Casal) (tab)
                               (Entered: 04/16/2019)
  04/15/2019             99 ORDER granting 97 Motion to Withdraw as Attorney. Attorney Stephanie L Gase
                            terminated. Signed by Magistrate Judge Christian F. Hummel on 4/12/2019. (tab)
                            (Entered: 04/15/2019)
  04/19/2019           100 MOTION to Compel Lloyd's Entities to Comply with Non-Party Subpoenas, or
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                17/46
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                              Alternatively, to Compel the DFS to Effectuate Service filed by National Rifle
                              Association of America. (Attachments: # 1 Memorandum of Law in Support of Motion to
                              Compel, # 2 Declaration of Sarah B. Rogers, # 3 Exhibit(s) A - Consent Order Among
                              Lloyds Entities and DFS dated December 20, 2018, # 4 Exhibit(s) B - NRAs Notice of
                              Intent to Request for Production of Documents, # 5 Exhibit(s) C - Affidavit of Service on
                              Superintendent of DFS, # 6 Exhibit(s) D - Federal Express receipts re transmission of
                              Subpoenas to Lloyds Entities, # 7 Exhibit(s) E - Email from Stephanie Gase to Michael
                              Hynes dated March 28, 2019, # 8 Exhibit(s) F - Letter from Michael Hynes to Stephanie
                              Gase dated March 28, 2019, # 9 Exhibit(s) G - Letter from Michael Hynes to Stephanie
                              Gase dated April 2, 2019, # 10 Exhibit(s) H - Letter from Michael Hynes to William
                              Scott dated April 8, 2019, # 11 Exhibit(s) I - Excerpts from Lloyds Master Policy)
                              Motions referred to Christian F. Hummel. (Rogers, Sarah) Modified on 4/22/2019 to re-
                              number entry as Dkt. No. 100(tab). (Entered: 04/20/2019)
  04/22/2019                   CLERK'S CORRECTION OF DOCKET ENTRY re 100 Motion to Compel filed by
                               National Rifle Association of America. Clerk removed a duplicative filing of Plaintiff's
                               Motion to Compel. After removing the first, incomplete filing, Dkt. No. 100, the clerk
                               renumbered the correct and complete Motion to Compel, originally assigned Dkt. No.
                               101, as Dkt. No. 100 in order to maintain a sequential docket number. (tab) (Entered:
                               04/22/2019)
  04/23/2019           101 STIPULATION Stipulated Confidentiality and Protective Order by National Rifle
                           Association of America submitted to Judge Hummel. (Rogers, Sarah) (Entered:
                           04/23/2019)
  04/24/2019           102 STIPULATED CONFIDENTIALITY AND PROTECTIVE ORDER (approved). Signed
                           by Magistrate Judge Christian F. Hummel on 4/24/2019. (tab) (Entered: 04/24/2019)
  04/29/2019           103 RESPONSE in Opposition re 95 MOTION for Reconsideration re 89 Order on Motion
                           for Preliminary Injunction, Memorandum of Law in Opposition of Defendants' Motion for
                           Reconsideration filed by National Rifle Association of America. (Rogers, Sarah)
                           (Entered: 04/29/2019)
  05/01/2019           104 NOTICE of Appearance by Debra L. Greenberger on behalf of Maria T. Vullo
                           (Greenberger, Debra) (Entered: 05/01/2019)
  05/01/2019           105 NOTICE of Appearance by Elizabeth S. Saylor on behalf of Maria T. Vullo (Saylor,
                           Elizabeth) (Entered: 05/01/2019)
  05/02/2019           106 Letter Motion from Debra L. Greenberger for Maria T. Vullo requesting Extension of
                           Time to Reply In Further Support of Defendants' Motion for Reconsideration, from May
                           6, 2019 to May 13, 2019 submitted to Judge Hon. Christina F. Hummel . (Greenberger,
                           Debra) (Entered: 05/02/2019)
  05/03/2019           107 NOTICE of Appearance by Eamon G. Rock on behalf of The New York State
                           Department of Financial Services (Rock, Eamon) (Entered: 05/03/2019)
  05/03/2019           108 NOTICE by The New York State Department of Financial Services of Appearance by
                           Nathaniel J. Dorfman on behalf of The New York State Department of Financial Services
                           (Rock, Eamon) (Entered: 05/03/2019)
  05/03/2019           109 RESPONSE in Opposition re 100 MOTION to Compel Lloyd's Entities to Comply with
                           Non-Party Subpoenas, or Alternatively, to Compel the DFS to Effectuate Service filed by
                           The New York State Department of Financial Services. (Attachments: # 1 Attorney
                           Affirmation)(Rock, Eamon) (Entered: 05/03/2019)
  05/06/2019           110 TEXT ORDER re 106 : Counsel for defendant Maria T. Vullo filed a letter request dated
                           May 2, 2019, seeking an extension of time to file a reply to plaintiffs Motion for
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                   18/46
4/5/2021                     Case 21-636, DocumentCM/ECF7, 04/05/2021,       3070804,
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                              Reconsideration (dkt. no. 95). Dkt. No. 106. The letter request (dkt. no. 106) is
                              GRANTED. Defendant Vullo has until May 13, 2019 to file a reply. SO ORDERED.
                              Authorized by Magistrate Judge Christian F. Hummel on 5/6/19. (Entered: 05/06/2019)
  05/09/2019           111 REPLY to Response to Motion re 100 MOTION to Compel Lloyd's Entities to Comply
                           with Non-Party Subpoenas, or Alternatively, to Compel the DFS to Effectuate Service
                           filed by National Rifle Association of America. (Rogers, Sarah) (Entered: 05/09/2019)
  05/10/2019           112 DECISION AND ORDER granting in part and denying in part, as stated within,
                           Defendants' 63 Motion to Dismiss. Signed by Senior Judge Thomas J. McAvoy on
                           5/9/19. (sfp, ) (Entered: 05/10/2019)
  05/10/2019           113 NOTICE of Appearance by Andrew G. Celli, Jr on behalf of Maria T. Vullo (Celli,
                           Andrew) (Entered: 05/10/2019)
  05/13/2019           114 MEMORANDUM OF LAW re 95 Motion for Reconsideration, Defendants' Reply
                           Memorandum of Law In Further Support of Their Motion for Reconsideration filed by
                           Maria T. Vullo. (Celli, Andrew) (Entered: 05/13/2019)
  06/26/2019           115 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 4/12/19 before Judge Hummel.. (Attachments: # 1 Exhibit(s) AO435 Form)
                           (Rogers, Sarah) (Entered: 06/26/2019)
  07/30/2019           116 NOTICE of Appearance by John C. Canoni on behalf of National Rifle Association of
                           America (Canoni, John) (Entered: 07/30/2019)
  07/30/2019           117 Letter Motion from John Canoni for National Rifle Association of America requesting
                           Modification of Scheduling Order submitted to Judge Hummel . (Canoni, John) (Entered:
                           07/30/2019)
  08/01/2019           118 TEXT ORDER granting 117 Letter Request from John Canoni for National Rifle
                           Association of America requesting Modification of Scheduling Order. The Discovery
                           deadline is extended to 10/15/2019. The motion filing deadline will be reset after
                           decisions on the pending motions are issued. Authorized by Magistrate Judge Christian F.
                           Hummel on 8/1/2019. (tab) (Entered: 08/01/2019)
  08/06/2019           119 Letter Motion from John Canoni for National Rifle Association of America requesting
                           Conference Request re Motion for Letter of Request submitted to Judge Hummel .
                           (Canoni, John) (Entered: 08/06/2019)
  08/07/2019           120 TEXT ORDER granting 119 Letter Request from John Canoni for National Rifle
                           Association of America requesting Conference. A Telephone Conference has been set for
                           Thursday, 8/15/2019 @ 11:00 AM in Albany before Magistrate Judge Christian F.
                           Hummel. Parties are directed to dial in at 1-888-684-8852, enter access code 9772719#
                           and security code 1234# to join the call. Authorized by Magistrate Judge Christian F.
                           Hummel on 8/7/2019. (tab) (Entered: 08/07/2019)
  08/08/2019           121 MEMORANDUM-DECISION & ORDER denying 73 Motion to Compel; Pltf's request
                           for sanctions is DENIED; denying without prejudice and with leave to renew, following
                           the Court's in camera review, the 78 Motion for Protective Order; that, within 21 days
                           from the filing date of this MDO, defts are to provide to the Court, a detailed privilege
                           log, addressing any documents it seeks to withhold on the basis of any privilege, along
                           with all documents responsive to the following categories of demands as (noted in 1-3 of
                           the Order); that within 14 days from the filing date of this MDO, defts are to provide to
                           the Court a signed affidavit indicating that they conducted a diligent search but do not
                           possess responsive documents, or have already provided all responsive documents, for
                           the following categories of material (as listed in the Order); and that, if the Court
                           determines, following in camera review, that any supplemental briefing is required, the
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                              Court shall notify the parties and provide such opportunity for additional briefing on any
                              claims raised within the Motion to Compel and Motion for Protective Order than have
                              been dismissed without prejudice. Signed by Magistrate Judge Christian F. Hummel on
                              8/8/2019. (see) (Entered: 08/09/2019)
  08/13/2019           122 NOTICE of Appearance by Nicole Frazer Reaves on behalf of National Rifle Association
                           of America (Frazer Reaves, Nicole) (Entered: 08/13/2019)
  08/15/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Telephone Conference held on 8/15/2019 re Dkt. No. 119. Appearances by telephone:
                               John Canoni, Esq. and Nicole Frazer Reaves, Esq. for Plaintiff; William Scott, AAG for
                               Defendants, Debra Greenberger, Esq. for Vullo, Eamon Rock, Esq. for NYS DFS.
                               Defendants advise the Court that they have no issue with Plaintiff's submitting the motion
                               for the issuance of letters of request for international judicial assistance under the Hague
                               Convention on the Taking of Evidence Abroad in Civil or Commercial Matters, but
                               request an opportunity to file a response. The Court sets a briefing schedule for plaintiffs
                               to file. A Text Order setting the briefing schedule to be issued. (Court Reporter FTR
                               Recorded) (tab) (Entered: 08/16/2019)
  08/16/2019           123 TEXT ORDER setting a briefing schedule for Plaintiff's request/motion for the issuance
                           of letters of request for international judicial assistance under the Hague Convention on
                           the Taking of Evidence Abroad in Civil or Commercial Matters. Plaintiff to file papers by
                           8/23/2019. Defendants are directed to respond by 9/9/2019. Any reply by Plaintiffs to be
                           filed by 9/16/2019. Authorized by Magistrate Judge Christian F. Hummel on 8/16/2019.
                           (tab) (Entered: 08/16/2019)
  08/21/2019           124 Letter Motion from William A. Scott for Andrew Cuomo, The New York State
                           Department of Financial Services requesting Extension of Time to Comply with Court's
                           Order submitted to Judge Hummel . (Scott, William) (Entered: 08/21/2019)
  08/21/2019           125 Response Letter Motion from John Canoni for National Rifle Association of America
                           requesting Response to August 21 Letter from William Scott submitted to Judge Hummel
                           . (Canoni, John) (Entered: 08/21/2019)
  08/22/2019           126 TEXT ORDER granting in part and denying in part 124 Letter Request from William A.
                           Scott for Andrew Cuomo, The New York State Department of Financial Services
                           requesting Extension of Time to Comply with Court's Order: Defendant is granted an
                           extension until September 20th, 2019 to comply. [Denying 125 Responsive Letter
                           Request from John Canoni for National Rifle Association of America. Authorized by
                           Magistrate Judge Christian F. Hummel on 8/22/2019. (tab) (Entered: 08/22/2019)
  08/22/2019           127 STATUS REPORT with Declarations per Court's Order Regarding Discovery by Andrew
                           Cuomo, The New York State Department of Financial Services. (Attachments: # 1
                           Declaration of Tanisha Edwards, # 2 Declaration of Kevin Bishop)(Scott, William)
                           (Entered: 08/22/2019)
  08/22/2019           128 AFFIDAVIT - Declaration of Maria T. Vullo Pursuant to Court Order Regarding
                           Discovery by Maria T. Vullo. (Greenberger, Debra) (Entered: 08/22/2019)
  08/23/2019           129 MOTION for Issuance of Letters Rogatory /Issuance of Letters of Request filed by
                           National Rifle Association of America. (Attachments: # 1 Memorandum of Law
                           Memorandum of Law In Support of Motion for Letters of Request, # 2 Declaration
                           Declaration of John C. Canoni In Support of Motion for Letters of Request, # 3 Exhibit(s)
                           Exhibit A- Request for International Judicial Assistance- Corporation of Lloyd's, # 4
                           Exhibit(s) Exhibit B- Request for International Judicial Assistance- AmTrust Syndicates
                           Limited, # 5 Exhibit(s) Exhibit C- Request for International Judicial Assistance- Argo
                           Managing Agency Limited, # 6 Exhibit(s) Exhibit D- Request for International Judicial

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                              Assistance- Atrium Underwriters Limited, # 7 Exhibit(s) Exhibit E- Request for
                              International Judicial Assistance- Brit Syndicates Limited, # 8 Exhibit(s) Exhibit F-
                              Request for International Judicial Assistance- Canopius Managing Agents, # 9 Exhibit(s)
                              Exhibit G- Request for International Judicial Assistance- Chaucer Syndicates Limited, #
                              10 Exhibit(s) Exhibit H- Request for International Judicial Assistance- Liberty Managing
                              Agency Limited, # 11 Exhibit(s) Exhibit I- Request for International Judicial Assistance-
                              S.A. Meacock & Company Limited, # 12 Exhibit(s) Exhibit J- Tokio Marine Kiln
                              Syndicates Limited, # 13 Exhibit(s) Exhibit K- Request for International Judicial
                              Assistance- Inga Beale, # 14 Exhibit(s) Exhibit L- Request for International Judicial
                              Assistance- Charles Franks, # 15 Exhibit(s) Exhibit M- Request for International Judicial
                              Assistance- Jon Hancock, # 16 Exhibit(s) Exhibit N- Request for International Judicial
                              Assistance- Mark Cloutier, # 17 Proposed Order/Judgment Proposed Order- Motion for
                              Letters of Request) (Canoni, John) (Entered: 08/23/2019)
  08/23/2019           130 APPEAL OF MAGISTRATE JUDGE DECISION to District Court by National Rifle
                           Association of America re 121 Order on Motion to Compel,,,,, Order on Motion for
                           Protective Order,,,, Motion Hearing set for 9/27/2019 10:00 AM in Binghamton before
                           Senior Judge Thomas J. McAvoy Response to Motion due by 9/10/2019 (Attachments: #
                           1 Memorandum of Law In Support of Plaintiff's Objections to Magistrate Judge's Ruling
                           on Motion to Compel, # 2 Declaration Declaration of John C. Canoni In Support of
                           Plaintiff's Objections to Magistrate Judge's Ruling on Motion to Compel, # 3 Exhibit(s)
                           A- NRA's First Requests For Production to Defendant Maria T. Vullo, # 4 Exhibit(s) B-
                           NRA's First Requests for Production to Defendant Andrew Cuomo, # 5 Exhibit(s) C-
                           NRA's First Requests for Production to Defendant New York Department of Financial
                           Services, # 6 Proposed Order/Judgment Proposed Order- Plaintiff's Objections to
                           Magistrate Judge's Ruling on Motion to Compel)(Canoni, John) (Entered: 08/23/2019)
  08/27/2019           131 TRANSCRIPT of Proceedings: Oral Argument held on April 12, 2019 before Judge
                           Christian F. Hummel, Court Reporter: Theresa J. Casal, Telephone number: 518-257-
                           1897. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter/Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER. Redaction
                           Request due 9/17/2019. Redacted Transcript Deadline set for 9/27/2019. Release of
                           Transcript Restriction set for 11/25/2019. Notice of Intent to Redact due by 9/3/2019 (tjc,
                           ) (Entered: 08/27/2019)
  08/28/2019           132 MOTION to Withdraw as Attorney filed by National Rifle Association of America.
                           (Attachments: # 1 Proposed Order/Judgment) Motions referred to Christian F. Hummel.
                           (Cooper, Charles) (Entered: 08/28/2019)
  09/05/2019                   TEXT NOTICE to parties advising that Plaintiff's 130 APPEAL OF MAGISTRATE
                               JUDGE 121 DECISION that is on Judge McAvoy's 9/27/19 Motion Calendar is on
                               submit basis. Appearances are not required.(sfp, ) (Entered: 09/05/2019)
  09/09/2019           133 RESPONSE in Opposition re 129 MOTION for Issuance of Letters Rogatory /Issuance of
                           Letters of Request filed by Andrew Cuomo, The New York State Department of Financial
                           Services. (Scott, William) (Entered: 09/09/2019)
  09/10/2019           134 RESPONSE in Opposition re 130 APPEAL OF MAGISTRATE JUDGE DECISION to

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                              District Court by National Rifle Association of America re 121 Order on Motion to
                              Compel,,,,, Order on Motion for Protective Order,,,, filed by Andrew Cuomo, The New
                              York State Department of Financial Services. (Scott, William) (Entered: 09/10/2019)
  09/11/2019           135 ORDER granting 132 Motion to Withdraw as Attorneys. Attorney Nicole Frazer Reaves;
                           Michael W. Kirk; Harold S. Reeves; Jose Joel Alicea and Charles J. Cooper terminated.
                           Signed by Magistrate Judge Christian F. Hummel on 9/11/2019. (tab) (Entered:
                           09/11/2019)
  09/16/2019           136 REPLY to Response to Motion re 129 MOTION for Issuance of Letters Rogatory
                           /Issuance of Letters of Request filed by National Rifle Association of America. (Canoni,
                           John) (Entered: 09/16/2019)
  09/20/2019           137 STATUS REPORT re Material for Court's In Camera Review by Andrew Cuomo, The
                           New York State Department of Financial Services. (Scott, William) (Entered:
                           09/20/2019)
  09/27/2019           138 TEXT ORDER: The parties are directed to appear for a telephone conference on
                           Wednesday, 10/2/2019 at 9:30 AM before Magistrate Judge Christian F. Hummel. Due to
                           the voluminous nature of the documents disclosed for in camera review, the Court is
                           considering the appointment of a special master to assist the Court with reviewing the in
                           camera disclosures. Pursuant to Fed. R. Civ. P. 53(b)(1), the parties are being provided
                           with notice and an opportunity to be heard. As is also required under Rule 53, parties will
                           be permitted an opportunity to suggest candidates for appointment. The Court will
                           provide dial-in instructions for those parties who wish to appear by phone. Authorized by
                           Magistrate Judge Christian F. Hummel on 9/27/2019. (tab) (Entered: 09/27/2019)
  10/02/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Telephone Conference held on 10/2/2019. Appearances by Sarah Rogers, Esq. and John
                               C. Canoni, Esq. for plaintiff; AAG William Scott, on behalf of State defendants; Debra L.
                               Greenberger, Esq. for Maria T. Vullo. The Court advises counsel of it's intention to
                               appoint a Special Master to review all of the in camera submissions. The Court hears
                               from each party as to their position on the Special Master appointment. Counsel are
                               directed to meet and confer and by 10/11/2019, make in-camera submissions of potential
                               Special Master names, indicating whether or not any one person is a agreed to by all
                               parties, or if not, a list of names for the Court to consider. (Court Reporter Theresa Casal)
                               (tab) (Entered: 10/07/2019)
  10/18/2019           139 COURT NOTICE of Teleconference: A Telephone Conference has been set for Tuesday,
                           10/22/2019 @ 10:00 AM before Magistrate Judge Christian F. Hummel. Dial-In
                           instructions will be provided to counsel under separate notice.(tab) (Entered: 10/18/2019)
  10/18/2019                   NOTICE of Teleconference Dial-in Instructions: The parties are directed to dial in at 1-
                               888-684-8852, enter Access code 9772719#, and use Security code 1234# on Tuesday,
                               10/22/2019 @ 10:00 AM for a Status Conference with Magistrate Judge Hummel. (tab)
                               (Entered: 10/18/2019)
  10/22/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Status Conference held on 10/22/2019. Appearances by telephone by: John C. Canoni,
                               Esq. for plaintiff; AAG William Scott, on behalf of State defendants; Debra L.
                               Greenberger, Esq. for Maria T. Vullo. The Court inquires about any additional progress
                               made toward agreeing on a Special Master. All parties advise that they will defer to the
                               Court to select a Special Master. Parties will be informed by the Court once a Special
                               Master has been selected and how the process will proceed. (Court Reporter Jacqueline
                               Stroffolino) (tab) (Entered: 10/22/2019)
  11/13/2019           140 AFFIDAVIT OF BENJAMIN W. HILL (tab) (Entered: 11/13/2019)

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  11/13/2019           141 ORDER APPOINTING Special Master. Benjamin W. Hill, Esq. appointed. Signed by
                           Magistrate Judge Christian F. Hummel on 11/13/2019. (tab) (Entered: 11/13/2019)
  11/15/2019           142 Letter Motion from John Canoni for National Rifle Association of America requesting
                           Conference Request to Discuss NRA Motion for Leave to Amend its Complaint to
                           Replead its Selective Enforcement Claim submitted to Judge Hummel . (Canoni, John)
                           (Entered: 11/15/2019)
  11/18/2019           143 TEXT ORDER granting 142 Letter Request from John Canoni for National Rifle
                           Association of America requesting Conference Request to Discuss NRA Motion for
                           Leave to Amend its Complaint to Replead its Selective Enforcement Claim. A Pre-
                           Motion Filing Conference set for Monday, 11/25/2019 @ 9:30 AM in Albany before
                           Magistrate Judge Christian F. Hummel. Counsel are permitted to appear by telephone or
                           in person. For counsel opting to appear by telephone, dial-in instructions will be issued
                           under separate notice. Authorized by Magistrate Judge Christian F. Hummel on
                           11/18/2019. (tab) (Entered: 11/18/2019)
  11/18/2019                   NOTICE of Dial-In Instructions for Teleconference: The parties, preferring to appear on
                               11/25/2019 @ 9:30 Am by telephone are directed to dial in at 1-888-684-8852, enter
                               Access code 9772719#, and use Security code 1234# to join the conference. (tab)
                               (Entered: 11/18/2019)
  11/25/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Telephonic Pre-Motion Conference held on 11/25/2019. Appearances by Sarah Rogers,
                               Esq. and John Canoni, Esq. for plaintiff; AAG William Scott and AAG Ryan Abel, for
                               Defendant NYS. Debra Greenberger, Esq. for Defendant Vullo. Plaintiff's request to file a
                               motion to amend the complaint is briefly discussed. The Court directs an in-person
                               hearing be held and schedules the hearing for 12/4/2019 @ 1:00 pm in Albany. The Court
                               also directs parties to file letter briefs by 5pm today (plaintiff) and a response by 5pm
                               tomorrow (Defendants). (Court Reporter Theresa Casal) (tab) (Entered: 11/25/2019)
  11/25/2019           144 COURT NOTICE of Hearing: An in-person, Pre-Motion Argument Hearing has been set
                           for 12/4/2019 @ 1:00 PM in Albany before Magistrate Judge Christian F. Hummel. (tab)
                           (Entered: 11/25/2019)
  11/25/2019           145 LETTER BRIEF per Judge Hummel's direction of 11-25-19 by National Rifle
                           Association of America. (Rogers, Sarah) (Entered: 11/25/2019)
  11/26/2019           146 RESPONSE TO LETTER BRIEF filed by Andrew Cuomo, The New York State
                           Department of Financial Services as to 145 LETTER BRIEF filed by National Rifle
                           Association of America . (Attachments: # 1 Exhibit(s) NRA/Lloyd's Agreement)(Scott,
                           William) (Entered: 11/26/2019)
  11/26/2019           147 RESPONSE TO LETTER BRIEF filed by Maria T. Vullo as to 145 LETTER BRIEF
                           filed by National Rifle Association of America . (Greenberger, Debra) (Entered:
                           11/26/2019)
  12/04/2019                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Pre-Motion Conference held on 12/4/2019. Appearances by John Canoni, Esq. for
                               plaintiff (assisted by Brittany Cisco, Esq.) AAG William Scott on behalf of NYS
                               Defendants/Cuomo; Debra Greenberger, Esq. for Defendant Vullo. Arguments are heard
                               by all parties regarding Plaintiff's request to file a Motion to Amend the Complaint. The
                               Court grants Plaintiff's request to file a Motion to Amend. Motion is to be filed by
                               12/20/2019; Responses to be filed by 1/20/2020 and any Reply to be filed by 1/27/2020.
                               Parties are to file a letter to the Court regarding their positions with working with the
                               Special Master for the Court to consider and address. (Court Reporter Lisa Tennyson)
                               (tab) (Entered: 12/04/2019)

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  12/04/2019           148 TEXT ORDER setting briefing schedule for Plaintiff's Motion to Amend: Motion to be
                           filed by 12/20/2019; Response to Motion to be filed by 1/20/2020; any reply to response
                           to Motion to be filed by 1/27/2020. The Motion will be noticed before Magistrate Judge
                           Hummel and will be taken on submit unless or until, otherwise directed. Authorized by
                           Magistrate Judge Christian F. Hummel on 12/4/2019. (tab) (Entered: 12/04/2019)
  12/06/2019           149 TRANSCRIPT REQUEST by Maria T. Vullo for proceedings held on 12/4/2019 before
                           Judge - Magistrate Judge Christian F. Hummel.. (Greenberger, Debra) (Entered:
                           12/06/2019)
  12/17/2019           150 Letter Motion from John Canoni for National Rifle Association of America requesting
                           Special Master Suggestion submitted to Judge Christian F. Hummel . (Canoni, John)
                           (Entered: 12/17/2019)
  12/18/2019           151 TRANSCRIPT of Proceedings: Pre-Motion Conference held on December 4, 2019,
                           before Judge Christian F. Hummel, Court Reporter: Lisa L. Tennyson, Telephone
                           number: (518) 257-1823. IMPORTANT NOTICE - REDACTION OF
                           TRANSCRIPTS: In order to remove personal identifier data from the transcript, a party
                           must electronically file a Notice of Intent to Request Redaction with the Clerk's Office
                           within 5 business days of this date. The policy governing the redaction of personal
                           information is located on the court website at www.nynd.uscourts.gov. Read this policy
                           carefully. If no Notice of Intent to Redact is filed within 5 business days of this date, the
                           court will assume redaction of personal identifiers is not necessary and the transcript will
                           be made available on the web 90 days from today's date. Transcript may be viewed at the
                           court public terminal or purchased through the Court Reporter/Transcriber before the
                           deadline for Release of Transcript Restriction. After that date it may be obtained through
                           PACER. Redaction Request due 1/8/2020. Redacted Transcript Deadline set for
                           1/21/2020. Release of Transcript Restriction set for 3/17/2020. Notice of Intent to Redact
                           due by 12/23/2019 (lt, ) (Entered: 12/18/2019)
  12/20/2019           152 TRANSCRIPT REQUEST Pre-Motion Conference by National Rifle Association of
                           America for proceedings held on 12/04/2019 before Judge Christian F. Hummel..
                           (Canoni, John) (Entered: 12/20/2019)
  12/20/2019           153 MOTION to File Documents Under Seal filed by National Rifle Association of America.
                           (Attachments: # 1 Exhibit(s) A, # 2 Exhibit(s) B, # 3 Exhibit(s) C, # 4 Exhibit(s) D, # 5
                           Proposed Order/Judgment Proposed Order) Motions referred to Christian F. Hummel.
                           (Brewer, William) (Entered: 12/20/2019)
  12/20/2019           154 NOTICE by National Rifle Association of America Notice of motion by Plaintiff for
                           Leave to File Second Amended Complaint and Jury Demand (Attachments: # 1 Exhibit(s)
                           1, # 2 Exhibit(s) A, # 3 Exhibit(s) B, # 4 Exhibit(s) C, # 5 Exhibit(s) D, # 6 Exhibit(s) E,
                           # 7 Exhibit(s) F, # 8 Exhibit(s) G, # 9 Exhibit(s) H, # 10 Exhibit(s) I, # 11 Exhibit(s) J, #
                           12 Exhibit(s) 2)(Brewer, William) Modified on 12/23/2019 (tab). (Entered: 12/20/2019)
  12/20/2019           155 MOTION for Leave to File Memorandum of Law in Support of the National Rifle
                           Association of America's Motion for Leave to File Second Amended Complaint and Jury
                           Demand filed by National Rifle Association of America. Motions referred to Christian F.
                           Hummel. (Brewer, William) (Entered: 12/20/2019)
  01/06/2020           156 DECISION AND ORDER: It is hereby ORDERED, that defendants' # 95 Motion for
                           Reconsideration is DENIED. Signed by Magistrate Judge Christian F. Hummel on
                           1/6/2020. (pjh) (Entered: 01/06/2020)
  01/06/2020           157 TEXT ORDER re 150 Letter Motion from John Canoni for National Rifle Association of
                           America requesting Special Master Suggestion submitted to Judge Christian F. Hummel
                           filed by National Rifle Association of America. Defendants are directed to file a response

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                              to Dkt. No. 150 within seven days of this Order and no more than three pages. So
                              Ordered. Authorized by Magistrate Judge Christian F. Hummel on 1/6/2020. (response
                              due by 1/14/2020)(tab) (Entered: 01/06/2020)
  01/13/2020           158 MOTION for Extension of Time to File Defendants' Opposition to Plaintiff's Motion to
                           Amend from January 20, 2020 to January 27, 2020 filed by Maria T. Vullo. Motions
                           referred to Christian F. Hummel. (Greenberger, Debra) (Entered: 01/13/2020)
  01/13/2020           159 TEXT ORDER granting 158 Motion for Extension of Time to File Defendants'
                           Opposition to Plaintiff's Motion to Amend from January 20, 2020 to January 27, 2020
                           filed by Maria T. Vullo. Authorized by Magistrate Judge Christian F. Hummel on
                           1/13/2020. (tab) (Entered: 01/13/2020)
  01/14/2020           160 RESPONSE TO LETTER BRIEF filed by Andrew Cuomo, The New York State
                           Department of Financial Services as to 150 Letter Request/Motion filed by National Rifle
                           Association of America . (Scott, William) (Entered: 01/14/2020)
  01/21/2020           161 TEXT ORDER : On December 17, 2019, plaintiff filed a letter motion seeking to confer
                           with the Special Master and submit short briefings and make arguments on determinative
                           issues, so that the Special Master can make informed decisions in his report and
                           recommendation to your Honor. Dkt. No. 150 Letter Request. Defendants opposed that
                           request. Dkt. No. 160. Plaintiffs request insofar as it seeks to communicate with the
                           Special Master and/or submit additional briefing, is DENIED with leave to renew should
                           the Special Master inform the Court that communication and/or briefing on one or more
                           issues would be of benefit to him during his review. So Ordered. Authorized by
                           Magistrate Judge Christian F. Hummel on 1/21/2020. (tab) (Entered: 01/21/2020)
  01/27/2020           162 RESPONSE in Opposition re 155 MOTION for Leave to File Memorandum of Law in
                           Support of the National Rifle Association of America's Motion for Leave to File Second
                           Amended Complaint and Jury Demand filed by Andrew Cuomo, The New York State
                           Department of Financial Services. (Attachments: # 1 Exhibit(s) A: Transcript of
                           Proceedings, # 2 Exhibit(s) B: Plaintiff's Interrogatories)(Scott, William) (Entered:
                           01/27/2020)
  01/27/2020           163 MOTION to File Opposition Under Seal filed by Maria T. Vullo. (Attachments: # 1
                           Exhibit(s) A - Redacted Pages, # 2 Proposed Order/Judgment - Proposed Order on
                           Defendant Maria T. Vullo's Motion to File Opposition Under Seal) Motions referred to
                           Christian F. Hummel. (Greenberger, Debra) (Entered: 01/27/2020)
  01/27/2020           164 RESPONSE in Opposition re 155 MOTION for Leave to File Memorandum of Law in
                           Support of the National Rifle Association of America's Motion for Leave to File Second
                           Amended Complaint and Jury Demand filed by Maria T. Vullo. (Attachments: # 1
                           Declaration of Debra L. Greenberger, # 2 Exhibit(s) 1 - Transcript of Proceedings Before
                           the Honorable Christian F. Hummel Held on December 4, 2019, # 3 Exhibit(s) 2 -
                           Plaintiff National Rifle Association of America's Objections to Defendant Maria T.
                           Vullo's First Set of Interrogatories, dated January 6, 2020)(Greenberger, Debra) (Entered:
                           01/27/2020)
  02/04/2020           165 MOTION for Extension of Time to File Response/Reply as to 155 MOTION for Leave to
                           File Memorandum of Law in Support of the National Rifle Association of America's
                           Motion for Leave to File Second Amended Complaint and Jury Demand filed by National
                           Rifle Association of America. Motions referred to Christian F. Hummel. (Canoni, John)
                           (Entered: 02/04/2020)
  02/04/2020           166 TEXT ORDER granting 165 Motion for Extension of Time to File Response/Reply re
                           155 MOTION for Leave to File Second Amended Complaint and Jury Demand.


https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                             25/46
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                              Plaintiff's Reply to Response to Motion due by 2/14/2020. Authorized by Magistrate
                              Judge Christian F. Hummel on 2/4/2020. (tab) (Entered: 02/04/2020)
  02/04/2020           167 ORDER: It is hereby ORDERED, that within seven (7) days of the filing date of this
                           Order, defendants are to provide to the Court for in camera review either a supplement to
                           the Executive Chambers documents which includes bate-stamped documents Chambers
                           0000601-0000764 that were not included in the USB drive provided to the Court or an
                           explanation as to why these documents were omitted; and it is further ORDERED, that
                           within twenty-one (21) days of the filing date of this Order, defendants are to provide for
                           in camera review the remainder of the information requested herein. Signed by
                           Magistrate Judge Christian F. Hummel on 2/4/2020. (pjh) (Entered: 02/04/2020)
  02/13/2020           168 TEXT ORDER: The Special Master has submitted to the Court his first billing statement.
                           The Court will provide the billing statement to the parties. The Special Masters billing is
                           to be split equally between plaintiff and defendants. The parties will have ten days from
                           the issuing date of this text order to file with the Court, for in camera review, objections
                           to the Special Masters billing statement, along with any argument as to whether the
                           billing statement need be released to the public docket. Submissions are to be limited to
                           five pages in length. So Ordered. Authorized by Magistrate Judge Christian F. Hummel
                           on 2/13/2020. (tab) (Entered: 02/13/2020)
  02/14/2020           169 REPLY to Response to Motion re 155 MOTION for Leave to File Memorandum of Law
                           in Support of the National Rifle Association of America's Motion for Leave to File Second
                           Amended Complaint and Jury Demand filed by National Rifle Association of America.
                           (Brewer, William) (Entered: 02/14/2020)
  02/18/2020           170 MEMORANDUM-DECISION AND ORDER: It is hereby ORDERED, that Plaintiff's #
                           100 Motion to Compel is DENIED; and it is further ORDERED, that the Clerk of the
                           Court serve this Memorandum-Decision & Order on parties in accordance with Local
                           Rules. Signed by Magistrate Judge Christian F. Hummel on 2/18/2020. (pjh) (Entered:
                           02/18/2020)
  02/21/2020           171 Pre-Motion Letter by Maria T. Vullo requesting a pre-motion conference submitted to
                           Judge Christian F. Hummel. (Greenberger, Debra) Modified on 2/25/2020 to reflect that
                           this Letter is being submitted to Judge Hummel not Judge D'Agostino (pjh). (Entered:
                           02/21/2020)
  02/24/2020           172 Letter Motion from William A. Scott for Andrew Cuomo, The New York State
                           Department of Financial Services requesting Extension of time to comply with Court's
                           Order [Dkt. 167] submitted to Judge Hummel . (Scott, William) (Entered: 02/24/2020)
  02/24/2020           173 TEXT ORDER granting 172 Letter Request from William A. Scott for Andrew Cuomo,
                           The New York State Department of Financial Services requesting Extension of time to
                           comply with Court's Order [Dkt. 167]. Deadline to comply is reset to 3/3/2020.
                           Authorized by Magistrate Judge Christian F. Hummel on 2/24/2020. (tab) (Entered:
                           02/24/2020)
  02/24/2020           174 Response to ECF #171 Letter Motion from John Canoni for National Rifle Association of
                           America requesting Response to February 21, 2020 Letter submitted to Judge Christian F.
                           Hummel . (Canoni, John) (Entered: 02/24/2020)
  02/25/2020                   CLERK'S CORRECTION OF DOCKET ENTRY: Attorney Debra Greenberger
                               inadvertently referred the # 171 Pre-Motion Letter Request to Judge D'Agostino who is
                               not assigned to this case. Clerk corrected the docket text to reflect that the request was
                               referred to Judge Hummel. (pjh) (Entered: 02/25/2020)
  02/26/2020           175 TEXT ORDER granting 171 Letter Request by Maria T. Vullo requesting a pre-motion
                           conference: A Discovery Conference has been set for Thursday, 3/5/2020 @ 1:30 PM in
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                     26/46
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                              Albany before Magistrate Judge Christian F. Hummel. Counsel are permitted to appear
                              by telephone for this conference. Personal appearances is always permitted. For Counsel
                              opting to participate by telephone dial-in instructions will post under a separate notice on
                              the docket. Authorized by Magistrate Judge Christian F. Hummel on 2/26/2020. (tab)
                              (Entered: 02/26/2020)
  02/26/2020                   NOTICE of Dial-In Instructions for Teleconference: The parties, opting to dial in on
                               Thursday, 3/5/2020 @ 1:30 PM are directed to dial in at 1-888-684-8852, enter Access
                               code 9772719 #, and use Security code 1234 # to join the conference. (tab) (Entered:
                               02/26/2020)
  02/28/2020           176 MOTION for Preliminary Injunction by National Rifle Association of America.
                           (Attachments: # 1 Memorandum of Law Memorandum of Law, # 2 Declaration Rogers
                           Declaration, # 3 Exhibit(s) A, # 4 Exhibit(s) B, # 5 Exhibit(s) C, # 6 Exhibit(s) D, # 7
                           Exhibit(s) E, # 8 Exhibit(s) F, # 9 Exhibit(s) G, # 10 Exhibit(s) H, # 11 Exhibit(s) I, # 12
                           Exhibit(s) J, # 13 Exhibit(s) K, # 14 Exhibit(s) L, # 15 Exhibit(s) M, # 16 Exhibit(s) N, #
                           17 Exhibit(s) O, # 18 Exhibit(s) P, # 19 Exhibit(s) Q, # 20 Exhibit(s) R, # 21 Exhibit(s) S,
                           # 22 Exhibit(s) T, # 23 Exhibit(s) U, # 24 Declaration Miller Declaration, # 25 Exhibit(s)
                           A, # 26 Declaration Cashin Declaration)(Rogers, Sarah) (Entered: 02/28/2020)
  02/28/2020           177 Letter Motion from William A. Scott for Andrew Cuomo, The New York State
                           Department of Financial Services requesting That the Court Decline to Entertain the
                           Plaintiff's Order to Show Cause submitted to Judge Hummel . (Attachments: # 1
                           Exhibit(s) Notice of Charges)(Scott, William) (Entered: 02/28/2020)
  02/28/2020           178 ORDER Setting Show Cause Hearing re: 176 MOTION for Preliminary Injunction:
                           Show Cause Hearing set for 3/23/2020 at 01:30 PM in Albany before Senior Judge
                           Thomas J. McAvoy. Response to Motion due by 4:00pm on 3/11/2020. Signed by Senior
                           Judge Thomas J. McAvoy on 2/28/2020. (amt) (Entered: 02/28/2020)
  03/02/2020           179 TEXT ORDER with attached Invoice of Special Master: The Court is in receipt of a fee
                           request from the Special Master. See Dkt. No. 168. Having received no objection from
                           either party, the Special Masters fee request is approved. The parties have thirty days to
                           remit payment to the Special Master. The payment to be split equally between plaintiff
                           and defendant 50% to be paid by plaintiff, and 50% to be paid by defendants. So Ordered.
                           Authorized by Magistrate Judge Christian F. Hummel on 3/2/2020. (tab) (Entered:
                           03/02/2020)
  03/05/2020           180 TEXT ORDER: Relative to Plaintiffs motion for a preliminary injunction [Doc. # 176],
                           Plaintiff is directed to deliver to the United States District Court Clerk's Office in Albany,
                           NY, by 1:00 PM on March 9, 2020, chamber's copies of its memorandum of law,
                           declarations, exhibits, and other documents filed in connection with the motion. These
                           documents must be contained in three-ring binders (or otherwise bound), and must be
                           tabbed & identified in a manner that will assist the Court's review of the material. In
                           addition, Plaintiff is directed to provide the Court with a DVD containing, in Microsoft
                           Word, Wordperfect, or pdf format, copies of its memorandum of law, declarations, and
                           expert witness reports (including rebuttal expert witness report) filed relative to the
                           motion. Authorized by Senior Judge Thomas J. McAvoy on 3/5/20. (sfp, ) (Entered:
                           03/05/2020)
  03/05/2020                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Discovery Hearing held on 3/5/2020. Appearances by John C. Canoni, Esq. for plaintiff;
                               AAG William Scott for State Defts.; Andrew G. Celli, Jr., Esq. and Debra L.
                               Greenberger, Esq. for Deft Vullo. Counsel are heard on the issue of taking Deft Vullo's
                               deposition early on in discovery. Parties' positions are clearly stated and memorialized on
                               the record during the conference. The Court allows the taking of Deft Vullos deposition
                               at this time, but advises counsel that any attempt to take a further deposition of Deft
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                 27/46
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                              Vullo would require a formal motion before the Court. Plaintiff inquires about extending
                              of deadlines while the various motions are pending. The Court directs plaintiff file a letter
                              request with the Court and deadlines can be extended accordingly. (Court Reporter
                              Theresa Casal) (tab) (Entered: 03/05/2020)
  03/06/2020           181 MEMORANDUM-DECISION AND ORDER denying 129 Plaintiff's Motion for
                           Issuance of Letters Rogatory without prejudice to renew under the circumstances
                           specifically set forth herein. Signed by Magistrate Judge Christian F. Hummel on
                           3/6/2020. (tab) (Entered: 03/06/2020)
  03/10/2020           182 TRANSCRIPT REQUEST by Maria T. Vullo for proceedings held on 3/5/2020 before
                           Judge - Magistrate Judge Christian F. Hummel.. (Greenberger, Debra) (Entered:
                           03/10/2020)
  03/11/2020           183 RESPONSE in Opposition re 176 MOTION for Preliminary Injunction filed by Andrew
                           Cuomo, The New York State Department of Financial Services. (Attachments: # 1
                           Declaration of Hadas Jacobi)(Scott, William) (Entered: 03/11/2020)
  03/16/2020           184 TEXT ORDER: The Court will consider the 176 motion without oral argument. Plaintiff
                           is granted leave to file a reply memorandum of law not to exceed ten (10) pages that must
                           be filed by 2:00pm on March 18, 2020. Authorized by Senior Judge Thomas J. McAvoy
                           on 3/16/2020. (amt) (Entered: 03/16/2020)
  03/17/2020           185 Letter Motion from William A. Brewer III for National Rifle Association of America
                           requesting Hearing on OSC submitted to Judge Thomas J. McAvoy . (Brewer, William)
                           (Entered: 03/17/2020)
  03/18/2020           186 TEXT ORDER granting in part the 185 Letter Request for an extension of time to file
                           Reply papers. Reply papers shall be filed by 2:00pm on 3/19/2020. The 176 MOTION for
                           Preliminary Injunction is adjourned to the Court's 6/8/2020 motion calendar. The Court
                           will revisit the request for oral argument closer to the 6/8/2020 return date. Authorized by
                           Senior Judge Thomas J. McAvoy on 3/18/2020. (amt) (Entered: 03/18/2020)
  03/18/2020                   Reset Motion Deadlines: Pltf's 176 MOTION for Preliminary Injunction is adjourned to
                               Judge McAvoy's 6/8/20 Motion Calendar. Reply to Response to Motion is due by
                               3/19/2020 at 2:00 PM. This motion will be on submit basis unless otherwise directed by
                               the Court. [This entry is to set the motion deadlines in the system.](sfp, ) (Entered:
                               03/18/2020)
  03/19/2020           187 REPLY to Response to Motion re 176 MOTION for Preliminary Injunction Reply
                           Memorandum of Law filed by National Rifle Association of America. (Attachments: # 1
                           Declaration Sarah Rogers)(Brewer, William) (Entered: 03/19/2020)
  03/31/2020           188 ***VACATED PURSUANT TO 324 Decision and Order*** DECISION & ORDER -
                           Plaintiff's 130 Appeal of Magistrate Judge Hummel's discovery determinations, Dkt. No.
                           121, is GRANTED. Documents should be produced to Magistrate Judge Hummel for in
                           camera review in accordance with this Decision and Order. Signed by Senior Judge
                           Thomas J. McAvoy on 3/31/2020. (jel, ) Modified on 3/22/2021 (jel, ). (Entered:
                           03/31/2020)
  03/31/2020           189 Letter Motion from John Canoni for National Rifle Association of America requesting
                           Renewing Hague Discovery Motion submitted to Judge Christian F. Hummel . (Canoni,
                           John) (Entered: 03/31/2020)
  04/02/2020           190 COURT NOTICE of Hearing: A Telephone Conference has been set for Friday,
                           4/10/2020 @ 11:00 AM before Magistrate Judge Christian F. Hummel. Dial in
                           instructions for this conference will be provided, under separate entry, on the case docket.
                           (tab) (Entered: 04/02/2020)
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                 28/46
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  04/02/2020                  NOTICE of Teleconference: The parties are directed to dial in at 1-888-684-8852, use
                              Access code 9772719 #, and Security code 1234 #. Telephone Conference set for
                              4/10/2020 @ 11:00 AM before Magistrate Judge Christian F. Hummel. (tab) (Entered:
                              04/02/2020)
  04/09/2020           191 Letter Motion from William A. Scott for Andrew Cuomo, The New York State
                           Department of Financial Services requesting Extension of Time to File Motion for
                           Reconsideration submitted to Judge McAvoy . (Scott, William) (Entered: 04/09/2020)
  04/09/2020           192 RESPONSE TO LETTER BRIEF filed by National Rifle Association of America as to
                           191 Letter Request/Motion filed by The New York State Department of Financial
                           Services, Andrew Cuomo . (Rogers, Sarah) (Entered: 04/09/2020)
  04/10/2020           193 TRANSCRIPT of Proceedings: Conference held on March 5, 2020 before Judge
                           Christian F. Hummel, Court Reporter: Theresa J. Casal, Telephone number: 518-257-
                           1897. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter/Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER. Redaction
                           Request due 5/1/2020. Redacted Transcript Deadline set for 5/11/2020. Release of
                           Transcript Restriction set for 7/9/2020. Notice of Intent to Redact due by 4/15/2020 (tjc, )
                           (Entered: 04/10/2020)
  04/10/2020                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Telephone Conference held on 4/10/2020. Appearances by Sarah Rogers, Esq. and Bill
                               Brewer, Esq. for Plaintiff; Debra Greenberger, Esq. and Andrew Celli, Esq. for Defendant
                               Vullo; AAG Bill Scott and AAG Ryan Abel for Gov. Cuomo remaining defendants. The
                               Court addresses Defendant's request for a 2 week extension of time to consider whether a
                               Motion for reconsideration of Judge McAvoy's Order is appropriate. Plaintiff's do not
                               object to the extension but would like Defendants to begin the process of ascertaining the
                               scope of these documents. The Court grants the request, Dkt. no. 191, but directs
                               defendants to begin efforts to ascertain the scope of the newly ordered documents. The
                               Court advises parties of the status of the Special Master's progress. (Court Reporter
                               Jacqueline Stroffolino) (tab) (Entered: 04/13/2020)
  04/13/2020           194 TEXT ORDER granting 191 Letter Request from William A. Scott for Andrew Cuomo,
                           The New York State Department of Financial Services requesting Extension of Time to
                           File Motion for Reconsideration until 4/28/2020. Authorized by Magistrate Judge
                           Christian F. Hummel on 4/13/2020. (tab) (Entered: 04/13/2020)
  04/13/2020           195 TEXT ORDER: The Special Master has submitted to the Court his second billing
                           statement. The Court will provide the billing statement to the parties. The Special
                           Masters billing is to be split equally between plaintiff and defendants. The parties will
                           have ten days from the issuing date of this text order to file with the Court, for in camera
                           review, objections to the Special Masters billing statement, along with any argument as to
                           whether the billing statement need be released to the public docket. Submissions are to be
                           limited to five pages in length. So Ordered. Authorized by Magistrate Judge Christian F.
                           Hummel on 4/13/2020. (tab) (Entered: 04/13/2020)
  04/22/2020           196 ORDER granting 153 Motion to File certain documents under Seal by National Rifle
                           Association of America. Signed by Magistrate Judge Christian F. Hummel on 4/22/2020.
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                               29/46
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                              (tab) Modified on 4/22/2020: Sealed documents received in chambers on 12/20/2019
                              (tab). (Entered: 04/22/2020)
  04/22/2020           197 ORDER granting 163 Motion to file certain documents under Seal by Maria T. Vullo.
                           Signed by Magistrate Judge Christian F. Hummel on 4/22/2020. (tab) Modified on
                           4/22/2020: Sealed documents received in chambers on 1/29/2020 (tab). (Entered:
                           04/22/2020)
  04/27/2020           198 TEXT ORDER with attached Invoice of Special Master: The Court is in receipt of the
                           2nd fee request from the Special Master. See Dkt. No. 195. Having received no objection
                           from either party, the Special Masters fee request is approved. The parties have thirty
                           days to remit payment to the Special Master. The payment to be split equally between
                           plaintiff and defendant 50% to be paid by plaintiff, and 50% to be paid by defendants. So
                           Ordered. Authorized by Magistrate Judge Christian F. Hummel on 4/27/2020. (tab)
                           (Entered: 04/27/2020)
  04/28/2020           199 MOTION for Reconsideration re 188 Order on Appeal of Magistrate Judge Decision to
                           District Court, Motion Hearing set for 6/8/2020 10:00 AM in Albany before Senior Judge
                           Thomas J. McAvoy Response to Motion due by 5/22/2020 filed by Andrew Cuomo, The
                           New York State Department of Financial Services. (Attachments: # 1 Memorandum of
                           Law) (Scott, William) (Entered: 04/28/2020)
  05/22/2020           200 RESPONSE in Opposition re 199 MOTION for Reconsideration re 188 Order on Appeal
                           of Magistrate Judge Decision to District Court, filed by National Rifle Association of
                           America. (Attachments: # 1 Declaration of Sarah Rogers)(Rogers, Sarah) (Entered:
                           05/22/2020)
  05/26/2020           201 TEXT ORDER: The Special Master has submitted to the Court his third billing
                           statement. The Court will provide the billing statement to the parties, directly. The
                           Special Master's billing is to be split equally between plaintiff and defendants. The parties
                           will have ten days from the issuing date of this text order to file with the Court, for in
                           camera review, objections to the Special Master's billing statement, along with any
                           argument as to whether the billing statement need be released to the public docket.
                           Submissions are to be limited to five pages in length. So Ordered. Authorized by
                           Magistrate Judge Christian F. Hummel on 5/26/2020. (tab) (Entered: 05/26/2020)
  06/01/2020           202 MEMORANDUM-DECISION AND ORDER granting in part and denying in part 155
                           Motion for Leave to File Second Amended Complaint. Signed by Magistrate Judge
                           Christian F. Hummel on 6/1/2020. (tab) (Entered: 06/01/2020)
  06/02/2020           203 AMENDED COMPLAINT SECOND AMENDED COMPLAINT against All Defendants
                           filed by National Rifle Association of America. (Attachments: # 1 Exhibit(s) A, # 2
                           Exhibit(s) B, # 3 Exhibit(s) C, # 4 Exhibit(s) D, # 5 Exhibit(s) E, # 6 Exhibit(s) F, # 7
                           Exhibit(s) G, # 8 Exhibit(s) H, # 9 Exhibit(s) I, # 10 Exhibit(s) J)(Martin, Michelle)
                           (Entered: 06/02/2020)
  06/03/2020           204 Letter Motion from Sarah B. Rogers for National Rifle Association of America
                           requesting Renewing Hague Discovery Motion submitted to Judge Christian F. Hummel .
                           (Martin, Michelle) (Entered: 06/03/2020)
  06/05/2020                   COURT TEXT NOTICE advising the 199 MOTION for Reconsideration will be ON
                               SUBMIT; No appearances are necessary.(amt) (Entered: 06/05/2020)
  06/11/2020           205 Letter Motion from Debra L. Greenberger for Maria T. Vullo requesting Extension of
                           Time to File and Leave to File Excess Pages submitted to Judge Thomas J. McAvoy .
                           (Greenberger, Debra) (Entered: 06/11/2020)
  06/12/2020                   COURT TEXT NOTICE scheduling a hearing re: the 176 MOTION for Preliminary
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                              30/46
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                              Injunction. The hearing scheduled for 6/24/2020 at 10:00 AM by VIDEO before Senior
                              Judge Thomas J. McAvoy. (amt) (Entered: 06/12/2020)
  06/12/2020           206 TEXT ORDER granting 205 Letter Request. Authorized by Senior Judge Thomas J.
                           McAvoy on 6/12/20. (sfp, ) (Entered: 06/12/2020)
  06/17/2020           207 TEXT ORDER: Pursuant to this Court's November 13, 2019 Order, Dkt. No. 141, parties
                           will have twenty-one (21) days from the date of this Text Order to submit objections
                           relating to the Special Master's Report. Objections, if any, are to be submitted in camera.
                           The Special Master's Report and any accompanying documentation provided to parties is
                           to be considered CONFIDENTIAL unless and until the Court otherwise orders and may
                           not be shared or distributed beyond the parties and counsel. SO ORDERED.Signed by
                           Magistrate Judge Christian F. Hummel on 6/17/2020. (tab) (Entered: 06/17/2020)
  06/20/2020           208 NOTICE of Appearance by Kevin John Bishop on behalf of The New York State
                           Department of Financial Services (Bishop, Kevin) (Entered: 06/20/2020)
  06/23/2020           209 NOTICE of Appearance by Marissa Benavides on behalf of Maria T. Vullo (Benavides,
                           Marissa) (Entered: 06/23/2020)
  06/23/2020           210 MOTION to Dismiss for Failure to State a Claim Motion Hearing set for 7/24/2020 10:00
                           AM in Albany before Senior Judge Thomas J. McAvoy Response to Motion due by
                           7/7/2020 Reply to Response to Motion due by 7/13/2020. filed by Andrew Cuomo, The
                           New York State Department of Financial Services. (Attachments: # 1 Memorandum of
                           Law) (Scott, William) (Entered: 06/23/2020)
  06/23/2020           211 MOTION to Dismiss for Failure to State a Claim and Notice of Appeal of the Grant of
                           Plaintiff's Motion to Amend. Motion Hearing set for 7/24/2020 10:00 AM in Binghamton
                           before Senior Judge Thomas J. McAvoy Response to Motion due by 7/7/2020 Reply to
                           Response to Motion due by 7/13/2020. filed by Maria T. Vullo. (Attachments: # 1
                           Memorandum of Law - Defendant Vullo's Combined Brief in Support of Appeal of the
                           Grant of Plaintiff's Motion to Amend and Motion to Dismiss the Second Amended
                           Complaint) (Celli, Andrew) (Entered: 06/23/2020)
  06/24/2020                   Minute Entry for proceedings held before Senior Judge Thomas J. McAvoy; Motion
                               Hearing held on 6/24/2020; App: S. Roger and W. Brewer, Esqs., for Plaintiff; W. Scott
                               and D. Greenberger, Esqs., for Defts; Court Reporter: L. Tennyson; Court hears
                               arguments from the parties re: the Plaintiff's 176 MOTION for Preliminary Injunction;
                               Court reserves decision; Written decision will be issued. (amt) (Entered: 06/24/2020)
  07/01/2020           212 Letter Motion from W. Scott for Andrew Cuomo, The New York State Department of
                           Financial Services requesting extension of time to file objections to the Special Master's
                           Report and Recommendation No. 1 submitted to Judge Hummel . (Abel, Ryan) (Entered:
                           07/01/2020)
  07/01/2020           213 TEXT ORDER GRANTING (IN PART) 212 Letter Request from W. Scott for Andrew
                           Cuomo, The New York State Department of Financial Services requesting extension of
                           time to file objections to the Special Master's Report and Recommendation No. 1. ALL
                           PARTIES now have until July 23, 2020 to file objections. So Ordered. Authorized by
                           Magistrate Judge Christian F. Hummel on 7/1/2020. (tab) (Entered: 07/01/2020)
  07/02/2020           214 Letter Motion from Sarah B. Rogers for National Rifle Association of America
                           requesting Letter Request from S. Rogers for National Rifle Association of America
                           requesting extension of time to file response to Motion to Dismiss submitted to Judge
                           Thomas J. McAvoy and Christian F. Hummel (Response to ECF 210 and ECF 211).
                           (Rogers, Sarah) (Entered: 07/02/2020)
  07/02/2020           215 RESPONSE TO LETTER BRIEF filed by Andrew Cuomo, The New York State
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                 31/46
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                              Department of Financial Services as to 214 Letter Request/Motion, filed by National
                              Rifle Association of America . (Scott, William) (Entered: 07/02/2020)
  07/02/2020           216 RESPONSE TO LETTER BRIEF filed by Maria T. Vullo as to 214 Letter
                           Request/Motion, filed by National Rifle Association of America . (Greenberger, Debra)
                           (Entered: 07/02/2020)
  07/06/2020           217 TEXT ORDER granting 214 Letter Request from National Rifle Association of America
                           requesting extension of time to file responses to Motion to Dismiss, 210 MOTION to
                           Dismiss for Failure to State a Claim , 211 MOTION to Dismiss for Failure to State a
                           Claim and Notice of Appeal of the Grant of Plaintiff's Motion to Amend. : Motion
                           Hearing is reset for 8/10/2020 @ 10:00 AM in Binghamton before Senior Judge Thomas
                           J. McAvoy. Responses to Motions due by 7/13/2020 and Replies to Response to Motions
                           due by 7/27/2020. Authorized by Senior Judge Thomas J. McAvoy on 7/6/2020. (tab)
                           (Entered: 07/06/2020)
  07/13/2020           218 DECISION & ORDER - Plaintiff's 176 motion for a preliminary injunction staying the
                           New York State Department of Financial Services administrative hearing to determine
                           whether Plaintiff violated various provisions of the New York Insurance Law is
                           DENIED. Signed by Senior Judge Thomas J. McAvoy on 7/13/2020. (jel, ) (Entered:
                           07/13/2020)
  07/13/2020           219 RESPONSE in Opposition re 210 MOTION to Dismiss for Failure to State a Claim filed
                           by National Rifle Association of America. (Rogers, Sarah) (Entered: 07/13/2020)
  07/13/2020           220 RESPONSE in Opposition re 211 MOTION to Dismiss for Failure to State a Claim and
                           Notice of Appeal of the Grant of Plaintiff's Motion to Amend. filed by National Rifle
                           Association of America. (Rogers, Sarah) (Entered: 07/13/2020)
  07/14/2020           221 Letter Motion from R. Abel for Andrew Cuomo, The New York State Department of
                           Financial Services requesting Rule 26 conference to request stay of discovery submitted
                           to Judge Christian F. Hummel . (Abel, Ryan) (Entered: 07/14/2020)
  07/14/2020           222 Letter Motion from Debra L. Greenberger for Maria T. Vullo requesting Rule 26
                           conference to request stay of discovery submitted to Judge Christian F. Hummel .
                           (Greenberger, Debra) (Entered: 07/14/2020)
  07/14/2020           223 TEXT ORDER re 222 Letter Motion from Debra L. Greenberger for Maria T. Vullo
                           requesting Rule 26 conference to request stay of discovery and, 221 Letter Motion from
                           R. Abel for Andrew Cuomo, The New York State Department of Financial Services
                           requesting Rule 26 conference to request stay of discovery . Plaintiff is directed to file a
                           response to Defendant's Dkt No. 221, and Dkt. No. 222 on or before close of business on
                           7/17/2020. A Telephone Conference has been set for Monday, 7/20/2020 @ 11:30 AM.
                           The parties' time to respond to the Special Masters first Report is STAYED pending the
                           conference on 7/20/2020. This Court conference will be conducted telephonically and the
                           parties are directed to dial in at 1-888-684-8852, enter Access code 9772719#, and use
                           Security code 1234# to join the call. Authorized by Magistrate Judge Christian F.
                           Hummel on 7/14/2020. (tab) (Entered: 07/14/2020)
  07/16/2020           224 TEXT ORDER with attached Invoice of Special Master: The Court is in receipt of the
                           3rd fee request from the Special Master. See Dkt. No. 201. Having received no objection
                           from either party, the Special Masters fee request is approved. The parties have thirty
                           days to remit payment to the Special Master. The payment to be split equally between
                           plaintiff and defendant 50% to be paid by plaintiff, and 50% to be paid by defendants. So
                           Ordered. Authorized by Magistrate Judge Christian F. Hummel on 7/16/2020. (tab)
                           (Entered: 07/16/2020)
  07/17/2020           225 RESPONSE TO LETTER BRIEF filed by National Rifle Association of America as to
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                              32/46
4/5/2021                     Case 21-636, DocumentCM/ECF
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                              222 Letter Request/Motion filed by Maria T. Vullo, 221 Letter Request/Motion filed by
                              The New York State Department of Financial Services, Andrew Cuomo . (Rogers, Sarah)
                              (Entered: 07/17/2020)
  07/20/2020                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Telephone Conference held on 7/20/2020 by telephone. Appearances by Sarah Rogers,
                               Esq. and Michelle Martin, Esq. for Plaintiff; AAG William Scott and AAG Ryan Abel for
                               State Defts; Debra Greenberger, Esq. and Andrew Celli, Esq. for Deft. Vullo. Parties are
                               heard on issue of staying discovery pending decisions on various pending motions before
                               the Court. Judge Hummel advises parties that the Court is in receipt of and is reviewing
                               the Special Master's 2nd Report and Recommendation and that Report will be provided to
                               parties by week's end. In light of the Special Master's 2nd report being completed, parties
                               are given until close of business on 7/21/2020 to file a letter to the Court, indicating their
                               client's position on the stay request. (Court Reporter Jacqueline Stroffolino) (tab)
                               (Entered: 07/21/2020)
  07/21/2020           226 Letter Motion from R. Abel for Andrew Cuomo, The New York State Department of
                           Financial Services requesting stay of discovery pending dispositive motions submitted to
                           Judge Christian F. Hummel . (Abel, Ryan) (Entered: 07/21/2020)
  07/21/2020           227 RESPONSE TO LETTER BRIEF filed by National Rifle Association of America as to
                           222 Letter Request/Motion filed by Maria T. Vullo, 221 Letter Request/Motion filed by
                           The New York State Department of Financial Services, Andrew Cuomo In opposition to
                           Defendants Request for Stay of Discovery. (Rogers, Sarah) (Entered: 07/21/2020)
  07/21/2020           228 Letter Motion from Debra L. Greenberger for Maria T. Vullo requesting temporary stay
                           of discovery in this matter submitted to Judge Hon. Christian F. Hummel . (Greenberger,
                           Debra) (Entered: 07/21/2020)
  07/22/2020           229 TEXT ORDER: Parties are being provided with the Special Masters second Report and
                           Recommendation directly, and in the same manner as the first Report and
                           Recommendation. Pursuant to this Court's November 13, 2019 Order, Dkt. No. 141, the
                           Special Master's Report and any accompanying documentation provided to parties is to
                           be considered CONFIDENTIAL unless and until the Court otherwise orders and may not
                           be shared or distributed beyond the parties and counsel. The deadline for parties to
                           submit objections to the Special Masters first and second Report and
                           Recommendation will be set by the Court in a written Order to be issued.
                           Objections, if any, are to be submitted in camera. SO ORDERED. Authorized by
                           Magistrate Judge Christian F. Hummel on 7/22/2020. (tab) (Entered: 07/22/2020)
  07/24/2020           230 Letter Motion from Debra L. Greenberger for Maria T. Vullo requesting Leave to File
                           Excess Pages submitted to Judge Christian F. Hummel . (Greenberger, Debra) (Entered:
                           07/24/2020)
  07/24/2020           231 TEXT ORDER granting 230 Letter Request from Debra L. Greenberger for Maria T.
                           Vullo requesting Leave to File Excess Pages. Authorized by Magistrate Judge Christian
                           F. Hummel on 7/24/2020. (tab) (Entered: 07/24/2020)
  07/27/2020           232 REPLY to Response to Motion re 210 MOTION to Dismiss for Failure to State a Claim
                           filed by Andrew Cuomo, The New York State Department of Financial Services. (Scott,
                           William) (Entered: 07/27/2020)
  07/27/2020           233 REPLY to Response to Motion re 211 MOTION to Dismiss for Failure to State a Claim
                           and Notice of Appeal of the Grant of Plaintiff's Motion to Amend. filed by Maria T. Vullo.
                           (Celli, Andrew) (Entered: 07/27/2020)
  07/28/2020           234 ORDER - Defendants' request for a stay of discovery between the parties (Dkt. Nos. 221,
                           222, 226, and 228), is GRANTED to the extent that such discovery is stayed until
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                   33/46
4/5/2021                     Case 21-636, DocumentCM/ECF  7, 04/05/2021,       3070804,
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                              September 30, 2020. The Court will schedule a telephone conference at that time to
                              address the issue of discovery between the parties. The parties are directed to file any
                              objections to the Special Master's First Report in camera by August 17, 2020. The parties
                              are directed to file any objections to the Special Master's Second Report in camera by
                              September 14, 2020. The Court continues to be concerned about the pace of this litigation
                              and the extraordinary legal and other expenses being incurred by each of the parties. The
                              Court strongly urges the parties to see if this matter may be resolved by way of
                              settlement. The Court is available at any time to assist the parties in such efforts. Signed
                              by Magistrate Judge Christian F. Hummel on 7/28/2020. (jel, ) (Entered: 07/28/2020)
  07/30/2020           235 COURT NOTICE of Conference: A Telephone Status Conference (re: stay of discovery)
                           has been set for Wednesday, 10/7/2020 @ 11:00 AM before Magistrate Judge Christian F.
                           Hummel. This Court conference will be conducted telephonically and the parties are
                           directed to dial in at 1-888-684-8852, enter Access code 9772719 #, and use Security
                           code 1234# to join the call.(tab) (Entered: 07/30/2020)
  07/31/2020           236 Letter Motion from Michelle J. Martin for National Rifle Association of America
                           requesting Pre-Motion Conference and Renewing Hague Discovery Motion submitted to
                           Judge Christian F. Hummel . (Martin, Michelle) (Entered: 07/31/2020)
  08/03/2020           237 TEXT ORDER re 236 Letter Motion from Michelle J. Martin for National Rifle
                           Association of America requesting Pre-Motion Conference and Renewing Hague
                           Discovery Motion submitted to Judge Christian F. Hummel Defendants are directed to
                           file a response to Dkt. No. 236 by 8/7/2020. A Telephone Discovery Hearing has been
                           set for Monday, 8/10/2020 @ 11:00 AM. Parties are directed to dial in at 1-888-684-
                           8852, enter access code 9772719# and security code 1234# to join the call. Authorized by
                           Magistrate Judge Christian F. Hummel on 8/3/2020. (tab) (Entered: 08/03/2020)
  08/04/2020           238 TEXT ORDER: The Special Master has submitted to the Court his fourth billing
                           statement. The Court will provide the billing statement to the parties, directly. The
                           Special Master's billing is to be split equally between plaintiff and defendants. The parties
                           will have ten days from the issuing date of this text order to file with the Court, for in
                           camera review, objections to the Special Master's billing statement, along with any
                           argument as to whether the billing statement need be released to the public docket.
                           Submissions are to be limited to five pages in length. So Ordered. Authorized by
                           Magistrate Judge Christian F. Hummel on 8/4/2020. (tab) (Entered: 08/04/2020)
  08/07/2020                   COURT TEXT NOTICE advising the 210 and 211 Motions, currently returnable before
                               Senior Judge McAvoy on 8/10/2020, will be ON SUBMIT; No appearances are
                               necessary. (amt) (Entered: 08/07/2020)
  08/07/2020           239 RESPONSE TO LETTER BRIEF filed by Andrew Cuomo, The New York State
                           Department of Financial Services as to 236 Letter Request/Motion filed by National Rifle
                           Association of America . (Scott, William) (Entered: 08/07/2020)
  08/07/2020           240 RESPONSE TO LETTER BRIEF filed by Maria T. Vullo as to 236 Letter
                           Request/Motion filed by National Rifle Association of America . (Greenberger, Debra)
                           (Entered: 08/07/2020)
  08/10/2020                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Pre-Motion/Discovery Hearing held on 8/10/2020 by telephone. Appearances by Sarah
                               Rogers, Esq. and Michelle Martin, Esq. for Plaintiff; AAG William Scott and AAG Ryan
                               Abel, for State/Cuomo Defendants; Debra Greenberger, Esq. and Andrew Celli, Esq. for
                               Defendant Vullo. Arguments are heard on Plaintiff's request @ Dkt. no 236 and in regard
                               to what discovery can/should continue. Plaintiff is permitted to file a motion by
                               8/17/2020; Defendant's response to be filed by 9/7/2020. (Court Reporter Theresa Casal)
                               (tab) (Entered: 08/11/2020)
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                                34/46
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  08/11/2020           241 TEXT ORDER granting 236 Letter Request from Michelle J. Martin for National Rifle
                           Association of America requesting Pre-Motion Conference: A Court Conference was
                           held on 8/10/2020, and as directed in that conference: Plaintiff is permitted to file a
                           renewed motion to compel third-party Everytown For Gun Safety (Everytown) to comply
                           with a subpoena that the NRA issued on January 28, 2019; renew the NRAs motion for
                           the issuance of Letters of Request for International Judicial Assistance to compel the
                           production of documents by, and the taking of depositions of, the Corporation of Lloyds
                           (Lloyds) and certain of its Managing Agents, and to renew its previously-filed motion to
                           commence the Hague process with respect to key Lloyds entities. Motion to be filed by
                           8/17/2020. Defendant's response deadline is set for 9/7/2020. So Ordered. Authorized by
                           Magistrate Judge Christian F. Hummel on 8/11/2020. (tab) (Entered: 08/11/2020)
  08/13/2020           242 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 8/10/2020 before Judge Christian F. Hummel.. (Attachments: # 1 FORM AO
                           435)(Martin, Michelle) (Entered: 08/13/2020)
  08/13/2020           243 TRANSCRIPT REQUEST dated August 12, 2020 from Caroline H. Zalka, Esq., for
                           proceedings held on August 10, 2020 before Magistrate Judge Christian F. Hummel. (jel,
                           ) (Entered: 08/13/2020)
  08/17/2020           244 TRANSCRIPT of Proceedings: Teleconference held on August 10, 2020 before Judge
                           Christian F. Hummel, Court Reporter: Theresa J. Casal, Telephone number: 518-257-
                           1897. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter/Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER. Redaction
                           Request due 9/8/2020. Redacted Transcript Deadline set for 9/17/2020. Release of
                           Transcript Restriction set for 11/16/2020. Notice of Intent to Redact due by 8/24/2020
                           (tjc, ) (Entered: 08/17/2020)
  08/17/2020           245 CERTIFICATE OF SERVICE by National Rifle Association of America of Plaintiff's
                           Objections to Special Master's First Report and Recommendation (Martin, Michelle)
                           (Entered: 08/17/2020)
  08/17/2020           246 MOTION for Issuance of Letters Rogatory Renewed Motion for Issuance of Letters of
                           Request filed by National Rifle Association of America. (Attachments: # 1 Memorandum
                           of Law) (Martin, Michelle) (Entered: 08/17/2020)
  08/18/2020           247 TEXT ORDER with attached Invoice of Special Master: The Court is in receipt of the 4th
                           fee request from the Special Master. See Dkt. No. 238. Having received no objection
                           from either party, the Special Masters fee request is approved. The parties have thirty
                           days to remit payment to the Special Master. The payment to be split equally between
                           plaintiff and defendant 50% to be paid by plaintiff, and 50% to be paid by defendants. So
                           Ordered. Authorized by Magistrate Judge Christian F. Hummel on 8/18/2020. (tab)
                           (Entered: 08/18/2020)
  08/19/2020           248 Letter Motion from Sarah B. Rogers for National Rifle Association of America
                           requesting an extension of time to file motion to compel submitted to Judge Christian F.
                           Hummel . (Rogers, Sarah) (Entered: 08/19/2020)
  08/20/2020           249 TEXT ORDER granting 248 Letter Request for an extension of time to file a renewed
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                           35/46
4/5/2021                     Case 21-636, DocumentCM/ECF7, 04/05/2021,       3070804,
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                              motion to compel third-party Everytown For Gun Safety (Everytown) to comply with a
                              subpoena that the NRA issued on January 28, 2019: Motion to Compel to be filed by
                              8/27/2020; Response deadline is set for 9/17/2020 and any reply will be due by
                              9/28/2020. So Ordered. Authorized by Magistrate Judge Christian F. Hummel on
                              8/20/2020. (tab) (Entered: 08/20/2020)
  08/25/2020           250 Letter Motion from Debra L. Greenberger for Maria T. Vullo requesting Pre-Motion
                           Conference submitted to Judge Hummel . (Attachments: # 1 Attachment A, # 2
                           Attachment B, # 3 Attachment C, # 4 Attachment D)(Greenberger, Debra) (Entered:
                           08/25/2020)
  08/27/2020           251 NOTICE of MOTION TO COMPEL by National Rifle Association of America Motion to
                           Compel Everytown for Gun Safety to Comply with Subpoena (Attachments: # 1
                           Declaration Michelle J. Martin, # 2 Exhibit(s) 1, # 3 Exhibit(s) 2, # 4 Exhibit(s) 3, # 5
                           Exhibit(s) 4, # 6 Exhibit(s) 5, # 7 Exhibit(s) 6, # 8 Exhibit(s) 7, # 9 Exhibit(s) 8, # 10
                           Exhibit(s) 9, # 11 Exhibit(s) 10, # 12 Exhibit(s) 11, # 13 Exhibit(s) 12, # 14 Exhibit(s) 13,
                           # 15 Exhibit(s) 14, # 16 Exhibit(s) 15, # 17 Exhibit(s) 16, # 18 Exhibit(s) 17, # 19
                           Exhibit(s) 18, # 20 Exhibit(s) 19, # 21 Exhibit(s) 20, # 22 Exhibit(s) 21, # 23 Exhibit(s)
                           22, # 24 Exhibit(s) 23, # 25 Exhibit(s) 24, # 26 Exhibit(s) 25, # 27 Memorandum of Law)
                           (Rogers, Sarah) Modified on 8/28/2020 to set gavel and indicate this filing as a pending
                           motion (tab). (Entered: 08/27/2020)
  08/28/2020           252 TEXT ORDER granting 250 Letter Request from Debra L. Greenberger for Maria T.
                           Vullo requesting Pre-Motion Conference. Parties are directed to file a Response to
                           Defendant Vullo's Dkt. no. 250 by 9/4/2020. A Pre-Motion Filing Telephone Conference
                           has been set for Wednesday, 9/9/2020 @ 11:00 AM. Parties are directed to dial in at 1-
                           888-684-8852, enter access code 9772719# and security code 1234# to join the call.
                           Signed by Magistrate Judge Christian F. Hummel on 8/28/2020. (tab) (Entered:
                           08/28/2020)
  08/31/2020           253 TRANSCRIPT REQUEST by Maria T. Vullo for proceedings held on August 10, 2020
                           before Judge - Magistrate Judge Christian F. Hummel.. (Greenberger, Debra) (Entered:
                           08/31/2020)
  09/03/2020           254 NOTICE of Appearance by David Yohai on behalf of Everytown for Gun Safety (Yohai,
                           David) (Entered: 09/03/2020)
  09/03/2020           255 Letter Motion from David Yohai for Everytown for Gun Safety requesting an Order
                           setting its deadline to respond to the Motion to Compel to October 1, 2020 submitted to
                           Judge Christian F. Hummel . (Yohai, David) (Entered: 09/03/2020)
  09/04/2020           256 TEXT ORDER granting 255 Letter Request from David Yohai for Everytown for Gun
                           Safety requesting an Order setting its deadline to respond to the Motion to Compel to
                           October 1, 2020. 251 MOTION to Compel : Response to Motion due by 10/1/2020;
                           Reply to Response to Motion due by 10/13/2020. Authorized by Magistrate Judge
                           Christian F. Hummel on 9/4/2020. (tab) (Entered: 09/04/2020)
  09/04/2020           257 RESPONSE TO LETTER BRIEF filed by National Rifle Association of America as to
                           252 Order on Letter Request, from Debra L. Greenberger for Maria T. Vullo requesting
                           Pre-Motion Conference. (Martin, Michelle) (Entered: 09/04/2020)
  09/08/2020           258 RESPONSE in Opposition re 246 MOTION for Issuance of Letters Rogatory Renewed
                           Motion for Issuance of Letters of Request filed by Andrew Cuomo, The New York State
                           Department of Financial Services. (Scott, William) (Entered: 09/08/2020)
  09/08/2020           259 RESPONSE in Opposition re 246 MOTION for Issuance of Letters Rogatory Renewed
                           Motion for Issuance of Letters of Request filed by Maria T. Vullo. (Greenberger, Debra)
                           (Entered: 09/08/2020)
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                              36/46
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  09/09/2020                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Pre-Motion Conference held on 9/9/2020 by telephone. Appearances by Sarah Rogers,
                               Esq. and Michele Martin, Esq. for Plaintiff; AAG William Scott for Cuomo Defendants;
                               Debra Greenberger, Esq. Andrew Celli, Esq. and Marissa Benavides, Esq. for Defendant
                               Vullo. The discovery issues are set forth and all parties are heard. The Court advises
                               parties that as the Stay of Discovery expires on 9/30/2020, Defendant Vullo can file a
                               Motion to Compel anytime after 9/30/2020 and Plaintiff NRA can file discovery demands
                               after 9/30/2020. (Court Reporter Lisa Tennyson) (tab) (Entered: 09/10/2020)
  09/10/2020           260 TRANSCRIPT REQUEST by Maria T. Vullo for proceedings held on September 9, 2020
                           before Judge - Magistrate Judge Christian F. Hummel.. (Attachments: # 1 Transcript
                           Order Form AO 435)(Greenberger, Debra) (Entered: 09/10/2020)
  09/11/2020           261 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 9/9/2020 before Judge Christian F. Hummel.. (Attachments: # 1 ao435 form)
                           (Martin, Michelle) (Entered: 09/11/2020)
  09/14/2020           262 CERTIFICATE OF SERVICE by National Rifle Association of America Certificate of
                           Mailing of Plaintiffs Objections to Special Master's Second Report and Recommendation
                           (Rogers, Sarah) (Entered: 09/14/2020)
  09/15/2020           263 MOTION to Withdraw as Attorney - Elizabeth S. Saylor filed by Maria T. Vullo.
                           (Attachments: # 1 Affirmation in Support of Motion to Withdraw Appearance) Motions
                           referred to Christian F. Hummel. (Saylor, Elizabeth) (Entered: 09/15/2020)
  09/18/2020           264 TEXT ORDER granting 263 Motion to Withdraw as Attorney. Attorney Elizabeth S.
                           Saylor terminated. Authorized by Magistrate Judge Christian F. Hummel on 9/18/2020.
                           (tab) (Entered: 09/18/2020)
  09/18/2020           265 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 7/20/2020 before Judge Christian F. Hummel.. (Attachments: # 1 FORM AO
                           435)(Martin, Michelle) (Entered: 09/18/2020)
  09/18/2020           266 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 6/24/2020 before Judge Thomas J. McAvoy.. (Attachments: # 1 FORM AO 435)
                           (Martin, Michelle) (Entered: 09/18/2020)
  09/18/2020           267 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 4/10/2020 before Judge Christian F. Hummel.. (Attachments: # 1 FORM AO
                           435)(Martin, Michelle) (Entered: 09/18/2020)
  09/18/2020           268 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 11/25/2019 before Judge Christian F. Hummel.. (Attachments: # 1 FORM AO
                           435)(Martin, Michelle) (Entered: 09/18/2020)
  09/18/2020           269 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 10/22/2019 before Judge Christian F. Hummel.. (Attachments: # 1 FORM AO
                           435)(Martin, Michelle) (Entered: 09/18/2020)
  09/18/2020           270 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 10/2/2019 before Judge Christian F. Hummel.. (Attachments: # 1 FORM AO
                           435)(Martin, Michelle) (Entered: 09/18/2020)
  09/18/2020           271 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 3/8/2019 before Judge Christian F. Hummel.. (Attachments: # 1 FORM AO 435)
                           (Martin, Michelle) (Entered: 09/18/2020)
  09/18/2020           272 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 7/12/2018 before Judge Thomas J. McAvoy.. (Attachments: # 1 FORM AO 435)
https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?181717071767218-L_1_0-1                                           37/46
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                              (Martin, Michelle) (Entered: 09/18/2020)
  09/29/2020           273 MOTION for Limited Admission Pro Hac Vice of Jonathan D. Polkes Filing fee $100,
                           receipt number ANYNDC-5260599. filed by Everytown for Gun Safety. (Attachments: #
                           1 Sponsor Declaration of David Yohai, # 2 Petition for PHV, # 3 Attachment to Petition
                           for Additional Admissions, # 4 SDNY Certificate of Good Standing, # 5 Proposed Order,
                           # 6 ECF Attorney Registration Form) Motions referred to Christian F. Hummel. (Yohai,
                           David) (Entered: 09/29/2020)
  09/29/2020           274 TRANSCRIPT of Proceedings: Telephone Conference held on 7/12/2018 before Judge
                           Thomas J. McAvoy, Court Reporter: Jacqueline Stroffolino, Telephone number: (518)
                           257-1894. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           10/20/2020. Redacted Transcript Deadline set for 10/30/2020. Release of Transcript
                           Restriction set for 12/28/2020. Notice of Intent to Redact due by 10/5/2020 (jxs, )
                           (Entered: 09/29/2020)
  09/29/2020           275 TRANSCRIPT of Proceedings: Telephone Conference held on 3/8/2019 before Judge
                           Christian F. Hummel, Court Reporter: Jacqueline Stroffolino, Telephone number: (518)
                           257-1894. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           10/20/2020. Redacted Transcript Deadline set for 10/30/2020. Release of Transcript
                           Restriction set for 12/28/2020. Notice of Intent to Redact due by 10/5/2020 (jxs, )
                           (Entered: 09/29/2020)
  09/29/2020           276 TRANSCRIPT of Proceedings: Telephone Conference held on 10/22/2019 before Judge
                           Christian F. Hummel, Court Reporter: Jacqueline Stroffolino, Telephone number: (518)
                           257-1894. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           10/20/2020. Redacted Transcript Deadline set for 10/30/2020. Release of Transcript


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                              Restriction set for 12/28/2020. Notice of Intent to Redact due by 10/5/2020 (jxs, )
                              (Entered: 09/29/2020)
  09/29/2020           277 TRANSCRIPT of Proceedings: Telephone Conference held on 4/10/2020 before Judge
                           Christian F. Hummel, Court Reporter: Jacqueline Stroffolino, Telephone number: (518)
                           257-1894. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           10/20/2020. Redacted Transcript Deadline set for 10/30/2020. Release of Transcript
                           Restriction set for 12/28/2020. Notice of Intent to Redact due by 10/5/2020 (jxs, )
                           (Entered: 09/29/2020)
  09/29/2020           278 TRANSCRIPT of Proceedings: Telephone Conference held on 7/20/2020 before Judge
                           Christian F. Hummel, Court Reporter: Jacqueline Stroffolino, Telephone number: (518)
                           257-1894. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           10/20/2020. Redacted Transcript Deadline set for 10/30/2020. Release of Transcript
                           Restriction set for 12/28/2020. Notice of Intent to Redact due by 10/5/2020 (jxs, )
                           (Entered: 09/29/2020)
  09/30/2020                   Notice of Filing Deficiency re: 273 Motion for Limited Admission Pro Hac Vice
                               Jonathan D. Polkes. Pursuant to LR 83.1(d), the sponsor and/or applicant MUST provide
                               the following required documents: Petition for Admission to Practice form published by
                               the Court 12/2019. The corrected documents should be electronically filed with the Court
                               by selecting the 'Supplemental Admission documents' event, which is found under the
                               'Other Documents' menu. Once all requirements under LR 83.1(d) have been met, the
                               motion will be forwarded to the assigned Magistrate Judge for consideration. (tad, )
                               (Entered: 09/30/2020)
  09/30/2020           279 Supplemental Admission documents re: 273 Motion for Limited Admission Pro Hac
                           Vice,. (Yohai, David) (Entered: 09/30/2020)
  09/30/2020           280 Letter Motion from Debra L. Greenberger for Maria T. Vullo requesting permission to
                           file a Rule 26 motion for a protective order staying discovery until the Court resolves Ms.
                           Vullo's motion to dismiss. submitted to Judge Christian F. Hummel . (Greenberger,
                           Debra) (Entered: 09/30/2020)
  09/30/2020           281 MOTION for Limited Admission Pro Hac Vice of Caroline Hickey Zalka Filing fee
                           $100, receipt number ANYNDC-5262198. filed by Everytown for Gun Safety.
                           (Attachments: # 1 Sponsor Declaration of David Yohai, # 2 Petition for PHV, # 3 Petition
                           for Admission to Practice, # 4 Attachment to Petition for Additional Admissions, # 5

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                              SDNY Certificate of Good Standing, # 6 Proposed Order, # 7 ECF Attorney Registration
                              Form) Motions referred to Christian F. Hummel. (Yohai, David) (Entered: 09/30/2020)
  09/30/2020           282 TEXT ORDER denying as moot the 177 Letter Motion. Authorized by Senior Judge
                           Thomas J. McAvoy on 9/30/2020. (amt) (Entered: 09/30/2020)
  09/30/2020           283 TRANSCRIPT of Proceedings: Pre-motion Teleconference held on September 9, 2020,
                           before Judge Christian F. Hummel, Court Reporter: Lisa L. Tennyson, Telephone
                           number: (518) 257-1823. IMPORTANT NOTICE - REDACTION OF
                           TRANSCRIPTS: In order to remove personal identifier data from the transcript, a party
                           must electronically file a Notice of Intent to Request Redaction with the Clerk's Office
                           within 5 business days of this date. The policy governing the redaction of personal
                           information is located on the court website at www.nynd.uscourts.gov. Read this policy
                           carefully. If no Notice of Intent to Redact is filed within 5 business days of this date, the
                           court will assume redaction of personal identifiers is not necessary and the transcript will
                           be made available on the web 90 days from today's date. Transcript may be viewed at the
                           court public terminal or purchased through the Court Reporter/Transcriber before the
                           deadline for Release of Transcript Restriction. After that date it may be obtained through
                           PACER. Redaction Request due 10/21/2020. Redacted Transcript Deadline set for
                           11/2/2020. Release of Transcript Restriction set for 12/29/2020. Notice of Intent to
                           Redact due by 10/5/2020 (lt, ) (Entered: 09/30/2020)
  09/30/2020           284 TEXT ORDER granting 273 Motion for Limited Admission Pro Hac Vice for Jonathan
                           D. Polkes, Esq. Counsel is hereby advised that as of January 16, 2018, the NYND has
                           converted to NextGen. Due to this conversion, you must now register for Pro Hac Vice
                           access through your PACER account. This is the only notice you will receive
                           concerning this requirement. You will not have access to electronically file in this
                           case until your Pro Hac Vice request has been processed through the PACER
                           system. Step-by-step instructions on how to complete this process are available at
                           http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                           Judge Christian F. Hummel on 9/30/2020. (tab) (Entered: 09/30/2020)
  10/01/2020           285 TEXT ORDER granting 281 Motion for Limited Admission Pro Hac Vice of Caroline
                           Hickey Zalka, Esq. Counsel is hereby advised that as of January 16, 2018, the NYND has
                           converted to NextGen. Due to this conversion, you must now register for Pro Hac Vice
                           access through your PACER account. This is the only notice you will receive
                           concerning this requirement. You will not have access to electronically file in this
                           case until your Pro Hac Vice request has been processed through the PACER
                           system. Step-by-step instructions on how to complete this process are available at
                           http://www.nynd.uscourts.gov/attorney-admissions-nextgen. Authorized by Magistrate
                           Judge Christian F. Hummel on 10/1/2020. (tab) (Entered: 10/01/2020)
  10/01/2020           286 TRANSCRIPT of Proceedings: Conference held on October 2, 2019 before Judge
                           Christian F. Hummel, Court Reporter: Theresa J. Casal, Telephone number: 518-257-
                           1897. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter/Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER. Redaction
                           Request due 10/22/2020. Redacted Transcript Deadline set for 11/2/2020. Release of

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                              Transcript Restriction set for 12/30/2020. Notice of Intent to Redact due by 10/6/2020
                              (tjc, ) (Entered: 10/01/2020)
  10/01/2020           287 TRANSCRIPT of Proceedings: Teleconference held on November 25, 2019 before Judge
                           Christian F. Hummel, Court Reporter: Theresa J. Casal, Telephone number: 518-257-
                           1897. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter/Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER. Redaction
                           Request due 10/22/2020. Redacted Transcript Deadline set for 11/2/2020. Release of
                           Transcript Restriction set for 12/30/2020. Notice of Intent to Redact due by 10/6/2020
                           (tjc, ) (Entered: 10/01/2020)
  10/01/2020           288 NOTICE of Appearance by Jonathan D. Polkes on behalf of Everytown for Gun Safety
                           (Polkes, Jonathan) (Entered: 10/01/2020)
  10/01/2020           289 RESPONSE in Opposition re 251 MOTION to Compel filed by Andrew Cuomo, The
                           New York State Department of Financial Services. (Scott, William) (Entered:
                           10/01/2020)
  10/01/2020           290 RESPONSE in Opposition re 251 MOTION to Compel filed by Everytown for Gun
                           Safety. (Attachments: # 1 Declaration of Eric Tirschwell, # 2 Declaration of Caroline
                           Hickey Zalka, # 3 Declaration of Jenna R. Harris)(Polkes, Jonathan) (Entered:
                           10/01/2020)
  10/01/2020           291 RESPONSE in Opposition re 251 MOTION to Compel filed by Maria T. Vullo.
                           (Greenberger, Debra) (Entered: 10/01/2020)
  10/02/2020           292 TEXT ORDER re 280 Letter Motion from Debra L. Greenberger for Maria T. Vullo
                           requesting permission to file a Rule 26 motion for a protective order staying discovery
                           until the Court resolves Ms. Vullo's motion to dismiss. Parties are directed to file a
                           response to Defendant Vullo's Dkt. No. 280 letter motion by close of business, 10/6/2020
                           and to be prepared to discuss the topic at the October 7th conference. Authorized by
                           Magistrate Judge Christian F. Hummel on 10/2/2020. (tab) (Entered: 10/02/2020)
  10/05/2020           293 MOTION to Compel Plaintiff's Interrogatory Answers. Motion Hearing set for
                           11/19/2020 09:30 AM in Albany before Magistrate Judge Christian F. Hummel Response
                           to Motion due by 11/2/2020 filed by Maria T. Vullo. (Attachments: # 1 Memorandum of
                           Law - Defendant Vullo's Brief in Support of Motion to Compel Plaintiff's Interrogatory
                           Answers, # 2 Exhibit(s) A - March 2019 Pl.'s Resp. & Obj. Defs.' Interrogatories, # 3
                           Exhibit(s) B - March 11, 2020 and April 1, 2020 Emails, # 4 Exhibit(s) C - April 16,
                           2020 Pl.'s Supp. Resp. & Obj., # 5 Exhibit(s) D - Pl. Resp. to Def. Vullo May 1, 2020
                           Letter, # 6 Exhibit(s) E - Pl. Resp. & Obj. Def. Vullo's Second Set of Interrogatories)
                           Motions referred to Christian F. Hummel. (Celli, Andrew) (Entered: 10/05/2020)
  10/06/2020           294 Letter Motion from R. Abel for Andrew Cuomo, The New York State Department of
                           Financial Services requesting permission to join Rule 26 motion by Defendant Vullo
                           submitted to Judge Christian F. Hummel . (Abel, Ryan) (Entered: 10/06/2020)
  10/06/2020           295 RESPONSE TO LETTER BRIEF filed by National Rifle Association of America as to
                           280 Letter Request/Motion, filed by Maria T. Vullo . (Martin, Michelle) (Entered:

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                              10/06/2020)
  10/07/2020                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Status Conference held on 10/7/2020 by telephone. Appearances by Sarah Rogers, Esq.
                               and Michele Martin, Esq. for Plaintiff; AAG William Scott for Cuomo Defendants; Debra
                               Greenberger, Esq. Andrew Celli, Esq. The Court hears arguments from all parties
                               regarding Deft. Vullo's request to file a Rule 26 motion for a protective order staying
                               discovery until the Court resolves Ms. Vullo's motion to dismiss and Deft Cuomo's
                               request to join on that motion. Defendants are permitted to file that motion by
                               10/19/2020. Plaintiff is directed to respond by 11/3/2020. The Court directs that no
                               depositions are to be taken until there is a decision on this anticipated motion. The Court
                               indicates that the motion will be addressed by chambers out of order and expedited.
                               (Court Reporter Jacqueline Stroffolino) (tab) (Entered: 10/13/2020)
  10/09/2020           296 Letter Motion from Michelle J. Martin for National Rifle Association of America
                           requesting permission to file reply brief in support of the NRAs Motion to Compel
                           Everytown For Gun Safety to comply with non-party subpoena in excess of 10 pages
                           submitted to Judge Christian F. Hummel . (Martin, Michelle) (Entered: 10/09/2020)
  10/13/2020           297 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 10/7/2020 before Judge Christian F. Hummel.. (Attachments: # 1 FORM AO
                           435)(Martin, Michelle) (Entered: 10/13/2020)
  10/13/2020           298 TEXT ORDER granting 296 Letter Request from Michelle J. Martin for National Rifle
                           Association of America requesting permission to file reply brief in support of the NRAs
                           Motion to Compel Everytown For Gun Safety to comply with non-party subpoena in
                           excess of 10 pages. Authorized by Magistrate Judge Christian F. Hummel on 10/13/2020.
                           (tab) (Entered: 10/13/2020)
  10/13/2020           299 TEXT ORDER re 280 Letter requesting permission to file a Rule 26 motion for a
                           protective order staying discovery until the Court resolves Ms. Vullo's motion to dismiss
                           and 294 Letter Request from R. Abel for Andrew Cuomo, The New York State
                           Department of Financial Services requesting permission to join Rule 26 motion by
                           Defendant Vullo. Motions are to be filed by 10/19/2020 and Responses are due by
                           11/3/2020, as was directed during the 10/7/2020 court conference. Authorized by
                           Magistrate Judge Christian F. Hummel on 10/13/2020. (tab) (Entered: 10/13/2020)
  10/13/2020           300 REPLY to Response to Motion re 251 MOTION to Compel Everytown for Gun Safety to
                           Comply with Non-Party Subpoena filed by National Rifle Association of America.
                           (Attachments: # 1 Declaration Of John Canoni in Support of Motion to Compel)(Rogers,
                           Sarah) (Entered: 10/13/2020)
  10/19/2020           301 TRANSCRIPT of Proceedings: Telephone Conference held on 10/7/2020 before Judge
                           Christian F. Hummel, Court Reporter: Jacqueline Stroffolino, Telephone number: (518)
                           257-1894. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to
                           remove personal identifier data from the transcript, a party must electronically file a
                           Notice of Intent to Request Redaction with the Clerk's Office within 5 business days of
                           this date. The policy governing the redaction of personal information is located on the
                           court website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent
                           to Redact is filed within 5 business days of this date, the court will assume redaction of
                           personal identifiers is not necessary and the transcript will be made available on the web
                           90 days from today's date. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           11/9/2020. Redacted Transcript Deadline set for 11/19/2020. Release of Transcript
                           Restriction set for 1/19/2021. Notice of Intent to Redact due by 10/26/2020 (jxs, )
                           (Entered: 10/19/2020)
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  10/19/2020           302 MOTION for Protective Order staying discovery during pendency of Defendants' motion
                           to dismiss the Second Amended Complaint Motion Hearing set for 11/19/2020 09:30 AM
                           in Albany before Magistrate Judge Christian F. Hummel Response to Motion due by
                           11/2/2020 filed by Andrew Cuomo, The New York State Department of Financial
                           Services. (Attachments: # 1 Affirmation, # 2 Memorandum of Law) Motions referred to
                           Christian F. Hummel. (Abel, Ryan) (Entered: 10/19/2020)
  10/19/2020           303 MOTION to Stay Discovery. Motion Hearing set for 11/19/2020 09:30 AM in Albany
                           before Magistrate Judge Christian F. Hummel Response to Motion due by 11/2/2020 filed
                           by Maria T. Vullo. (Attachments: # 1 Memorandum of Law - Defendant Vullo's Brief in
                           Support of Motion to Stay Discovery) Motions referred to Christian F. Hummel. (Celli,
                           Andrew) (Entered: 10/19/2020)
  10/29/2020           304 Letter Motion from Michelle J. Martin for National Rifle Association of America
                           requesting extension of the deadline to file response to Defendant Maria T. Vullos Motion
                           to Compel Plaintiffs Interrogatory Answers submitted to Judge Christian F. Hummel .
                           (Martin, Michelle) (Entered: 10/29/2020)
  11/02/2020           305 TEXT ORDER: Plaintiff NRA's letter request (Dkt. No. 304) seeking an extension of
                           time to respond to defendant Vullo's Motion to Compel is GRANTED. Plaintiff is
                           permitted a one week extension. The response is due by November 9, 2020. So Ordered.
                           Authorized by Magistrate Judge Christian F. Hummel on 11/2/20. (Entered: 11/02/2020)
  11/03/2020           306 RESPONSE in Opposition re 302 MOTION for Protective Order staying discovery
                           during pendency of Defendants' motion to dismiss the Second Amended Complaint, 303
                           MOTION to Stay Discovery. filed by National Rifle Association of America. (Martin,
                           Michelle) (Entered: 11/03/2020)
  11/09/2020           307 RESPONSE in Opposition re 293 MOTION to Compel Plaintiff's Interrogatory Answers.
                           filed by National Rifle Association of America. (Rogers, Sarah) (Entered: 11/09/2020)
  11/11/2020           308 Letter Motion from R. Abel for Andrew Cuomo, The New York State Department of
                           Financial Services requesting leave to file reply on Defendants' motion for a stay of
                           discovery submitted to Judge Christian F. Hummel . (Abel, Ryan) (Entered: 11/11/2020)
  11/11/2020           309 RESPONSE TO LETTER BRIEF filed by National Rifle Association of America as to
                           308 Letter Request/Motion, filed by The New York State Department of Financial
                           Services, Andrew Cuomo . (Martin, Michelle) (Entered: 11/11/2020)
  11/15/2020           310 TEXT ORDER denying 308 Letter Motion from R. Abel for Andrew Cuomo, The New
                           York State Department of Financial Services requesting leave to file reply on Defendants'
                           motion for a stay of discovery. Authorized by Magistrate Judge Christian F. Hummel on
                           11/15/2020. (tab) (Entered: 11/15/2020)
  11/16/2020           311 COURT NOTICE regarding Hearing on Motions: 293 MOTION to Compel Plaintiff's
                           Interrogatory Answers, 302 MOTION for Protective Order staying discovery during
                           pendency of Defendants' motion to dismiss the Second Amended Complaint, 303
                           MOTION to Stay Discovery : Motions will be considered fully briefed as of
                           11/19/2020 before Magistrate Judge Christian F. Hummel. These motions will be
                           taken ON SUBMIT with no oral argument being scheduled at this time. No
                           appearances in person or by telephone are scheduled for 11/19/2020. (tab) (Entered:
                           11/16/2020)
  11/23/2020           312 LETTER BRIEF to supplement Ms. Vullo's pending motion to dismiss (Dkt. 211) to draw
                           the Court's attention to the Plaintiff NRA's recent entry into a Consent Order with the
                           Department of Financial Services by Maria T. Vullo. (Attachments: # 1 Exhibit(s) 1 -
                           Consent Order)(Celli, Andrew) (Entered: 11/23/2020)

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  12/01/2020           313 RESPONSE TO LETTER BRIEF filed by National Rifle Association of America as to
                           312 LETTER BRIEF, filed by Maria T. Vullo . (Rogers, Sarah) (Entered: 12/01/2020)
  12/14/2020           314 MEMORANDUM-DECISION and ORDER - That defendant Department of Financial
                           Services and defendant Governor Andrew Cuomo's 302 motion for a protective order
                           staying discovery pending the Court's consideration of their motion to dismiss is
                           GRANTED. That defendant Maria T. Vullo's 303 Motion for a protective order staying
                           discovery pending the Court's consideration of her motion to dismiss is GRANTED.
                           That all discovery in this case is STAYED pending the District Judge's decision on the
                           pending motions to dismiss, dkt. nos. 210, 211. IT IS SO ORDERED. Signed by
                           Magistrate Judge Christian F. Hummel on 12/14/2020. (jel, ) (Entered: 12/14/2020)
  12/28/2020           315 APPEAL OF MAGISTRATE JUDGE DECISION to District Court by National Rifle
                           Association of America re 314 Order on Motion for Protective Order,,, Order on Motion
                           to Stay,, Motion Hearing set for 1/28/2021 10:00 AM in Binghamton before Senior Judge
                           Thomas J. McAvoy Response to Motion due by 1/11/2021 (Attachments: # 1
                           Memorandum of Law)(Rogers, Sarah) (Entered: 12/28/2020)
  12/31/2020           316 LETTER BRIEF to inform the Court of a recent Second Circuit decision which supports
                           Ms. Vullo's pending motion to dismiss the NRA's selective-enforcement claim by Maria T.
                           Vullo. (Attachments: # 1 Exhibit(s) A - Second Circuit Decision, Tangreti v. Bachmann
                           (2d Cir. Dec. 28, 2020))(Greenberger, Debra) (Entered: 12/31/2020)
  12/31/2020           317 Letter Motion from Debra L. Greenberger for Maria T. Vullo requesting extension of time
                           to file Ms. Vullo's response to the NRA's December 28, 2020 objections to the Magistrate
                           Judge's Order staying discovery (Dkt. 315) to January 19, 2021 submitted to Judge Hon.
                           Thomas J. McAvoy . (Greenberger, Debra) (Entered: 12/31/2020)
  01/05/2021                   COURT TEXT NOTICE advising the pending motion(s) before Senior Judge Thomas J.
                               McAvoy will be ON SUBMIT; No appearances are necessary. (amt) (Entered:
                               01/05/2021)
  01/06/2021           318 TEXT ORDER granting the 317 Letter requesting an extension of time to respond to the
                           315 APPEAL OF MAGISTRATE JUDGE DECISION. Response to Motion due by
                           1/19/2021. Authorized by Senior Judge Thomas J. McAvoy on 1/56/2021. (amt)
                           (Entered: 01/06/2021)
  01/19/2021           319 MEMORANDUM OF LAW in opposition to Plaintiff's appeal of the Magistrate Judge's
                           Decision and Order staying discovery filed by Andrew Cuomo, The New York State
                           Department of Financial Services. (Abel, Ryan) (Entered: 01/19/2021)
  01/19/2021           320 MEMORANDUM OF LAW in Opposition to Plaintiff's Appeal of the Magistrate Judge's
                           Decision and Order Staying Discovery filed by Maria T. Vullo. (Celli, Andrew) (Entered:
                           01/19/2021)
  02/24/2021           321 Letter Motion from William A. Brewer for National Rifle Association of America
                           requesting The court to lift confidentiality orders with respect to the Special Masters first
                           and second report and recommendation submitted to Judge Hon. Christian F. Hummel .
                           (Brewer, William) (Entered: 02/24/2021)
  03/15/2021           322 DECISION and ORDER - That DFS and Gov. Cuomo in his official capacity 210 motion
                           to dismiss claims in the Second Amended Complaint is GRANTED. Plaintiff's claims in
                           the Second Amended Complaint against DFS, Gov. Cuomo in his official capacity, and
                           Supt. Lacewell in her official capacity, including the claims for injunctive and declaratory
                           relief, are DISMISSED as barred by the Eleventh Amendment. Ms. Vullo's 211 motion
                           appealing Magistrate Judge Hummel's decision granting leave to amend, and seeking to
                           dismiss the claims against her in the Second Amended Complaint is GRANTED in part
                           and DENIED in part. The selective enforcement claim against Ms. Vullo is
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                              DISMISSED, the motion is denied as to the First Amendment claims, and the appeal of
                              Judge Hummel's decision granting leave to amend is denied. Signed by Senior Judge
                              Thomas J. McAvoy on 3/15/2021. (jel, ) (Entered: 03/15/2021)
  03/16/2021           323 COURT NOTICE of Video Hearing: A video Status Conference (RE: Discovery) has
                           been set for Friday, 3/26/2021 @ 11:00 AM before Magistrate Judge Christian F.
                           Hummel. This hearing will be conducted remotely by video and a Microsoft TEAMS
                           video link will be provided to parties by the Court. (tab) (Entered: 03/16/2021)
  03/22/2021           324 DECISION and ORDER - That the Court GRANTS the Defendants' 199 Motion for
                           Reconsideration; VACATES the Court's Decision and Order on the NRA's appeal of
                           Judge Hummel's discovery determinations, Dkt. No. 188; and REMANDS the case to
                           Judge Hummel to make determinations on the NRA's Motion to Compel in light of the
                           narrowing case. Signed by Senior Judge Thomas J. McAvoy on 3/22/2021. (jel, )
                           (Entered: 03/22/2021)
  03/22/2021           325 NOTICE OF APPEAL as to 322 Order on Motion to Dismiss for Failure to State a
                           Claim,,,,,,, by Maria T. Vullo. Filing fee $ 505, receipt number ANYNDC-5465068.
                           (Celli, Andrew) (Entered: 03/22/2021)
  03/22/2021           326 ELECTRONIC NOTICE AND CERTIFICATION sent to US Court of Appeals re 325
                           Notice of Appeal (jel, ) (Entered: 03/22/2021)
  03/26/2021                   Text Minute Entry for proceedings held before Magistrate Judge Christian F. Hummel:
                               Discovery Hearing held on 3/26/2021 by video in accordance with G.O. 59. Appearances
                               by Sarah Rogers, Esq. and Michelle Martin, Esq. for Plaintiff; AAG William Scott, AAG
                               Ryan Abel for Cuomo/NY Defendants; Debbie Greenberger, Esq., Marissa Benavides,
                               Esq. for Defendant Vullo. Non Party "Everytown" counsel, Jonathan Polkes, Esq. present.
                               Non-party DFS represented by Eamon Rock, Esq. After hearing from all parties, the
                               Court lifts the Stay of Discovery. Various pending motions are denied without prejudice
                               to renew with a narrowed scope and in accordance with Judge McAvoy's recent
                               decisions. Deft Vullo to file a motion seeking a Stay pending her appeal. Plaintiff's
                               discovery motions to be renewed. Briefing schedules are set for those anticipated
                               motions. (Court Reporter Theresa Casal) (tab) (Entered: 03/29/2021)
  03/29/2021           327 TRANSCRIPT of Proceedings: Discovery/Status Hearing held on 3/26/2021 before
                           Judge Christian F. Hummel, IMPORTANT NOTICE - REDACTION OF
                           TRANSCRIPTS: In order to remove personal identifier data from the transcript, a party
                           must electronically file a Notice of Intent to Request Redaction with the Clerk's Office
                           within 5 business days of this date. The policy governing the redaction of personal
                           information is located on the court website at www.nynd.uscourts.gov. Read this policy
                           carefully. If no Notice of Intent to Redact is filed within 5 business days of this date, the
                           court will assume redaction of personal identifiers is not necessary and the transcript will
                           be made available on the web 90 days from today's date. Transcript may be viewed at the
                           court public terminal or purchased through the Court Reporter/Transcriber before the
                           deadline for Release of Transcript Restriction. After that date it may be obtained through
                           PACER. Redaction Request due 4/19/2021. Redacted Transcript Deadline set for
                           4/29/2021. Release of Transcript Restriction set for 6/28/2021. Notice of Intent to Redact
                           due by 4/5/2021 (tab) (Main Document 327 replaced on 3/30/2021 with typographical
                           errors, corrected) (tab). (Entered: 03/29/2021)
  03/29/2021           328 ORDER - 1) On the review of the Court's decision on the motions to dismiss filed by
                           defendants (Dkt. Nos. 210 and 211), the stay of discovery previously issued by the Court
                           (Dkt. No. 314) is lifted. 2) As the Court has lifted the stay of discovery, plaintiff's motion
                           appealing the Court's decision staying discovery (Dkt. No. 315) is withdrawn at plaintiff's
                           request. 3) Plaintiff's letter motions dated March 31, 2020 (Dkt. No. 189) and June 3,
                           2020 (Dkt. No. 204), are dismissed without prejudice. 4) Plaintiff's motion seeking Hague
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                              discovery shall be filed by April 2, 2021. A response shall be filed by April 23, 2021. 5)
                              on review of the Court's decision on the motions to dismiss (Dkt. No. 322), plaintiff's
                              motion for the Issuance of Letters Rogatory (Dkt. No. 246) is dismissed without
                              prejudice. 6) Plaintiff's motion seeking the Issuance of Letter's Rogatory shall be filed by
                              April 2, 2021. A response shall be filed by April 23, 2021. 7) On review of the Court's
                              decision on the motions to dismiss (Dkt. No. 322), plaintiff's motion to compel nonparty
                              Everytown for Gun Safety to respond to a subpoena (Dkt. No. 251) is dismissed without
                              prejudice. 8) Plaintiff's motion to compel nonparty Everytown for Gun Safety to comply
                              with a subpoena shall be filed by April 23, 2021. A response to that motion shall be filed
                              by May 23, 2021. Plaintiff may file a reply by June 1, 2021. Signed by Magistrate Judge
                              Christian F. Hummel on 3/29/2021. (jel, ) (Entered: 03/29/2021)
  03/29/2021           329 TRANSCRIPT REQUEST by Maria T. Vullo for proceedings held on March 26, 2021
                           before Judge - Magistrate Judge Christian F. Hummel.. (Attachments: # 1 Transcript
                           Order Form AO 435)(Greenberger, Debra) (Entered: 03/29/2021)
  03/30/2021           330 COURT NOTICE SETTING BRIEFING SCHEDULE FOR DEFT VULLO's Motion to
                           Stay Discovery pending the Appeal. As was directed during the 3/26/2021 court
                           conference, Defendant Vullo's Motion to be filed by 4/9/2021; Response to Motion due
                           by 5/7/2021. (tab) (Entered: 03/30/2021)
  04/02/2021           331 MOTION for Issuance of Letters Rogatory Renewed Motion for Issuance of Letters
                           Rogatory filed by National Rifle Association of America. Motion returnable before Judge
                           Christian Hummel Response to Motion due by 4/23/2021 (Attachments: # 1
                           Memorandum of Law, # 2 Declaration of Sarah B. Rogers, # 3 Exhibit(s) A, # 4
                           Exhibit(s) B, # 5 Exhibit(s) C, # 6 Exhibit(s) D, # 7 Exhibit(s) E, # 8 Exhibit(s) F, # 9
                           Exhibit(s) G, # 10 Exhibit(s) H, # 11 Exhibit(s) I, # 12 Exhibit(s) J, # 13 Exhibit(s) K, #
                           14 Exhibit(s) L, # 15 Exhibit(s) M, # 16 Exhibit(s) N, # 17 Proposed Order/Judgment)
                           (Rogers, Sarah) (Entered: 04/03/2021)
  04/05/2021           332 TRANSCRIPT REQUEST by National Rifle Association of America for proceedings
                           held on 3/26/2021 before Judge Christian F. Hummel.. (Attachments: # 1 Exhibit(s)
                           FORM AO 435)(Martin, Michelle) (Entered: 04/05/2021)
  04/05/2021           333 TRANSCRIPT REQUEST by Everytown for Gun Safety for proceedings held on March
                           26, 2021 before Judge Christian F. Hummel.. (Attachments: # 1 Exhibit(s) FORM AO
                           435)(Polkes, Jonathan) (Entered: 04/05/2021)



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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

NATIONAL RIFLE ASSOCIATION OF AMERICA,

                                     Plaintiff,
          -against-                                                     1:18-CV-0566

ANDREW CUOMO, both individually and
in his official capacity; MARIA T. VULLO,
both individually and in her official
capacity; and THE NEW YORK STATE
DEPARTMENT OF FINANCIAL
SERVICES,
                                 Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                     DECISION and ORDER

I.        INTRODUCTION

          New York Governor Andrew Cuomo (“Gov. Cuomo”), the New York State

Department of Financial Services (“DFS”), and Linda A. Lacewell, the current DFS

superintendent (“Supt. Lacewell”), move to dismiss claims in the Second Amended

Complaint (“SAC”). See Dkt. No. 210. Former DFS Superintendent Maria T. Vullo (“Ms.

Vullo") appeals Magistrate Judge Hummel’s decision granting Plaintiff’s motion to amend

the Complaint, and moves to dismiss the claims against her in the SAC. See Dkt. No. 211.

Plaintiff National Rifle Association (“NRA” or “Plaintiff”) opposes these motions.

II.       PROCEDURAL BACKGROUND

          The Court assumes the parties’ familiarity with the procedural history of this case and

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the underlying claims. It will not restate it here other than as necessary to review the

pending motions.

III.   DISCUSSION

       a. Ms. Vullo’s Motion

                                      Rule 72 Objection

       In moving for leave to amend, Plaintiff asserted to Judge Hummel that it sought to

amend to replead its selective enforcement claims, substitute Supt. Lacewell for Ms. Vullo in

its claim for injunctive relief, and make minor, nonsubstantive changes to the pleading. Dkt.

No. 202 at 4-5. Judge Hummel found that Plaintiff did not exercise due diligence in moving

to amend. See Dkt. No. 202. But, because mere delay absent a showing of bad faith or

undue prejudice does not provide a basis to deny the right to amend, he then preceded to

addressed these issues. Id. He declined to find that the motion to amend was brought in

bad faith, and determined that Ms. Vullo had not established that she would be subjected to

undo prejudice such to warrant outright denial of the motion to amend. Id. He then

preceded to determine whether the proposed repleaded selective enforcement claim

against Ms. Vullo was futile, using a the Rule 12(b)(6) standard and the Court’s prior

decision on the selective enforcement claims to assess its plausibility. Id. He determined

that the proposed pleading plausibly alleged that Ms. Vullo had knowledge of similarly

situated comparators, either directly or through a “see-no-evil” policy, and that she declined

to prosecute these comparators. Id. Thus, Judge Hummel granted the NRA’s motion to




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replead a selective enforcement claim against Ms. Vullo in her individual capacity. Id. 1 He

also granted Plaintiff’s motion to the extent it substituted Supt. Lacewell for Ms. Vullo in

Plaintiff’s request for an injunction. Id. He denied leave to amend to the extent Plaintiff

sought to replead a selective enforcement claim against Gov. Cuomo, or to newly plead

such a claim against DFS. Id.

       Ms. Vullo challenges Judge Hummel’s determinations relative to whether the NRA

acted in bad faith in seeking to amend, and whether Ms. Vullo will be unduly prejudiced by

amendment. Whether applying the clearly erroneous or contrary to law standard of review

set out in Rule 72(a), or the de novo standard of review set out in Rule 72(b), see Sokol

Holdings, Inc. v. BMB Munai, Inc., No. 05 CV 3749 KMW DCF, 2009 WL 3467756, at *3-*4

(S.D.N.Y. Oct. 28, 2009), 2 the Court finds no error in Judge Hummel’s assessment of bad

faith and undue prejudice. Ms. Vullo does not challenge under Rule 72 Judge Hummel’s

determination that the selective enforcement claim against her was non-frivolous, but rather

challenges the legal viability of that claim under Rule 12(b)(6). Because the Court finds, as

addressed below, that Ms. Vullo is entitled to immunity on the selective enforcement claim

in the SAC, it need not address her arguments directed to the plausibility of the factual

allegations supporting this claim.



         1
           Count Three of the SAC brought against Ms. Vullo in her individual capacity asserts a violation of
 the Equal Protection Clause of the Fourteenth Amendment of the United States Constitution pursuant to 42
 U.S.C. § 1983, and a violation of Article 1, Section 11 of the New York Constitution. This claim is subject to
 the same substantive analysis under federal and state law, see Selevan v. New York Thruway Auth., 584
 F.3d 82, 88 (2d Cir. 2009), and is referred to as Plaintiff’s selective enforcement claim.
         2
          (“[S]ome uncertainty and arguable differences of opinion persist in this Circuit as to the proper
 standard of review of a Magistrate Judge's ruling denying a motion to amend.” In light of this uncertainty,
 “[s]ome courts have . . . considered a denial of a motion to amend to be a dispositive decision, subject to a de
 novo standard of review.”)(internal quotation marks and citations omitted)

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                                          Rule 12(b)(6) Motion

       On the Rule 12(b)(6) motion, Ms. Vullo argues that she is entitled to absolute and

qualified immunity on the selective enforcement, and qualified immunity on the First

Amendment claim. The Court starts with the arguments addressed to the selective

enforcement claim.

                                    Selective Enforcement Claim

       In the selective enforcement claim, Plaintiff asserts that DFS received information

from the New York County District Attorney's Office that the NRA was offering an affinity

insurance program known as Carry Guard that was illegal under New York Insurance Law

(“Insurance Law”).3 See SAC, Dkt. No. 203, ¶¶ 34-35. The District Attorney's Office had

received its information from an organization, Everytown for Gun Safety, which has an

explicit political mission to oppose the NRA. Id. ¶ 34. The DFS investigation into the Carry

Guard insurance program initially focused on insurance companies Chubb Group Holdings,

Inc. and Illinois Union (together, “Chubb”) and Lockton Affinity, LLC ("Lockton") for

underwriting and administering this program. The DFS investigation also looked into Lloyd's

of London’s ("Lloyd's") involvement in the NRA’s affinity insurance programs. See Plt. Mem.

L. in Opp., Dkt. 220, at 12 (“Lockton brokered and adm inistered, and Lloyd's underwrote,

the vast majority of non-Carry Guard policies offered to NRA members and targeted by

Defendants.”). "Within weeks of commencing its investigation, DFS began to target

insurance programs that had nothing to do with firearms, and instead provided coverage


         3
           The Carry Guard program provided, among other policy coverages, (1) liability insurance to gun
 owners for acts of intentional wrongdoing, and (2) legal services insurance for any costs and expenses
 incurred in connection with a criminal proceeding resulting from acts of self-defense with a legally possessed
 firearm, in violation of New York Insurance Law.

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similar or identical to coverage endorsed by other New York affinity organizations.” SAC ¶

36. Plaintiff asserts that “Defendants’ goal, from the outset, was to disrupt any and all

business arrangements between the NRA and any insurance administrator, broker, or

underwriter—indeed, any financial institution.” Id.

       Chubb, Lockton, and Lloyd’s entered into consent orders with DFS in which they

agreed that some of the NRA insurance programs they were involved in violated New York

Insurance Laws, agreed not to provide these and other insurance programs to the NRA,

and agreed to pay substantial civil monetary penalties. See SAC ¶ 62 and Ex. E (Chubb

Consent Order); id. ¶¶ 54-55 and Ex. D (Lockton Consent Order); id. ¶ 74 and Ex. I (Lloyd’s

Consent Order); see also id. ¶ 78.4 Ms. Vullo signed the consent orders on behalf of DFS.

Plaintiff contends that Chubb, Lockton, and Lloyd’s “were coerced to terminate their

business arrangements with the NRA and its members—including arrangements having

nothing to do with the allegedly unlawful conduct cited by DFS.” Id. ¶ 21; see also id. ¶ 93;5

¶ 102.6 Plaintiff asserts that “DFS has not announced—even to this day—similar inquiries

concerning any” other membership organizations “although their affinity programs involve

         4
          ("On January 31, 2019, almost three months after this Court had [originally] sustained the NRA's
 selective-enforcement claims and permitted discovery regarding them, DFS entered into a Supplemental
 Consent Order with Lockton that purported to admonish violations of the same statutes by Lockton's
 non-NRA clients, yet did not identify the clients by name or require Lockton to cease doing business with
 them.")(citing Ex. J, Lockton Supplemental Consent Order).
         5
          (“Defendants’ concerted efforts to stifle the NRA’s freedom of speech caused financial institutions
 doing business with the NRA to end their business relationships, or explore such action, due to fear of
 monetary sanctions or expensive public investigations. For example, Defendants coerced and caused
 Lockton, Chubb, and Lloyd’s to cease their participation in NRA endorsed insurance programs, regardless of
 whether the insurance programs met all legal qualifications under New York’s Insurance Law.”)
         6
          (“Defendants’ actions have concretely harmed the NRA by causing financial institutions doing
 business with the NRA to end their business relationships, or explore such action, due to fear of monetary
 sanctions or expensive public investigations. For example, Defendants coerced and caused Lockton, Chubb,
 and Lloyd’s to cease their participation in NRA endorsed insurance programs in New York and elsewhere,
 regardless of whether the insurance programs met all legal qualifications under New York’s Insurance Law.”)

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most, if not all, of the practices and features referenced by DFS in its investigation of the

NRA’s affinity programs.” Id. ¶ 37. Plaintiff contends that “Defendants selectively targeted

the NRA because of the NRA’s constitutionally protected legislative and grassroots

advocacy activities. Defendants specifically intend to undermine the NRA’s ability to

conduct its affairs in New York—and to advance Cuomo’s anti-NRA political agenda.” Id.

       Plaintiff asserts that based on the NRA’s “political views and speech relating to the

Second Amendment,” SAC ¶ 119, Ms. Vullo “knowingly and willfully violated the NRA's

equal protection rights by seeking to selectively enforce certain provisions of the Insurance

Law against Lockton's affinity-insurance programs for the NRA. Meanwhile, other

affinity-insurance programs that were identically (or at least similarly) marketed by Lockton,

but not endorsed by ‘gun promotion' organizations, have not been targeted by DFS's

investigation." Id. ¶ 109. In this regard, the NRA asserts:

       58. Several of the purported “violations” assessed pursuant to the Lockton
       Consent Order concern programs commonly engaged in by numerous
       additional affinity associations that do not publicly advocate for Second
       Amendment rights and, therefore, are not targets of Defendants’
       unconstitutional conduct. Several such organizations are clients of
       Lockton—yet the Consent Order does not compel Lockton to discontinue its
       purportedly unlawful conduct with respect to these clients.

       59. For example:

              • DFS claims that Lockton Affinity violated Insurance Law § 2122(a)(1)
              by referring to the insurer’s AM Best rating. Yet, at the time this lawsuit
              was filed, Lockton Affinity’s affinity program for the American
              Optometric Association through AOAExcel (“AOAExcel”) touted the
              “backing of a carrier that is rated A+ (Superior) by A.M. Best. Similarly,
              Lockton Affinity currently advertises that coverage for the affinity
              programs designed for the Veterans of Foreign Wars (“VFW”) and
              Moose International Inc. (“Moose”) was through companies “rated
              ‘Excellent’ or higher by A.M. Best.”

              • DFS claims that Lockton Affinity violated Insurance Law § 2324(a) by

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              giving or offering to give no cost insurance to NRA members in good
              standing. Yet, Lockton Affinity currently made that same offer to
              members of both the Professional Photographers of America (“PPA”)
              and the VFW.

              • DFS claims that Lockton Affinity violated Insurance Law § 2116 by
              compensating the NRA based on actual premiums collected. Yet,
              Lockton Affinity paid AOAExcel, Moose, the VFW, the PPA, and
              dozens of other clients in the same or similar manner.

Id. ¶¶ 58-59 (emphasis is original, footnotes omitted). As is apparent, the Insurance Law

violations identified in paragraph 59 were insurance programs identified in the Lockton

Consent Order that had nothing to do with firearms (which the Court refers to as the

additional provisions of the Lockton Consent Order), and which purportedly similarly existed

in other entities’ affinity insurance programs. Plaintiff asserts that “[e]ven if such conduct

does violate insurance law, DFS's selective enforcement of such offenses as to

NRA-endorsed policies—but not as to other policies marketed by Lockton in an identical

fashion—constitutes impermissible viewpoint discrimination and a denial of equal protection

under the law.” Id. ¶ 60.

       To demonstrate Ms. Vullo’s knowledge of comparator affinity programs, Plaintiff

alleges that Vullo had conversations and meetings with senior officials of Lloyd’s in the

spring of 2018 during which she learned of comparator programs. See Id. ¶ 110. Plaintiff

asserts that during these conversations and meetings, Ms. Vullo expressed an intention not

to prosecute violations provided Lloyd’s stopped providing insurance to the NRA and other




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gun promotion organizations. See id. ¶ 21;7 ¶ 67;8 ¶ 69.9

       As an alternative to Ms. Vullo’s direct knowledge of comparators, the SAC asserts

that “Vullo should have known of similarly situated individuals at the time DFS launched its

investigation and any purported lack of knowledge was due to a ‘see-no-evil’ policy of

enforcement, which Vullo and DFS abandoned solely to further their vendetta against the

NRA.” SAC ¶ 111. “The ‘see-no-evil’ enforcement policy was confirmed by DFS’s

continued ignorance toward the violations of the similarly situated comparators.” Id. The

NRA further alleges that “[b]y virtue of the position held by Vullo at the time DFS launched

its investigation, Vullo knew the actions taken by DFS against NRA affinity insurance

programs were unprecedented. No other similarly situated programs have faced even close

to the same treatment for analogous violations. However, Vullo and DFS failed to inquire

about whether there were any other similarly situated affinity programs when the

investigation was launched.” Id. ¶ 112.

                                             Absolute Immunity



         7
            (“During the meetings [Vullo] discussed an array of technical regulatory infractions plaguing the
 affinity-insurance marketplace. Vullo made it clear, however, that DFS was less interested in pursuing the
 infractions of which she spoke, so long as Lloyd’s ceased providing insurance to gun groups, especially the
 NRA.”)
         8
          ("In the aftermath of the Parkland tragedy, Vullo met with senior executives of Lloyd's and [Lloyd's
 United States affiliate, Lloyd's America, Inc. (LAI)], and presented Defendants' views on gun control and their
 desire to leverage their powers to combat the availability of firearms, including specifically by weakening the
 NRA.")
         9
           (“During her surreptitiously held meetings with Lloyd's executives that commenced in February 2018,
 Vullo acknowledged the widespread regulatory issues in the excess-line marketplace. Vullo and DFS made
 clear that Lloyd's could avoid liability for infractions relating to other, similarly situated insurance policies, so
 long as it aided DFS's campaign against gun groups. Against the specter of this bold abuse of her position,
 Lloyd's agreed that it would instruct its syndicates to cease underwriting firearm-related policies and would
 scale back its NRA-related business; in exchange, DFS would focus its forthcoming affinity-insurance
 enforcement action solely on those syndicates which served the NRA, and ignore other syndicates writing
 similar policies.”)

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       “Courts have recognized two forms of immunity: absolute and qualified.” DiBlasio v.

Novello, 344 F.3d 292, 296 (2d Cir. 2003)(citing Buckley v. Fitzsimmons, 509 U.S. 259, 268

(1993)). “Absolute immunity gives ‘public officials entrusted with sensitive tasks a protected

area of discretion within which to carry out their responsibilities.’” Mangiafico v. Blumenthal,

471 F.3d 391, 394 (2d Cir. 2006)(quoting Barr v. Abrams, 810 F.2d 358, 361 (2d Cir.1987)).

“‘The presumption is that qualified rather than absolute immunity is sufficient to protect

government officials in the exercise of their duties,’ and hence courts are generally ‘quite

sparing’ in their recognition of absolute immunity.” DiBlasio, 344 F.3d at 296 (quoting Burns

v. Reed, 500 U.S. 478, 486–87 (1991) (citations om itted)). However, “there are some

officials whose special functions require a full exemption from liability.” Butz v. Economou,

438 U.S. 478, 508 (1978). “The Supreme Court has accorded absolute immunity to a

limited range of government officials whose duties are deemed, as a matter of public policy,

to require that protection to enable them to function without fear of undue interference or

harassment.” Mangiafico, 471 F.3d at 394. “Absolute immunity is accorded to judges and

prosecutors functioning in their official capacities and, under certain circumstances, is also

extended to officials of government agencies ‘performing certain functions analogous to

those of a prosecutor’ or a judge.” DiBlasio, 344 F.3d at 296-97 (quoting Butz, 438 U.S. at

515). “In considering whether the procedures used by [an] agency are sufficiently similar to

judicial process to warrant a grant of absolute immunity,” the Court employs a functional

approach. Id. at 297 (citing Cleavinger v. Saxner, 474 U.S. 193, 201–02 (1985), in turn

citing Harlow v. Fitzgerald, 457 U.S. 800, 810 (1982)). Under the f unctional approach, the

Court looks “to whether the actions taken by the official are ‘functionally comparable’ to that



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of a judge or a prosecutor.” Id. (quoting Butz, 438 U.S. at 513, and citing Imbler v.

Pachtman, 424 U.S. 409, 423 n. 20, (1976); Young v. Selsky, 41 F.3d 47, 51 (2d Cir.1994)).

“Government actors who seek absolute immunity ‘bear the burden of showing that public

policy requires an exemption of that scope.’” Id. (quoting Butz, 438 U.S. at 506). “However,

once a court determines that an official was functioning in a core judicial or prosecutorial

capacity, absolute immunity applies ‘however erroneous the act may have been, and

however injurious in its consequences it may have proved to the plaintiff.’” Id. (quoting

Cleavinger, 474 U.S. at 199–200, 106 S.Ct. 496 (internal q uotations and citations omitted)).

Further, because the focus of absolute immunity is on the function performed, once

absolute immunity is established the Court does not consider allegations of ill intent or

discriminatory enforcement. See Dory v. Ryan, 25 F.3d 81, 83 (2d Cir. 1994)(“[The

Supreme Court decision in Buckley] indicates that absolute immunity protects a prosecutor

from § 1983 liability for virtually all acts, regardless of motivation, associated with his

function as an advocate. This would even include, for purposes of this case, allegedly

conspiring to present false evidence at a criminal trial.”); see also Verbeek v. Teller, 158 F.

Supp. 2d 267, 282 (E.D.N.Y. 2001) (granting motion to dismiss claims against prosecutorial

official because conspiracy allegation does not “negate her entitlement to absolute

immunity”)(citing Dory, 25 F.3d at 83). New York’s state law absolute immunity is

essentially the same as federal absolute immunity. See Arteaga v. State, 72 N.Y.2d 212,

216 (N.Y. 1988).10

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             In Arteaga, the New York Court of Appeals wrote:

        The absolute immunity for quasi-judicial discretionary actions is founded on public policy and
        is generally said to reflect the value judgment that the public interest in having officials free to
                                                                                                       (continued...)

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       As a general principle, a government official “is entitled to absolute immunity when

functioning as an advocate of the state in a way that is intimately associated with the judicial

process.” Mangiafico, 471 F.3d at 396 (citing Imbler v. Pachtman, 424 U.S. 409, 430

(1976)). By contrast, a government official “is entitled only to qualified immunity when

functioning in an administrative or investigative capacity.” Id. (citing Mitchell v. Forsyth, 472

U.S. 511, 520–21 (1985)(no absolute immunity for the Attorney General's exercise of his

national security functions); Buckley, 509 U.S. at 274–76 (1993) (no absolute im munity

when a prosecutor acts in administrative capacity); Burns, 500 U.S. at 492–95 (no absolute

immunity for a prosecutor offering legal advice to the police regarding interrogation

practices)).

       The NRA’s selective enforcement claim is premised on two actions: First, Ms. Vullo’s

decision to enter into the Lockton, Lloyd’s and Chubb Consent Orders—and their precise

terms. The NRA’s purported comparators are based on violations agreed to in those

Consent Orders. As Ms. Vullo asserts, were it not for those Consent Orders the NRA could


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            (...continued)
            exercise their discretion unhampered by the fear of retaliatory lawsuits outweighs the benefits
            to be had from imposing liability. Not all discretionary actions, however, are accorded
            absolute immunity.

            Whether an action receives only qualified immunity [under New York law], shielding the
            government except when there is bad faith or the action taken is without a reasonable basis,
            or absolute immunity, where reasonableness or bad faith is irrelevant, requires an analysis of
            the functions and duties of the particular governmental official or employee whose conduct is
            in issue. The question depends not so much on the importance of the actor's position or its
            title as on the scope of the delegated discretion and whether the position entails making
            decisions of a judicial nature--i.e., decisions requiring the application of governing rules to
            particular facts, an exercise of reasoned judgment which could typically produce different
            acceptable results.

 Arteaga v. State, 72 N.Y.2d at 216 (citations and quotations marks omitted).




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not allege selective enforcement based on Ms. Vullo’s conduct. Second, Ms. Vullo’s

alleged decision not to bring charges against the purported comparators. For reasons

discussed below, these are both prosecutorial actions premised on enforcement decisions

intimately associated with the judicial process.

       There is not merit to Plaintiff’s contention that absolute immunity does not apply

because Ms. Vullo’s relevant conduct was investigative in nature. As the NRA states in its

brief, “the date that DFS opened its investigation into the NRA’s insurance programs is

irrelevant. The relevant date or dates is the date DFS took action ag ainst the NRA, or its

business partners.” Dkt. 220 at 15. As explained here, the NRA’s selective enforcement

claim is premised on two enforcement decisions. Plaintiff’s argument that “[t]he NRA also

alleges that Vullo violated its Equal Protection rights by selectively targeting the NRA in

DFS’s investigation of certain affinity programs, but failing to make similar inquiries into

other similar membership affinity programs,” id. at 18 (emphasis in original), does not

remove the selective enforcement claim and Ms. Vullo’s enforcement decisions from

absolute immunity consideration. A selective investigation claim is not asserted in the SAC,

see SAC ¶ 109 (specifically alleging that Ms. Vullo violated the NRA's equal protection

rights by selectively enforcing certain provisions of the Insurance Law against Lockton's

affinity insurance programs for the NRA), and the NRA cannot amend its complaint for the

fourth time through a memorandum of law.11 Moreover, there is no merit to Plaintiff’s


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           The facts that the NRA cites to support its selective investigation claim, paragraphs 36 and 37 of
 the SAC, reference “Defendants” and “DFS’s” conduct, focus, and goals, but do not mention Ms. Vullo.
 There is no merit to Plaintiff’s argument that Ms. Vullo has supervisory liability under the standard announced
 in Colon v. Coughlin, 58 F.3d 865 (2d Cir. 1995) for DFS’s conduct taken “on her watch.” See Dkt. No. 220 at
 9-11 (arguing for supervisory liability under Colon); see also id. at 9 (“Vullo cannot deny knowledge of, or
 escape liability for, actions undertaken by DFS on her watch.”). “[T]he Second Circuit recently held that the
                                                                                                      (continued...)

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argument that prosecutorial immunity only attaches to “the initiation of a prosecution and the

presentation of the government’s case.” Prosecutorial immunity protects conduct that

occurs both before and during the judicial phase. See Burns, 500 U.S. at 492 (immunity

protects pre-indictment search warrant application during the investigative stage); Butz, 438

U.S. at 516 (immunity encompasses “decision to initiate” agency adjudication); Mangiafico,

471 F.3d at 396 (immunity encompasses “actions preliminary to the initiation of a

prosecution”). The decision to reach a consented-to resolution - analog ous to securing a

plea bargain in a criminal proceeding - rather than "commit the state's resources, reputation,

and prestige to litigation,” is a prosecutorial decision. Mangiafico, 471 F.3d 396; see

Knowlton v. Shaw, 704 F.3d 1, 7–8 (1st Cir. 2013) (in an insurance enf orcement

proceeding, entering into consent decrees is preparatory to “the initiation of the enforcement

proceeding—a proceeding that would have surely followed had no consent agreement been

executed” and not “investigative”); see also Taylor v. Kavanagh, 640 F.2d 450, 453 (2d

Cir.1981)(a prosecutor is entitled to absolute immunity for negotiating a plea bargain in a

criminal case); Powers v. Coe, 728 F.2d 97, 103–04 (2d Cir. 1984)(“The alleged breach of

the agreement not to prosecute, while not technically a plea bargain which would render the

prosecutor's immunity absolute under Taylor v. Kavanagh, 640 F.2d at 453, is so closely

analogous to a plea bargain that we think the same principle of absolute immunity apply


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           (...continued)
 Colon test was abrogated by the Supreme Court's decision in Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct.
 1937, 173 L. Ed.2d 868 (2009).” Jeanty v. City of Utica, No. 6:16-CV-00966 (BKS/TWD), 2021 WL 149051, at
 *33 (N.D.N.Y. Jan. 14, 2021)(citing Tangreti v. Bachmann, 983 F.3d 609, 618 (2d Cir. 2020)). In Tangreti,
 the Second Circuit “clarified that ‘there is no special rule for supervisory liability’ and explained that ‘a plaintiff
 must plead and prove ‘that each Government-official defendant, through the official's own individual actions,
 has violated the Constitution.’” Doe v. Zucker, No. 1:20-CV-840 (BKS/CFH), 2021 WL 619465, at *28
 (N.D.N.Y. Feb. 17, 2021)(quoting Tangreti, 983 F.3d at 612, in turn quoting Iqbal, 556 U.S. at 676). Thus,
 Plaintiff has not adequately pled a “selective investigation” claim against Ms. Vullo.

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under the functional analysis of Kavanagh.”). As explained below, so too is the decision not

to prosecute a violation of the Insurance Law.

       To determine whether the process in which the government official acts “share

enough of the characteristics of the judicial process, and whether the official[] [herself was]

functioning in a manner sufficiently analogous to a judge or prosecutor,” the Court assesses

the six non-exhaustive factors outlined in Butz that are characteristic of the judicial process.

DiBlasio, 344 F.3d at 344 F.3d 297-98 (citing Butz, 438 U.S. at 513; Cleavinger, 474 U.S. at

202 (interior quotation marks and brackets omitted). These factors are: (a) the need to

assure that the individual can perform [her] functions without harassment or intimidation; (b)

the presence of safeguards that reduce the need for private damages actions as a means

of controlling unconstitutional conduct; (c) insulation from political influence; (d) the

importance of precedent; (e) the adversary nature of the process; and (f) the correctability of

error on appeal. Butz, 438 U.S. at at 512.

       As Superintendent of DFS, Ms. Vullo was charged with the enforcement of the New

York Financial Services Law, Banking Law, and Insurance Law. The DFS Superintendent,

“in the enforcement of relevant statutes and regulations, may undertake an investigation”

into activities that may constitute violations of, inter alia, the Financial Services Law, N.Y.

Fin. Servs. Law § 404, and/or the Insurance Law, N.Y. Ins. Law. § 308. If a violation is

found, the Superintendent is authorized to bring a statement of charges and initiate a

hearing. N.Y. Ins. Law. § 2405(a); N.Y. Fin. Servs. Law §§ 305, 306. The Superintendent

presents evidence of a violation of any of these laws at an administrative hearing in which

the alleged violator is given an opportunity to be heard. 23 NYCRR Part 2; N.Y. Fin. Servs.



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Law § 305. Where the hearing officer finds that a violation has occurred, the

Superintendent may impose civil penalties and other remedies. See N.Y. Ins. Law §§

2102(g), 2110, 2117(g), 2127; N.Y. Fin. Servs. Law § 408. The Superintendent’s function is

akin to that of a prosecutor: bringing charges, attempting to negotiate resolutions (i.e. the

Consent Orders), and preparing for trial (DFS hearings) before an adjudicator if a

negotiated resolution is not reached.

       Absolute immunity protects officials “from personal liability for the performance of

certain discretionary acts. Such immunity extends to prosecutors [and] to executive officers

initiating administrative proceedings.” Spear v. Town of W. Hartford, 954 F.2d 63, 66 (2d

Cir. 1992)(citing Imbler v. Pachtman, 424 U.S. 409, 430–31 (1976) and Butz, 438 U.S. at

515–17); see Butz, 438 U.S. at 516 (absolute immunity encompasses “decision to initiate or

continue a proceeding subject to agency adjudication”); Mangiafico, 471 F.3d at 395–96

(“[A]gency officials who perform functions analogous to those of a prosecutor are entitled to

absolute immunity from such liability for their participation in the decision to initiate or to

continue agency proceedings.”)(citing Butz, 438 U.S. at 512–13); Douglas v. New York

State Adirondack Park Agency, 895 F. Supp. 2d 321, 340 (N.D.N.Y. 2012)(absolute

immunity for park agency officials’ initiation of an agency enforcement proceeding).

       The Supreme Court, in extending prosecutorial immunity to the executive
       branch, explained that

              agency officials performing certain functions analogous to those
              of a prosecutor should be able to claim absolute immunity with
              respect to such acts. The decision to initiate administrative
              proceedings against an individual or corporation is very much
              like the prosecutor's decision to initiate or move forward with a
              criminal prosecution.... The discretion which executive officials
              exercise with respect to the initiation of administrative


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              proceedings might be distorted if their immunity from damages
              arising from that decision was less than complete.

Spear, 954 F.2d at 66 (quoting Butz, 438 U.S. at 515). The targets of a DFS enforcement

action—banks and insurance companies—are well resourced and, as Ms. Vullo argues,

inclined to bring suit. Without the protection absolute immunity affords, a DFS

superintendent’s “discretion” in initiating “proceedings might be distorted” due to litigation for

purposes of “harassment or intimidation.” Butz, 438 U.S. at 515; see id. at 510–11 (The

“public prosecutor, in deciding whether a particular prosecution shall be instituted or

followed up,” should not be “biased with the fear of being harassed by a vicious suit for

acting according to their consciences (the danger of which might easily be insinuated where

powerful men are warmly engaged in a cause and thoroughly prepossessed of the justice of

the side which they espouse).”). The first Butz factor weighs in favor of absolute immunity

with regard to Ms. Vullo’s decision to initiate enforcement proceedings that resulted in the

Consent Orders in issue on the selective enforcement claim.

       The Second Circuit has also “consistently afforded absolute immunity to a

government attorney's decision whether or not to initiate litigation on behalf of the state.”

Mangiafico, 471 F.3d at 396; see Ying Jing Gan v. City of New York, 996 F.2d 522, 530 (2d

Cir. 1993) (“A prosecutor thus has absolute immunity in connection with the decision

whether or not to commence a prosecution.”). “[A]s a matter of logic, absolute immunity

must . . . protect the prosecutor from damages suits based on the decision not to

prosecute.” Schloss v. Bouse, 876 F.2d 287, 290 (2d Cir. 1989) (emphasis in original)(citing

Dacey v. Dorsey, 568 F.2d 275, 278 (2d Cir. 1978)(United States Attorney who chose not to

seek injunction under 42 U.S.C. § 1986 to restrain alleged civil rights violation was


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absolutely immune from damages suit by victim), cert. denied, 436 U.S. 906, 98 S. Ct.

2238, 56 L. Ed.2d 405 (1978)). The Second Circuit explained in Schloss:

       Though not all of the concerns discussed in Imbler indicate a need for
       absolute immunity with respect to a decision not to prosecute, many of the
       same factors may come into play. For example, the decision not to prosecute
       could expose the prosecutor to a suit by the complainant asserting that the
       complainant was denied the equal protection of the law. Further, absolute
       protection from a damages suit for not prosecuting is warranted simply
       because the decision with respect to any given charge is an either-or
       proposition. A decision to prosecute logically eliminates the nonprosecution
       option, and vice versa. If the prosecutor had absolute immunity only for the
       decision to prosecute and not for a decision not to prosecute, his judgment
       could be influenced in favor of a prosecution that sound and impersonal
       judgment would eschew. Thus, the contours of absolute prosecutorial
       immunity should be drawn to avoid skewing the prosecutor's judgment in
       either direction, both to eliminate the appearance that personal considerations
       may be a factor, see, e.g., Imbler v. Pachtman, 424 U.S. at 424–25, 96 S. Ct.
       at 992 (“[t]he public trust of the prosecutor's office would suffer if he were
       constrained in making every decision by the consequences in terms of his own
       potential liability in a suit for damages”), and to avoid establishing a doctrine
       that would “discourage prosecutors from dismissing meritless actions before
       trial, since only by pursuing ... charges would the prosecutor be fully immune,”
       Haynesworth v. Miller, 820 F.2d 1245, 1270 n. 200 (D.C. Cir.1987).

Id.

       These same considerations apply to Ms. Vullo’s decision not to prosecute the

Insurance Law violations identified in paragraph 59 of the SAC of which she was

purportedly aware. Without the protection absolute immunity affords, a DFS

Superintendent’s discretion in declining to initiate proceedings might be distorted due to fear

of litigation, such as is the case here. Further, without absolute immunity, the

Superintendent is deprived of discretion to determine whether to invest the State’s

resources in the prosecution of a particular matter no matter how inconsequential the matter

may be in the grander scheme of enforcing the Insurance Law in New York, and no matter



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whether there is sufficient merit to a particular matter. As the SAC indicates, DFS learned

of the additional violations in the Lockton Consent Order only after investigating whether

Lockton, Chubb, and Lloyd’s were involved in offering the Carry Guard program involving

serious violations of the Insurance Law. Without absolute immunity protecting the

Superintendent’s discretion as to which violations to prosecute, the Superintendent would

be placed in the position of having to prosecute every ostensible violation so as to be

afforded immunity. Because absolute immunity looks at the function in question and not the

motive or intent of the actor in performing that function, the first Butz factor also weighs in

favor of absolute immunity for Ms. Vullo’s decision not to institute enforcement proceedings

against the various entities in New York that she was purportedly aware.

       As to the second Butz factor, the NRA argues that “[a]lthough there are some

safeguards to protect parties from unconstitutional conduct by the DFS Superintendent, the

efficacy of those safeguards is diminished by other provisions of the Financial Services

Law. Specifically, although a party is entitled to notice and a hearing, the

‘independence’ of any hearing is severely undermined because it is held before the

Superintendent or an individual directly designated by the Superintendent. Additionally, the

hearing officer only has the power to suggest a course of action, while the Superintendent

has the final authority to reject the recommendation and issue whatever order she desires.”

Dkt. No. 220, at 20 (citing N.Y. Fin. Serv. Law § 305). From this, the NRA argues that

“Vullo has virtually unfettered ability to act in an unconstitutional manner without appropriate

safeguards.” Id. (citing DiBlasio, 344 F.3d 299).

       In DiBlasio, in addressing the second Butz factor the Second Circuit held that



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although some procedures of New York Public Health Law § 230 “provide some protection

to physicians subjected to summary suspension proceedings, the efficacy of those

procedures are seriously diminished by other features of § 230.” DiBlasio, 344 F.3d at

298–99. After reviewing these other features of § 230, the Circuit concluded that the

Department of Health Commissioner “has virtually unfettered authority to determine whether

a physician's license should be summarily suspended pending resolution of misconduct

charges—a process that, in this case, took eight months. The absence of meaningful

safeguards against arbitrary executive action in a summary suspension proceeding weigh

against extending absolute immunity” to the Commissioner and a department fraud

investigator who recommended the plaintiff’s suspension. DiBlasio, 344 F.3d at 299. In

making this decision, the Circuit stated that “we find that § 230 inadequately protects

physicians from wrongful deprivation of their professional licenses, the second Butz factor.”

Id. at 298.

       The procedures involving Insurance Law violations are much different than the

procedures involving a summary suspension of a physician’s license pending a hearing as

examined in DiBlasio, and do not give the DFS Superintendent “virtually unfettered ability to

act in an unconstitutional manner.” Under applicable law, had Lockton, Lloyd’s, or Chubb

not admitted liability, each would have had the opportunity to proceed with a DFS

evidentiary hearing, be represented by counsel in front of an impartial hearing officer not

previously involved in the matter, present evidence, hold the state to its burden of proof,

cross-examine witnesses, and dispute the hearing officer’s findings, as well as appeal to the

state Supreme Court. At a hearing, the hearing officer must prepare a report detailing the



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findings from the adversarial hearing, N.Y. Fin. Servs. Law § 305(b), and assuming the

Superintendent were to make the decision disregarding the report for political reasons, as

the NRA contends, the affected party could seek reversal via a state court Article 78

proceeding on the grounds of an arbitrary and capricious decision. See, e.g., Mordukhaev v.

Daus, 457 F. App’x 16, 21 (2d Cir. 2012) (“[T]he availability of an Article 78 proceeding to

challenge any alleged deficiencies in an administrative adjudication is sufficient to satisfy

due process.”). As discussed below under the fifth Butz factor, an Article 78 proceeding

following a DFS administrative proceeding could, if warranted, vacate the liability

determination and any penalty imposed. The Court finds here that the second Butz factor

weighs in favor of immunity

       The third Butz factor, insulation from political influence, weighs against absolute

immunity because Ms. Vullo served at the will of the Governor. See N.Y. Fin. Serv. Law §

202(a)(“The head of [DFS], . . . shall be appointed by the governor [and] . . . shall hold office

at the pleasure of the governor.”); see also DiBlasio, 344 F.3d at 298 (if “the commissioner

of health ‘serves at the will of the Governor,’ . . . it would be improper to characterize the

commissioner as insulated from political influence”).

       On the fourth Butz factor, the importance of precedent, the NRA asserts that no

provision of the Financial Services Law or the Insurance Law indicates that DFS or its

Superintendent place any value on precedent when making decisions with respect to

violations of the Insurance Law. Because Ms. Vullo bears the burden of establishing her

entitlement to absolute immunity, and because she has not addressed this issue, the Court

finds that the fourth Butz factor weighs against absolute immunity.



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       Finally, the fifth Butz factor directs the Court to assess the correctability of error on

appeal. In arguing against this factor, the NRA cites to DiBlasio where the Circuit held:

       Butz also requires us to consider whether a wrongful summary suspension is
       “correctabl[e] on appeal.” Butz, 438 U.S. at 512, 98 S.Ct. 2894. The district
       court reasoned that the hearing required by § 230(10)(f) and the availability of
       an Article 78 proceeding provide prompt review of a summary suspension,
       hence weighing in favor of absolute immunity. In the context of determining
       whether absolute immunity is appropriate, the hearing available under § 230,
       while providing an avenue for review of the charges themselves, provides no
       meaningful review of the summary suspension because, as happened here,
       the commissioner is free to ignore the hearing committee's recommendation.
       In addition, in the context of determining whether absolute immunity is
       appropriate, Article 78 proceedings are generally not considered adequate
       avenues for “appeal.” See [Young v. Selsky, 41 F.3d 47, 54 (2d Cir. 1994)].

DiBlasio, 344 F.3d at 299.

       As explained above, in the DFS Insurance Law enforcement context, a hearing is

held and a decision rendered before adverse consequences can be imposed. This differs

substantially from the situation addressed in DiBlasio. Further, upon the imposition of an

adverse determination, a respondent is entitled to appeal the determ ination through an

Article 78 proceeding asking to have the adverse consequences vacated. While the Circuit

said that Article 78 proceedings are generally not considered adequate avenues for appeal

in the context of determining whether absolute immunity is appropriate, neither the

situations in DiBlasio nor Young, the case cited by the Circuit for this proposition, fit

squarely with the situation following an adverse Insurance Law determination by the DFS

Superintendent.

       As indicated, DiBlasio involved a summary suspension before resolution of the

underlying charges. If Lockton, Lloyd’s, or Chubb had declined to admit liability, they would

have had a full evidentiary hearing that mirrors a judicial one, with the significant due


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process protections described above, before any penalty or suspension could be imposed.

And they would have had the right to seek to vacate an adverse decision by an Article 78

proceeding. Unlike in DiBlasio where an Article 78 proceeding after the fact of a summary

suspension afforded the plaintiff inadequate relief, the same cannot be said of a post-

hearing Article 78 proceeding.

       Young is also distinguishable from the situation here. In Young, the Circuit held that

damages, which were the only viable remedy for the due process deprivation in issue, were

unavailable in an Article 78 proceeding, rendering it inadequate for appellant. See Young,

41 F.3d at 54. 12 The situation in Young is quite different than the situation that would arise if

Lockton, Lloyd’s, or Chubb had proceeded to a hearing, received an adverse determination,

and appealed via an Article 78 proceeding. Unlike in Young, such an appeal could afford an

entity relief from an unconstitutional or improper decision entered by Ms. Vullo.

       The Court finds that an Article 78 proceeding provides a sufficient avenue for a party

that receives an adverse decision in a DFS enforcement proceeding to correct an error on

appeal. Accordingly, the Court finds that the fifth Butz factor weighs in favor of absolute

immunity.

       Weighing all of the Butz factors, and considering Ms. Vullo’s functions that underlie

the selective enforcement claim, the Court finds that she is entitled to absolute immunity on

the selective enforcement claim. Accordingly, the claim, under both federal and state law, is



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            (“[T]he type of injury plaintiff alleged may not be adequately correctable on appeal. . . . [P]urely
 prospective relief on administrative appeal does not adequately cure a due process violation in a disciplinary
 hearing if the prisoner has already served part of his disciplinary sentence in the SHU pending administrative
 review. Similarly, if the administrative appeal officer compounds the violation by unreasonably affirming, a
 later reversal in state court will be inadequate unless it includes monetary damages. . . . [M]onetary damages
 are not available in [an Article 78] proceeding.”)(citations omitted).

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dismissed.

                                      First Amendment Claims13

       Count One of the SAC alleges that “Defendants’ actions—including but not limited to

the issuance of the April 2018 [Guidance] Letters and the accom panying backroom

exhortations, the imposition of the Consent Orders upon Chubb and Lockton, and the

issuance of the Cuomo Press Release—established a ‘system of informal censorship’

designed to suppress the NRA’s speech.” SAC ¶ 90. 14 Plaintiff asserts that Defendants

took these actions “with the intent to obstruct, chill, deter, and retaliate ag ainst the NRA’s

core political speech.” Id. ¶ 91. Count Two alleges that these same actions by Defendants

"were in response to and substantially caused by the NRA's political speech regarding the

right to keep and bear arms. Defendants' actions were for the purpose of suppressing the

NRA's pro-Second Amendment viewpoint. Defendants undertook such unlawful conduct

with the intent to obstruct, chill, deter, and retaliate ag ainst the NRA's core political speech."

Id. ¶ 101.

       These are essentially the same claims that the Court examined in tandem in the

November 6, 2018 Decision & Order, Dkt. No. 56. In doing so, the Court found that “[t]he

Guidance Letters and Cuomo Press Release, read in isolation, clearly fit into the

government-speech doctrine as they address matters of public importance on which New


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           Counts One and Two of the SAC assert violations of the First Amendment of the United States
 Constitution pursuant to 42 U.S.C. § 1983, and violations of Article 1, Section 8 of the New York Constitution.
 These claims are subject to the same analysis under federal and state law, see, Martinez v. Sanders, 307 F.
 App’x 467, 468 n.2 (2d Cir. 2008)(citing Pico v. Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26, 638
 F.2d 404 (2d Cir. 1980), aff’d, 457 U.S. 853 (1982)), and are referred to as Plaintiff’s First Amendment
 Claims.
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            For a more complete discussion of the April 2018 Guidance Letters and the Cuomo Press Release,
 reference is made to the Court’s November 6, 2018 Decision & Order, Dkt. No. 56.

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York State has a significant interest.” Id. at 16-17. But in analyzing these claims, the Court

wrote:

         “‘First Amendment rights may be violated by the chilling effect of governmental
         action that falls short of a direct prohibition against speech.’” Zieper v.
         Metzinger, 474 F.3d 60, 65 (2d Cir. 2007)(quoting Aebisher v. Ryan, 622 F.2d
         651, 655 (2d Cir.1980)); see also Dorsett v. Cty. of Nassau, 732 F.3d 157, 160
         (2d Cir. 2013)("To plead a First Amendment retaliation claim a plaintiff must
         show: (1) he has a right protected by the First Amendment; (2) the defendant's
         actions were motivated or substantially caused by his exercise of that right;
         and (3) the defendant's actions caused him some injury.")). As applicable to
         the allegations in Counts One and Two, “the First Amendment prohibits
         government officials from encouraging the suppression of speech in a manner
         which ‘can reasonably be interpreted as intimating that some form of
         punishment or adverse regulatory action will follow the failure to accede to the
         official's request.’” Zieper, 474 F.3d at 65-66 (quoting Hammerhead Enters.,
         Inc. v. Brezenoff, 707 F.2d 33, 39 (2d Cir.1983)). In determining whether
         government statements impede upon First Amendment rights, “what matters is
         the ‘distinction between attempts to convince and attempts to coerce.’” Id., at
         66 (quoting Okwedy v. Molinari, 333 F.3d 339, 344 (2d Cir. 2003) (per curiam).

Id. at 18. The Court noted that the First Amendment "require[s] courts to draw fine lines

between permissible expressions of personal opinion [by public officials] and implied threats

to employ coercive state power to stifle protected speech.” Id. (quoting Hammerhead, 707

F.2d at 39). However, after examining the totality of the allegations, and accepting the

factual allegations as true, the Court found:

         While neither the Guidance Letters nor the Cuom o Press Release specifically
         directs or even requests that insurance companies and financial institutions
         sever ties with the NRA, a plausible inference exists that a veiled threat is
         being conveyed. Viewed in the light most favorable to the NRA, and given
         DFS’s mandate—“effective state regulation of the insurance industry” and the
         “elimination of fraud, criminal abuse and unethical conduct by, and with
         respect to, banking, insurance and other financial services institutions,” N.Y.
         Fin. Servs. Law § 102(e), (k) — , the Cuomo Press Release and the Guidance
         Letters, when read objectively and in the context of DFS’s regulatory
         enforcement actions against Chubb and Lockton and the backroom
         exhortations, could reasonably be interpreted as threats of retaliatory
         enforcement against regulated institutions that do not sever ties with the NRA.


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Id. at 24-25.

       Ms. Vullo argues that she is entitled to qualified immunity on the First Amendment

claims because it was objective reasonably for her to believe her statements in the

Guidance Letters and press release were lawful, and there “is no case clearly establishing

that otherwise protected public statements transform into an unlawful ‘threat’ because there

is an ongoing (and unrelated) regulatory investigation.” Dkt. No. 211-1 at 31. She further

maintains that at the time she made her “public statements, DFS had made no public

statements about the Carry Guard investigation.       Nor do the NRA’s (false) allegations that

Ms. Vullo coupled her public statements with ‘backroom exhortations’ change the analysis,

because they are vague and conclusory—there is no specific allegation that Ms. Vullo

directly threatened unlawful government enforcement.” Id. She argues that “[r]easonable

officials would believe it lawful to privately express the sentiments that are lawful to express

publicly.” Id. The NRA counters that qualified immunity is a fact-specific inquiry that should

be undertaken after fact discovery, and that the conduct alleged by the NRA was not

"objectively reasonable" but rather violated clearly established constitutional rights.

       The Court is inclined to agree with Ms. Vullo that there is no case clearly establishing

that otherwise protected public statements transform into an unlawful threat merely because

there is an ongoing, and unrelated, regulatory investigation. See Zieper, 474 F.3d at 68

(granting qualified immunity against First Amendment claim because it was not “apparent to

a reasonable officer that defendants’ actions crossed the line between an attempt to

convince and an attempt to coerce”); see also Simon v. City of N.Y., 893 F.3d 83, 92 (2d

Cir. 2018)("A right is clearly established when its ‘contours ... are sufficiently clear that every



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reasonable official would have understood that what he is doing violates that right.'")(quoting

Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011))(alteration in original); Gerard v. City of New

York, No. 19-3102, --- Fed. Appx. ---- , 2021 WL 485722, *1 (2d Cir. Feb. 10, 2021). 15 But

here the Court found that, in the context of the factual allegations asserted in the Amended

Complaint, it was plausible to conclude that the combination of Defendants’ actions,

including Ms. Vullo’s statements in the Guidance Letters and Cuomo Press Release as well

as the purported “backroom exhortations,” could be interpreted as a veiled threat to

regulated industries to disassociate with the NRA or risk DFS enforcement action. This

conclusion is enforced by new allegations in the SAC that can be reasonably interpreted as

pre-Guidance Letters backroom threats by Ms. Vullo of DFS enforcement against entities

that did not disassociate with the NRA. See SAC ¶ 21; ¶ 67; ¶ 69. 16 As expressed in the

Court’s previous decision, the law was clearly established at the time that First Amendment

rights could be violated by the chilling effect of governmental action that falls short of a

direct prohibition against speech but that can reasonably be interpreted as intimating that

some form of punishment or adverse regulatory action will follow the failure to accede to the


         15
              The Circuit in Gerard wrote:

         "[C]learly established law" cannot be defined "at a high level of generality," [al-Kidd, 563 U.S.
         at 742], but "must be particularized to the facts of the case," White v. Pauly, ––– U.S. ––––,
         137 S. Ct. 548, 552, 196 L. Ed.2d 463 (2017) (internal quotation marks omitted), so as to
         give a reasonable officer "fair notice that [the complained-of] conduct [is] unlawful," Brosseau
         v. Haugen, 543 U.S. 194, 198, 125 S. Ct. 596, 160 L.Ed.2d 583 (2004); see also Terebesi v.
         Torreso, 764 F.3d 217, 231 (2d Cir. 2014) (explaining that, to determine whether the law is
         clearly established, a court should consider "the specificity with which a right is defined, the
         existence of Supreme Court or Court of Appeals case law on the subject, and the
         understanding of a reasonable officer in light of preexisting law").

 Gerard, 2021 WL 485722, *1.
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           The allegations of Ms. Vullo’s statements in this regard took place in February 2018 whereas the
 Guidance Letters were issued on April 19, 2018.

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official's request. See Dkt. 56 at 18 (and cases cited threat). W hen a qualified immunity

defense is raised on a Rule 12(b)(6) motion, the Court must accept the truth of the

allegations in the complaint and may grant qualified immunity only if the facts supporting the

defense appear on the face of the complaint. See Hyman v. Abrams, 630 F. App'x 40, 42

(2d Cir. 2015)(“Although, usually, the defense of qualified immunity cannot support the grant

of a Rule 12(b)(6) motion for failure to state a claim upon which relief can be granted, a

district court may grant a Rule 12(b)(6) motion on the ground of qualified immunity if the

facts supporting the defense appear on the face of the complaint. Consequently, a

defendant presenting an immunity defense on a Rule 12(b)(6) motion instead of a motion

for summary judgment must accept [that] ... the plaintiff is entitled to all reasonable

inferences from the facts alleged, not only those that support his claim, but also those that

defeat the immunity defense.”)(citing McKenna v. Wright, 386 F.3d 432, 435–36 (2d Cir.

2004))(interior quotation marks omitted). Here, when doing so, a question of material fact

exists as to whether Ms. Vullo explicitly threatened Lloyd’s with DFS enforcement if the

entity did not disassociate with the NRA. Based on this question of material fact, and even

assuming an objectively reasonable person would not have known that the Guidance

Letters or Ms. Vullo’s statements in the Cuomo Press Release could be construed as

implied threats to regulated entities if they did not disassociate with the NRA, qualified

immunity on the First Amendment claims must be denied at this time. Further, because Ms.

Vullo’s alleged implied threats to Lloyd’s and promises of favorable treatment if Lloyd’s

disassociated with the NRA could be construed as acts of bad faith in enforcing the

Insurance Law in New York, a question of material fact exists as to whether she is entitled

to qualified immunity under New York law. See Gardner v. Robinson, No.

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16CIV1548GBDRWL, 2018 WL 722858, at *2–3 n 7 (S.D.N.Y. Feb. 6, 2018)(“Although

qualified immunity only extends to public officials against whom federal causes of action are

asserted, New York common law provides comparable immunity from state law claims

unless ‘the officials' actions are undertaken in bad faith or without a reasonable

basis.’”)(quoting Jones v. Parmley, 465 F.3d 46, 63 (2d Cir. 2006)(citations omitted)). For

these reasons, the Court will deny qualified immunity to Ms. Vullo on the First Amendment

claims at this time.

       b. Cuomo, DFS, and Lacewell’s Motion

                             Relevant Procedural Background

       On Defendants’ Rule 12(c) motion, in response to Defendants’ argument that all

Section 1983 claims against DFS must be dismissed because DFS is not a “person” under

§1983, Plaintiff withdrew its Section 1983 claims against DFS resulting in dismissal of these

claims. Dkt. No. 112 at 12. The Court also found that the Eleventh Amendment barred

claims for money damages against DFS, and against Gov. Cuomo and Ms. Vullo in their

official capacities. Id. Thus, all such claims were dismissed. Id. The Court also dismissed

without prejudice the selective enforcement claims against Gov. Cuomo and Ms. Vullo in

their individual capacities. Id. As indicated above, Judge Hummel granted Plaintiff’s motion

to amend only to the extent it sought to assert a selective enforcement claim against Ms.

Vullo in her individual capacity, and to substitute Supt. Lacewell for Ms. Vullo on Plaintiff’s

claim for injunctive relief. Thus, as Defendants assert, what remains in Counts One and

Two of the SAC, as asserted against DFS, are only claims under the New York State

Constitution. What remains in Counts One and Two of the SAC, as asserted against Gov.



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Cuomo in his official capacity, are Section 1983 claims of violations of the U.S. Constitution

and claims under the New York State Constitution.

                                           Sovereign Immunity

       Defendants DFS and Gov. Cuomo (collectively “Defendants”) argue that all

remaining claims against DFS, Supt. Lacewell in her official capacity,17 and Gov. Cuomo in

his official capacity must be dismissed as barred by Eleventh Amendment sovereign

immunity. This includes, Defendants contend, Plaintiff’s claims against DFS under the New

York State Constitution and the claims for injunctive and declaratory relief sought in the

SAC. Defendants also assert that “in addition to barring the NRA’s claims against DFS, the

Eleventh Amendment also bars all claims against the Governor in his official capacity,

including requested injunctive relief.” Dkt. No. 210-1 at 3. Plaintiff counters that

“Defendants’ conduct throughout this litigation is wholly incompatible with their belated claim

of sovereign immunity.” Dkt. No. 219 at 2. Plaintiff contends that “[a]lthough Defendants did

assert sovereign immunity regarding certain claims for money damages against DFS, and

Cuomo and Vullo in their official capacities, Defendants never asserted sovereign immunity

with respect to the NRA’s First Amendment claims for declaratory and injunctive relief.” Id.

Plaintiff asserts that there is no valid reason why Defendants “should belatedly be permitted

to assert” the Eleventh Amendment defense now, and thus Defendants have waived

sovereign immunity. Id. Plaintiff also argues that Defendants waived sovereign immunity by

appearing in this case and defending on the claims asserted herein.



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          In the motion, Supt. Lacewell in her official capacity is treated collectively with DFS because “[f]or
 the purpose of the arguments contained [in the motion] there is no difference between the office of the
 Superintendent and the Department which she oversees.” Dkt. No. 210-1 at 1, n. 1.

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       The Eleventh Amendment bars suits against New York State unless it has consented

to be sued, or federal legislation has overridden the State’s sovereign immunity. Will v.

Michigan Dep’t. of the State Police, 491 U.S. 58, 64 (1989); see Gollomp v. Spitzer, 568

F.3d 355, 366 (2d Cir. 2009)(“[A]s a general rule, state governments may not be sued in

federal court unless they have waived their Eleventh Amendment immunity, or unless

Congress has abrogated the states’ Eleventh Amendment immunity.”). Eleventh

Amendment immunity also extends to suits against state officers in their official capacities.

See Will, 491 U.S. at 71 ("[A] suit against a state official in his or her official capacity is not a

suit against the official but rather is a suit against the official's office. As such, it is no

different from a suit against the State itself.")(citations omitted)). Eleventh Amendment

immunity applies whether the claims are asserted under the United States Constitution or a

court’s pendent jurisdiction. Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89,

117-118 (1984); see, e.g., Treistman v. McGinty, 804 F. App'x 98, 99 (2d Cir. 2020)(“‘[A]

claim that state officials violated state law in carrying out their official responsibilities is a

claim against the State that is protected by the Eleventh Amendment.’”)(quoting Pennhurst,

465 U.S. at 121); Feng Li v. Lorenzo, 712 F. App'x 21, 23-24 (2d Cir. 2017)(same); see also

Báez v. New York, 629 F. App'x 116, 118 (2d Cir. 2015)(affirming dismissal of claims under

New York law against the State Office of Temporary and Disability Assistance on the basis

of sovereign immunity). “As to the State . . . the Eleventh Amendment bars a suit regardless

of the nature of the relief sought.” Feng Li v. Rabner, 643 F. App'x 57, 58 (2d Cir.

2016)(quotation omitted); see Everett v. Dean, No. 3:20-CV-1260 (FJS/ML), 2021 W L

765762, at *6 (N.D.N.Y. Feb. 26, 2021)(Rep. Rec. & Order)(“Regardless of the nature of the



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relief sought, in the absence of the State's consent or waiver of immunity, a suit against the

State or one of its agencies or departments is proscribed by the Eleventh

Amendment.”)(citing Pennhurst, 465 U.S. at 100).

       There is no merit to the argument that sovereign immunity should be denied

because it was belatedly asserted. Defendants had previously raised the sovereign

immunity defense in their Answer and in a motion to dismiss. See Dkt. No. 59, at p. 55; Dkt.

No. 63-1 at pp. 4, 6-7. The fact that it was not previously addressed to the claims for relief

in the SAC is of no moment. Sovereign immunity may be asserted at anytime in a

proceeding. See McGinty v. New York, 251 F.3d 84, 94 (2d Cir. 2001)(“[T]he Supreme

Court and this Court have repeatedly held that a state may assert Eleventh Amendment

sovereign immunity at any time during the course of proceedings.”)(citing Calderon v.

Ashmus, 523 U.S. 740, 745 n. 2 (1998)(the Eleventh Amendment is jurisdictional in that it

limits a federal court's judicial power, and may be invoked at any stage of the proceedings);

Pennhurst, 465 U.S. at 99 n. 8 (same); Richardson v. N.Y. State Dep't of Corr. Serv., 180

F.3d 426, 449 (2d Cir.1999)(the defense of Eleventh Amendment immunity need not be

raised in trial court to be considered on the merits); Leonhard v. United States, 633 F.2d

599, 618 n. 27 (2d Cir.1980)(sovereign immunity need not be expressly raised in the district

court or on appeal since it is a jurisdictional defect and may be raised at any time)). The

fact that the NRA incurred expenses related to discovery and other matters in this hotly

contested matter does not, by itself, provide a basis to deprive New York State of sovereign

immunity. See Beaulieu v. Vermont, 807 F.3d 478, 491 (2d Cir. 2015)(“It is true that

Defendants changed their strategy and that earlier invocation of Vermont's immunity might



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have resulted in earlier dismissal, sparing Plaintiffs some burden and expense. But there is

no record of duplicitous conduct by Defendants or of serious unfairness to Plaintiffs

resulting from the tardy invocation of immunity.”). Similarly, the fact that Defendants did not

respond to Plaintiff’s query whether Defendants would waive sovereign immunity on the

state constitutional claims after Plaintiff conceded that DFS is not a person subject to suit

under § 1983, see Dkt. 219 at 5, 18 provides no basis to deprive New York of sovereign

immunity. Defendants had no obligation to respond, and Plaintiff is represented by

experienced counsel. Plaintiff’s counsel could have analyzed whether Defendants’ silence

indicted a negative response and determined whether, if it did, it was worth continuing in

this court given the possibility that Defendants could later invoke sovereign immunity.

       There is also no merit to Plaintiff’s argument that Defendants waived sovereign

immunity by litigation in this matter. “Eleventh Amendment immunity is lost only if Congress

unequivocally abrogates states’ immunity or a state expressly consents to suit.” Cosby v.

LaValley, 2015 WL 13843440, *4 (N.D.N.Y. Nov. 16, 2015). Because of the “vital role of the

doctrine of sovereign immunity in our federal system[,]” waiver will only be found where it is

“unequivocally expressed.” Pennhurst, 465 U.S. at 99. The courts that have found that a

State waived its sovereign immunity by litigation occurred in situations where a State


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             Plaintiff argues:

        In their third motion to dismiss under Fed. R. Civ. 12(c), Defendants alleged that the NRA’s
        claims for money damages were barred by the Eleventh Amendment but failed to raise that
        same argument for the NRA’s request for declaratory and injunctive relief. In its January 8,
        2019 opposition to that motion, the NRA specifically raised the issue stating that “[a]t this
        stage, the NRA agrees to withdraw its Section 1983 claims under Counts 1, 2, and 4 against
        DFS. Should DFS additionally choose not to waive sovereign immunity with respect to the
        pending state law claims against it, the NRA will agree to withdraw those claims and will
        promptly re-file its claims … in the appropriate State court.” Defendants completely ignored
        that statement in their reply.

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voluntarily and affirmatively invoked a federal court’s jurisdiction to resolve a claim

presented by the State. See, e.g., Lapides v. Bd. of Regents of Univ. Sys. of Georgia , 535

U.S. 613, 619 (2002)(“And the Court has made clear in general that ‘where a State

voluntarily becomes a party to a cause and submits its rights for judicial determination, it will

be bound thereby and cannot escape the result of its own voluntary act by invoking the

prohibitions of the Eleventh Amendment.’”)(quoting Gunter v. Atlantic Coast Line R. Co.,

200 U.S. 273, 284 (1906) (emphasis added in Lapides); Fifth Ave. Assocs., L.P. v. N.Y.

State Dep't of Taxation & Fin. (In re 995 Fifth Ave. Assocs., L.P.), 963 F.2d 503, 506 (2d

Cir. 1992)(finding waiver where, after a debtor sought a declaration in bankruptcy court that

it was exempt from the tax and entitled to a refund from the state, the State filed an

administrative expense claim for additional gains tax liability); Gulino v. Bd. of Educ. of the

City Sch. Dist. of the City of New York, No. 96 CIV. 8414, 2016 W L 7320775, at *7

(S.D.N.Y. July 18, 2016), report and recommendation adopted, No. 96 CIV. 8414 (KMW),

2016 WL 7243544 (S.D.N.Y. Dec. 14, 2016)(“[T]he cases involving waiver-by-litigation

premise the waiver on a State actually appearing as a party and submitting its rights for

judicial determination.”)(collecting cases). By contrast, the courts have found no waiver

where a State is involuntarily a defendant in a case but proceeds only to defend itself on a

claim brought by a plaintiff. See, e.g., McGinty v. New York, 251 F.3d 84, 94 (2d Cir.

2001)(“What distinguishes the present case from 995 Fifth Avenue Associates is that here

no affirmative claim was made by the State of New York, the Department or the Retirement

System. Thus, their involvement in the EEOC proceeding constitutes no waiver of sovereign

immunity.”); see also Lapides, 535 U.S. at 622 (“[T]he Eleventh Amendment waiver rules



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are different when a State's federal-court participation is involuntary.”)(citing Hans v.

Louisiana, 134 U.S. 1, 10 S. Ct. 504, 33 L.Ed. 842 (1890); U.S. Const., Am dt. 11

(discussing suits “commenced or prosecuted against” a State)). “[T]he crucial

considerations are the voluntariness of the state’s choice of forum and the functional

consequences of that choice.” Mohegan Tribe v. State of Conn., 528 F. Supp. 1359,

1366-1367 (D. Conn. 1982). New York has not unequivocally expressed waiver of

immunity, nor has it waived this immunity simply by defending the claims against it. To hold

otherwise would mean a waiver of sovereign immunity occurs every time a State appears in

federal court to defend itself in litigation. Such a result is not supported by either case law

or logic.

       The Court finds no reason to deprive New York or its officers acting in their official

capacities of sovereign immunity, or to deem that immunity waived. Accordingly, all claims

against DFS are dismissed. The claims against New York’s officers acting in their official

capacities are also dismissed unless an exception to Eleventh Amendment immunity

applies.

                                        Ex parte Young

       Plaintiff contends that if immunity applies, the exception to Eleventh Amendment

immunity articulated in Ex parte Young applies to Gov. Cuomo in his official capacity.

Under the doctrine of Ex Parte Young, a "plaintiff may avoid the Eleventh Amendment bar

to suit and proceed against individual state officers, as opposed to the state, in their official

capacities, provided that [the] complaint[:] (a) alleges an ongoing violation of federal law[;]

and (b) seeks relief properly characterized as prospective." Clark v. DiNapoli, 510 F. App'x



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49, 51 (2d Cir. 2013)(internal quotation marks and citation omitted). The Supreme Court

has declined to extend the reasoning of Ex Parte Young to claims for retrospective relief.

See Green v. Mansour, 474 U.S. 64, 68 (1985) (citations omitted). “The line between

prospective and retrospective relief is drawn because ‘[r]emedies designed to end a

continuing violation of federal law are necessary to vindicate the federal interest in assuring

the supremacy of that law,’ whereas ‘compensatory or deterrence interests are insufficient

to overcome the dictates of the Eleventh Amendment.’” Ward v. Thomas, 207 F.3d 114,

119 (2d Cir. 2000)(quoting Green, 474 U.S. at 68). “Accordingly, suits against states and

their officials seeking damages for past injuries are firmly foreclosed by the Eleventh

Amendment.” Id. (citations omitted). "In determining whether the doctrine of Ex Parte

Young avoids an Eleventh Amendment bar to suit, a court need only conduct a

‘straightforward inquiry into whether [the] complaint alleges an ongoing violation of federal

law and seeks relief properly characterized as prospective.'" Verizon Maryland Inc. v. Public

Serv. Comm. Of Maryland, 553 U.S. 635, 645 (2002)(quoting Idaho v. Coeur d'Alene Tribe

of Idaho, 521 U.S. 261, 296 (1997)).

                                        Past Conduct

       Defendants contend that Ex parte Young is inapplicable because the claims in

the SAC concern only past conduct. In this regard, Defendants argue that the First

Amendment and State Constitutional free speech claims, the only claims remaining as

to Defendants, challenge the press releases and “backroom exhortations” that

supposedly occurred in the past. Thus, Defendants maintain, the SAC’s claims rely

exclusively on past conduct. Plaintiff asserts that its suit alleges an ongoing violation



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of federal law, citing to paragraphs 93 and 102 of the SAC to support this proposition.

Dkt. No. 219 at 7 (citing SAC ¶¶ 93,19 10220). In addition, Plaintiffs points to the

allegations at paragraphs 61, 80, 81, and 82 of the SAC for the proposition that

Defendants’ conduct is having an ongoing affect on its ability to maintain business

relationships with regulated institutions. Plaintiff also points to an allegation that DFS

served a subpoena on an NRA insurance provider, SAC ¶ 79, and the fact that DFS

commenced an enforcement proceeding against the NRA, as evidence that

Defendants’ unconstitutional conduct is ongoing. Plaintiff also points to the SAC

where it alleges that "[i]n addition to the above-described damages, absent an

injunction against Defendants, the NRA will suffer irrecoverable loss and irreparable

harm if it is unable to acquire insurance or other banking services due to Defendants'

actions." SAC ¶ 97; ¶ 107 (same).

       Just as the Court indicated in its decision denying Plaintiff’s request for a

preliminary injunction, Plaintiff’s First Amendment claims are premised upon actions

that took place in 2018. See Dkt. 218 at pp. 2-4. 21 Plaintiff’s citation to paragraphs 93


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          At paragraph 93, Plaintiff asserts: “Defendants’ concerted efforts to stifle the NRA’s freedom of
 speech caused financial institutions doing business with the NRA to end their business relationships, or
 explore such action, due to fear of monetary sanctions or expensive public investigations. For example,
 Defendants coerced and caused Lockton, Chubb, and Lloyd’s to cease their participation in NRA-endorsed
 insurance programs, regardless of whether the insurance programs met all legal qualifications under
 New York’s Insurance Law.”
         20
            At paragraph 102, Plaintiff asserts: “Defendants’ actions have concretely harmed the NRA by
 causing financial institutions doing business with the NRA to end their business relationships, or explore
 such action, due to fear of monetary sanctions or expensive public investigations. For example,
 Defendants coerced and caused Lockton, Chubb, and Lloyd’s to cease their participation in NRA-endorsed
 insurance programs in New York and elsewhere, regardless of whether the insurance programs met all legal
 qualifications under New York’s Insurance Law.”
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          Although that decision examined the Amended Complaint, the allegations supporting the First
 Amendment claims in the SAC are essentially the same.

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and 102 of the SAC does not change this conclusion as these allegations concern

Defendants’ past actions. Similarly, the allegations in paragraphs 61, 80, 81, and 82

of the SAC allege disruptions of the NRA’s relationships with regulated industries

caused by Defendants’ past conduct. To the extent Plaintiff asserts that it still has

trouble maintaining business relationships with regulated industries, that appears to

be because of Defendants’ past alleged unconstitutional acts, not because of similar

ongoing conduct. The fact that DFS issued a subpoena to a regulated entity

associated with the NRA that Plaintiff contends demonstrates a continuation of “DFS’s

selective enforcement,” SAC ¶ 79, does not indicate that Def endants are continuing to

engage in conduct intended to deprive Plaintiff of its rights to free speech - the claims

that remain against DFS - or selective enforcement. A subpoena seeks information

but it is not an enforcement action like those that form the basis of the claims in this

action. Plaintiff’s citation to the DFS enforcement action against the NRA does not

indicate that Defendants are continuing the allegedly illegal conduct that forms the

basis of this lawsuit. Although the NRA was well aware for some time that DFS was

investigating it for Insurance Law violations, see Dkt. No. 56 at 4 (“As part of its

investigation, DFS learned that, although it did not have an insurance producer

license from DFS, the NRA engaged in marketing of, and solicitation for, the Carry

Guard program.”), there is no allegation in the SAC that this conduct is the basis of

the free speech or equal protection claims asserted therein. 22 Plaintiff’s professed



        22
          It is worth noting that after the enforcement action against the NRA was commenced, the NRA
 entered a Consent Order in which it agreed to a $2.5 penalty and a five-year ban on doing incurrence
 business in New York. See Dkt. No. 312.

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need for an injunction does not provide a factual basis indicating that there is an on-

going violation of Plaintiff’s right to free speech. Plaintiff’s fear that Defendants might

repeat their past alleged conduct that violated Plaintiff’s rights to free speech is

insufficient to conclude that the past conduct is occurring or will occur in the future. In

the end, the claims in the SAC are based on Defendants’ past actions, not on an

ongoing course of action.

                                            Injunctive Relief23

       Defendants argue that even if it could be construed that there is an ongoing

constitutional violation asserted in the SAC, Plaintiff seeks an improper “obey the law”

injunction. The injunction that Plaintiff seeks is, at least in part, an improper “obey the

law” injunction. Further, the totality of the sought-after injunction is improper because

it violates the specificity requirements set forth at Rule 65(d) of the Federal Rules of

Civil Procedure. Under Rule 65(d), "[e]very order granting an injunction and every

restraining order must: (A) state the reasons why it issued; (B) state its terms

specifically; and (C) describe in reasonable detail--and not by referring to the

        23
             In its Request for Relief, Plaintiff seeks:

        [A] preliminary and permanent injunction . . . ordering DFS, its agents, representatives,
        employees and servants and all persons and entities in concert or participation with it,
        Cuomo (in his official capacity) and the current Superintendent of DFS (in her/his official
        capacity):

        (1) to immediately cease and refrain from engaging in any conduct or activity which has the
        purpose or effect of interfering with the NRA’s exercise of the rights afforded to it under
        the First and Second Amendment to the United States Constitution and Section8 to the
        New York Constitution; and

        (2) to immediately cease and refrain from engaging in any conduct or activity which has the
        purpose or effect of interfering with, terminating, or diminishing any of the NRA’s
        contracts and/or business relationships with any organizations[.]

 SAC at pp. 41-42.

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complaint or other document--the act or acts restrained or required.” Fed. R. Civ. P.

65(d). As the Second Circuit has instructed:

       "[U]nder Rule 65(d), an injunction must be more specific than a simple
       command that the defendant obey the law." Peregrine Myanmar Ltd. v.
       Segal, 89 F.3d 41, 51 (2d Cir.1996). "To comply with the specificity and
       clarity requirements, an injunction must ‘be specific and definite enough
       to apprise those within its scope of the conduct that is being
       proscribed.'" N.Y. State Nat'l Org. for Women v. Terry, 886 F.2d 1339,
       1352 (2d Cir.1989)(quoting In re Baldwin–United Corp., 770 F.2d 328,
       339 (2d Cir.1985)). "This rule against broad, vague injunctions ‘is
       designed to prevent uncertainty and confusion on the part of those to
       whom the injunction is directed,' and to be sure ‘that the appellate court
       knows precisely what it is reviewing.'" Rosen v. Siegel, 106 F.3d 28, 32
       (2d Cir.1997)(quoting Calvin Klein Cosmetics Corp. v. Parfums de
       Coeur, Ltd., 824 F.2d 665, 669 (8th Cir.1987)).

S.C. Johnson & Son, Inc. v. Clorox Co., 241 F.3d 232, 240–41 (2d Cir. 2001).

       Plaintiff’s request for a injunction requiring Defendants to “immediately cease

and refrain from engaging in any conduct or activity which has the purpose or effect of

interfering with the NRA’s exercise of the rights afforded to it under the First and

Second Amendment to the United States Constitution and Section 8 to the New York

Constitution” is vague and does not describe in reasonable detail the act or acts

sought to be restrained. The injunction is not specific and definite enough to apprise

those within its scope of the conduct that is being proscribed. See id. Further, the

injunction does “not require a defendant to do anything more than that already

imposed by law,” subjects the defendants to contempt for unspecified conduct, and is

“not readily capable of enforcement.” See Dublino v. McCarthy, No. 9:19-CV-0381

(GLS/DJS), 2019 WL 2053829, at *20 (N.D.N.Y. May 9, 2019). As such, it is an "obey

the law" injunction that is “not favored” in the law, id. (citing cases), and fails to comply



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with Rule 65(d)’s specificity requirements.

       The second part of the requested injunction also seeks an injunction that f ails

to comply with Rule 65(d)’s specificity requirements. Plaintiff requests an injunction

that requires Defendants to “immediately cease and refrain from engaging in any

conduct or activity which has the purpose or effect of interfering with, terminating, or

diminishing any of the NRA’s contracts and/or business relationships with any

organizations[.]” This does not define with any specificity what conduct or activity

could be deemed to have “the purpose or effect of interfering with, terminating, or

diminishing any of the NRA’s contracts and/or business relationships with any

organizations.” While the injunction does not necessarily command that the

Defendants comply with some specific provision of law, the injunction is not specific

and definite enough to apprise those within its scope of the conduct that is being

proscribed, see S.C. Johnson & Son, Inc., 241 F.3d at 240–41, subjects Defendants

to contempt for non-specific reasons, and is unenforceable. As such the sought-after

injunction is improper because it fails to comply with Rule 65(d)’s specificity mandate.

       Because the SAC fails to allege an ongoing violation of federal law, and seeks

an improper injunction as prospective relief, Ex parte Young does not avoid an

Eleventh Amendment bar to suit against either Gov. Cuomo or Supt. Lacewell in their

official capacities relative to the sought-after injunction.

                                        Declaratory Relief24

       Defendants argue that because Plaintiff’s Section 1983 claims against DFS


        24
           Plaintiff seeks a judgment “[d]eclaring . . . that Defendants have violated the NRA’s rights to free
 speech and equal protection under both the Federal and New York Constitutions.”

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have been withdrawn and any requests for monetary or injunctive relief are barred by

the Eleventh Amendment, “Plaintiff’s bald request for a declaration pursuant to the

[Declaratory Judgment Act (DJA)] that Defendants have violated the NRA’s rights to

free speech and equal protection under both the Federal and New York Constitutions

is insufficient to confer subject matter jurisdiction over DFS.” Dkt. 210-1 at 12; see

also id. at 11-12 (citing cases for the propositions that the DJA does not expand the

jurisdiction of the federal courts, the DJA does not provide an independent basis for

jurisdiction, and a plaintiff seeking relief under the DJA must have an independent

basis for jurisdiction). Based on the cases cited by Defendants, the Court agrees.

       Defendants also argue that even if there were a jurisdictional basis to entertain

Plaintiff’s request for declaratory relief, the NRA’s sought-after declaration would be

barred as against Defendants by the Eleventh Amendment. Id. at 12-13. The Court

agrees.

       As indicated above, the two counts that remain against Defendants allege that

DFS violated the NRA’s rights to free speech in the past. The declaration Plaintiff

seeks would declare that Defendants’ past conduct violated Plaintiff’s rights under

both the Federal and New York Constitutions. The Second Circuit has explained that

in circumstances like these where a declaration “could say no more than that [a State]

had violated [the] law in the past,” that relief is barred by the Eleventh Amendment.

Ward, 207 F.3d at 120; see id. (“‘A declaratory judgment is not available when the

result would be a partial end run around’ the Eleventh Amendment’s bar on

retrospective awards of monetary relief.”)(quoting Green, 474 U.S. at 72). Here,



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because Plaintiff seeks retrospective declaratory relief against Defendants, it is barred

by the Eleventh Amendment. See Treistman v. McGinty, 804 F. App'x 98, 99 (2d Cir.

2020)(“The complaint sought declaratory relief that was properly characterized as

retrospective. Treistman sought a declaration stating that the defendants violated

state regulations and that the family courts had a policy to violate state regulations.

This is entirely retrospective and is barred by Eleventh Amendment immunity.”)(citing

Ward, 207 F.3d at 120); Kaminski v. Semple, 796 F. App'x 36, 38 (2d Cir. 2019), cert.

denied, 141 S. Ct. 434, 208 L. Ed. 2d 130 (2020)(“[A] declaration dealing only with

past events would be retrospective and barred.”)(citing Ward, 207 F.3d at 120 (“Any

declaration could say no more than that Connecticut had violated federal law in the

past ... [and] would have much the same effect as a full-fledged award of damages or

restitution by the federal court, the latter kinds of relief being of course prohibited by

the Eleventh Amendment.”)(internal quotation marks omitted)); H.B. v. Byram Hills

Cent. Sch. Dist., 648 F. App'x 122, 125 (2d Cir. 2016)(“[T]he requested declaratory

relief is aimed at past conduct, a target that is impermissible.”)(citing Ward, 207 F. 3d

at 120 (declaratory relief unavailable because “[a]ny declaration could say no more

than that [the state] had violated federal law in the past”); Am. Civil Liberties Union of

Mass. v. U.S. Conference of Catholic Bishops, 705 F.3d 44, 53 (1st Cir. 2013)(“W ith

limited exceptions, not present here, issuance of a declaratory judgment deeming

past conduct illegal is also not permissible as it would be merely advisory.”)); see also

Szymonik v. Connecticut, 807 F. App'x 97, 101 (2d Cir. 2020)(“The Eleventh

Amendment bars federal courts from issuing retrospective declaratory relief against



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state officials for past violations of federal law.”)(citing Green, 474 U.S. at 68; Ward,

207 F.3d at 119, 120 (declaratory relief unavailable because “[a]ny declaration could

say no more than that Connecticut [and the def endant official] had violated federal law

in the past”); Am. Civil Liberties Union of Mass., 705 F.3d at 53).

IV.    CONCLUSION

       For the reasons set forth above, the motion by DFS and Gov. Cuomo in his

official capacity seeking to dismiss claims in the Second Amended Complaint, Dkt.

No. 210, is GRANTED. Plaintiff’s claims in the Second Amended Complaint against

DFS, Gov. Cuomo in his official capacity, and Supt. Lacewell in her official capacity,

including the claims for injunctive and declaratory relief, are DISMISSED as barred by

the Eleventh Amendment.

       Ms. Vullo’s motion appealing Magistrate Judge Hummel’s decision granting

leave to amend, and seeking to dismiss the claims against her in the Second

Amended Complaint, Dkt. No. 211, is GRANTED in part and DENIED in part. The

selective enforcement claim against Ms. Vullo is DISMISSED, the motion is denied as

to the First Amendment claims, and the appeal of Judge Hummel’s decision granting

leave to amend is denied.

IT IS SO ORDERED.

Dated: March 15, 2021




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    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
        CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

                                   ADDENDUM “B”

Issue on Appeal:

       Whether the District Court erred in denying Defendant Vullo’s motion to dismiss

Plaintiff’s First Amendment claims against her on the basis of qualified immunity?


Standard of Review:

       The district court’s denial of a motion to dismiss pursuant to Fed. R. Civ. P.

12(b)(6) on qualified immunity grounds is reviewed de novo. Sound Aircraft Servs., Inc.

v. Town of E. Hampton, 192 F.3d 329, 333 (2d Cir. 1999).
